Case 1:01-cv-12257-PBS Document 3512-6 Filed 12/27/06 Page 1 of 70




                   EXHIBIT 3
                                                            Case 1:01-cv-12257-PBS  Document DOCUMENTS
                                                                                HHS PRIVILEGED 3512-6 Filed
                                                                                                        LOG12/27/06 Page 2 of 70



Document Number Date            Stamp Number   Type            Description                        Author              Author Position       Addressee             Addressee Position         Copyee                    Privileged
                                                                                                                                                                                                                       Designation



HHC001-04600460    12/19/1996                  Memo            Payment For Lupron                 Ault, Thomas                              Schumaker, B,                                    McCann, B., Wynn, B.,     DP Deliberative
                                                                                                                                            Niemann, R.,                                     Sheingold S.              Process
                                                                                                                                            Bagley, G.

HHC002-02180221    01/15/1992                  Letter          The Discharge Policies From        Rives, Wayne A.     President             Anderson, Don L.,     Commissioner               Governor David Walters,   DP Deliberative
                                                               The Clozapine Program At The                                                 Oklahoma                                         House Committee On        Process
                                                               University Of Oklahoma Health                                                Department Of                                    Health And Human
                                                               Sciences Center                                                              Mental Health And                                Services
                                                                                                                                            Substance Abuse

HHC002-0380380     09/14/1992                  Letter          Response To Eli Lilly Concerning                                             Reed, Larry                                                                AC Attorney-Client,
                                                               Medicaid Drug Rebate Payments                                                                                                                           DP Deliberative
                                                                                                                                                                                                                       Process

HHC002-03810382    09/14/1992                  Letter          Response To Eli Lilly Concerning   Salhus, Mary                              Reed, Larry                                                                AC Attorney-Client
                                                               Medicaid Drug Rebate Payments

HHC002-03830383    XX/XX/XXXX                  Note            For The Record: Medicaid                                                                                                                                DP Deliberative
                                                               Bureau MB Control 920814-0164                                                                                                                           Process

HHC003-01140115    XX/XX/XXXX                  Letter          Payment Of Fair Prices For         Miller, Mark E.,    Deputy Director       Kotecha, N.M., MD                                                          DP Deliberative
                                                               Drugs Covered By The Medicare      Ph.D., Center For                                                                                                    Process
                                                               Program                            Health Plans And
                                                                                                  Providers

HHC003-01210124    XX/XX/XXXX                  Letter          (FAR-065) Payment For              Miller, Mark E.,    Deputy Director       Bromberg, Warren                                                           DP Deliberative
                                                               Medicare Covered Drugs             Ph.D., Center For                         D., MD, Mount Kisco                                                        Process
                                                                                                  Health Plans And                          Medical Group
                                                                                                  Providers

HHC003-04180419    XX/XX/XXXX                  Appendix 1      Sample Description                                                                                                                                      DP Deliberative
                                                                                                                                                                                                                       Process

HHC003-04200421    XX/XX/XXXX                  Appendix 2      Nationwide Sample Results                                                                                                                               DP Deliberative
                                                               Brand Name Drugs                                                                                                                                        Process

HHC003-04220423    07/13/XXXX                  Memo            Office Of Inspector General        McMullan,           Acting Deputy         Mangano, Michael      Acting Inspector General                             DP Deliberative
                                                               (OIG) Draft Report: Medicaid       Michael, Centers    Administrator         F., Office Of                                                              Process
                                                               Pharmacy--Actual Acquisition       For Medicare &                            Inspector General
                                                               Cost Of Prescription Drug          Medicaid Services
                                                               Products, (A-06-00-00023)

HHC004-02290239    XX/XX/XXXX                  Draft           Medicaid Pharmacy - Actual         DHS                 Office Of Inspector                                                                              DP Deliberative
                                                               Acquistion Cost Of Generic                             General                                                                                          Process
                                                               Prescription Drug Products




February 9, 2005                                                                                                                                                                                                                     -1-
                                                             Case 1:01-cv-12257-PBS  Document DOCUMENTS
                                                                                 HHS PRIVILEGED 3512-6 Filed
                                                                                                         LOG12/27/06 Page 3 of 70



Document Number Date            Stamp Number   Type             Description                         Author              Author Position        Addressee               Addressee Position         Copyee                      Privileged
                                                                                                                                                                                                                              Designation



HHC006-02990302    XX/XX/XXXX                  Analysis Sheet   Analysis Of Connecticut State       Tieng, Chong B.     Health Insurance       Tepper, Carl; Rich,     Pharmacist, Health                                     DP Deliberative
                                                                Plan Amendment No. 03-002                               Specialist             Irv                     Insurance Specialist                                   Process

HHC009-01760177    XX/XX/XXXX                  Memo             Michigan SPA 01-15 And              Salhus, Mary;                              Howell, Kim                                                                    AC Attorney-Client
                                                                Supplemental Rebate                 Lyons, Susan
                                                                                                    Maxson

HHC011-20422046    01/25/1990                  Memorandum       Proposed Arkansas Medicaid          Office Of The                              Sconce, J.D., Health    Regional Administrator                                 AC Attorney-Client
                                                                Disallowance Of Prescription        General Counsel                            Care Financing
                                                                Drug Claim (Your Reference          Region VI                                  Administration
                                                                AR/90/002/MAP)                                                                 Region VI

HHC013-16421645    11/02/1999                  Memorandum       Uniform Drug Pricing                Provider            Director               Flock, Susan; Shaw,                                Regional Administrators :   DP Deliberative
                                                                Project--ACTION                     Purchasing And                             Steven; Vogel,                                     Boston, New York,           Process
                                                                                                    Administration                             Mark; Parker, Gloria;                              Philadelphia, Atlanta,
                                                                                                    Group, CHPP                                Weisberg, Bette;                                   Chicago, Dallas, Kansas
                                                                                                                                               Sigmund, James                                     City, Denver, San
                                                                                                                                               (Jimmy); Murff,                                    Francisco, Seattle
                                                                                                                                               Donna; Becker,
                                                                                                                                               Dee; Bruk, Mary
                                                                                                                                               Ellen; Vangelos,
                                                                                                                                               Carol

HHC015-12631263    XX/XX/XXXX                  E-mail           Lupron - Esther Scherb Letter       Burgess, Sharon                                                                                                           AC Attorney-Client

HHC901-00930133    XX/XX/XXXX                  Memo with        Request for a Modification to       Stoogenke, Marvin   Project Officer,                               Director, HCFA, Division                               DP Deliberative
                                               Attachments      Contract #XXX-XX-XXXX, Task         M., HCFA            Division of Supplier                           of Research Contracts                                  Process
                                                                Order #17 re: "Prices Establised                        Claims Processing,                             and Grants, Acquistion
                                                                by the Private and Public Sectors                       Center for Health                              and Grants Group
                                                                for Drugs Also Covered Under                            Plans and Providers
                                                                Medicare Part B"

HHC901-01340134    XX/XX/XXXX                  Report           Friday Report re Contract           Stoogenke, Marvin                                                                                                         DP Deliberative
                                                                Awarded for Phase 3 Drug                                                                                                                                      Process
                                                                Pricing Study; Evaluating Drug
                                                                Prices Covered Under Medicare
                                                                Part B

HHC901-01760184    XX/XX/XXXX                  Purchase;        Develop Electronic Drug Pricing     Broseker, Joseph,   Deputy Director        Pritchett, Jacqueline                              Stoogenke, Marvin           DP Deliberative
                                               Service; Stock   Containing Reimbursement            HHS                                                                                                                       Process
                                               Requisition      Allowances for Drugs Covered
                                                                Under the Medicare Program

HHC901-02210222    XX/XX/XXXX                  List             Response to Recent                                                                                                                                            DP Deliberative
                                                                Communications                                                                                                                                                Process




February 9, 2005                                                                                                                                                                                                                            -2-
                                                             Case 1:01-cv-12257-PBS  Document DOCUMENTS
                                                                                 HHS PRIVILEGED 3512-6 Filed
                                                                                                         LOG12/27/06 Page 4 of 70



Document Number Date            Stamp Number   Type               Description                         Author             Author Position   Addressee      Addressee Position   Copyee   Privileged
                                                                                                                                                                                        Designation



HHC901-03600365    XX/XX/XXXX                  Memo with          Establishing a Medicare Single      Grissom, Tom                         Scully, Tom                                  DP Deliberative
                                               Attachment         Drug Pricer (SDP) and Basing                                                                                          Process
                                                                  Medicare Allowed Amounts on
                                                                  Actual Wholesale Prices -
                                                                  Advisory

HHC901-06680680    XX/XX/XXXX                  Draft              Draft Testimony re Pricing of                                                                                         DP Deliberative
                                                                  Medicare's Part B-covered                                                                                             Process, AC
                                                                  Prescription Drugs                                                                                                    Attorney-Client

HHC901-06810681    XX/XX/XXXX                  File Folder        File Folder with handwritten                                                                                          DP Deliberative
                                                                  DOJ-PM sticker.                                                                                                       Process

HHC901-06820682    XX/XX/XXXX                  Chart              CY 1999 Data (95%) Complete                                                                                           DP Deliberative
                                                                                                                                                                                        Process

HHC901-06890710    XX/XX/XXXX                  Draft Program    Intermediaries/Carriers - A More      HCFA                                                                              DP Deliberative
                                               Memorandum       Accurate Source of Average                                                                                              Process
                                               with Attachments Wholesale Price Data (Attached)
                                                                in Pricing Drugs and Biologicals
                                                                Covered by the Medicare
                                                                Program

HHC901-07110715    XX/XX/XXXX                  Memo with          Medicare Payments for Drugs         Hash, Michael      Deputy            Thurm, Kevin   Deputy Secretary              DP Deliberative
                                               Attachment         Using Department of Justice Data                       Aadministrator                                                 Process

HHC901-07160723    XX/XX/XXXX                  Program            Change Request 1232                 Department Of                                                                     DP Deliberative
                                               Memorandum                                             Health and Human                                                                  Process
                                               Intermediaries /                                       Services, Health
                                               Carriers                                               Care Financing
                                                                                                      Administration

HHC901-07290735    XX/XX/XXXX                  Draft Program      Intermediaries/Carriers - Another   HCFA                                                                              DP Deliberative
                                               Memorandum         Source of Average Wholesale                                                                                           Process
                                               with Attachment    Price DAta (Attached) in Pricing
                                                                  Drugs and Biologicals Covered
                                                                  by the Medicare Program

HHC901-07590762    XX/XX/XXXX                  Draft Program    Intermediaries/Carriers - Change      HCFA                                                                              DP Deliberative
                                               Memorandum       Request 1232 re "Another                                                                                                Process
                                               with Attachments Source of Average Wholesale
                                                                Price Data (Attached) in Pricing
                                                                Drugs and Biologicals Covered
                                                                by the Medicare Program"

HHC901-07670767    XX/XX/XXXX                  List               Wholesaler Contact Information                                                                                        DP Deliberative
                                                                  and Calculations                                                                                                      Process




February 9, 2005                                                                                                                                                                                      -3-
                                                            Case 1:01-cv-12257-PBS  Document DOCUMENTS
                                                                                HHS PRIVILEGED 3512-6 Filed
                                                                                                        LOG12/27/06 Page 5 of 70



Document Number Date            Stamp Number   Type            Description                        Author            Author Position   Addressee           Addressee Position   Copyee                     Privileged
                                                                                                                                                                                                          Designation



HHC901-07840787    XX/XX/XXXX                  Notes           Re Contract Money and                                                                                                                      DP Deliberative
                                                               Development of AWP Data                                                                                                                    Process
                                                               (Handwritten)

HHC901-07880789    XX/XX/XXXX                  Memo            Medicare AWP Drug Pricing                                                                                       Niemann, R                 DP Deliberative
                                                                                                                                                                                                          Process

HHC901-07900795    XX/XX/XXXX                  Program         Intermediaries/Carriers - Change   HCFA                                                                                                    DP Deliberative
                                               Memorandum      Request 1232 Re "Another                                                                                                                   Process
                                                               Source of Average Wholesale
                                                               Price Data (Attached) in Pricing
                                                               Drugs and Biologicals Covered
                                                               by the Medicare Program (Draft)

HHC901-08210822    XX/XX/XXXX                  Notes           AWP Prices and Investigation                                                                                                               DP Deliberative
                                                               (Handwritten)                                                                                                                              Process

HHC901-08230823    XX/X/XXXX                   Cover           Implementation - DOJ AWP PM                                                                                                                DP Deliberative
                                                               AB-00 86                                                                                                                                   Process

HHC901-08290829    XX/XX/XXXX                  Notes           Implementation - DOJ AWP PM                                                                                                                DP Deliberative
                                                               AB-00-86                                                                                                                                   Process

HHC901-08350835    04/09/1997                  Email           Self-Injected Lupron               Niemann, Robert                     McCann, B                                                           DP Deliberative
                                                                                                                                                                                                          Process

HHC901-08360838    XX/XX/XXXX                  Note            Note to Bob Niemann re             Carp, Leila,                        Niemann, Bob,                                                       AC Attorney-Client,
                                                               Clearance of Lupron Language       DHHS/OS                             HCFA                                                                DP Deliberative
                                                                                                                                                                                                          Process

HHC901-08390839    10/24/1996                  Email           Another Drug Issue - Least         Schumaker,                          Ault, T.                                 Niemann, R.; Bagley, G.;   DP Deliberative
                                                               Costly Alternative                 Bernadette                                                                   Primack, A.                Process, AC
                                                                                                                                                                                                          Attorney-Client

HHC901-08400840    12/19/1996                  Email           Payment for Lupron                 Ault, T.                            Schumaker, B.;                           McCann, B.; Wynn, B.;      DP Deliberative
                                                                                                                                      Niemann, R.;                             Sheingold, S.              Process
                                                                                                                                      Bagley, G.

HHC901-08410842    03/15/1997                  Fax with        TAP Pharmaceuticals Group          Susan                               Sheingold, Steve;                                                   DP Deliberative
                                               Attachment                                                                             Conrad, Connie;                                                     Process
                                                                                                                                      Neimann, Bob

HHC901-08430844    02/26/1997                  Email           Local Medical Review Policy        Sheridan, David                     Nielmann, R                                                         DP Deliberative
                                                               97-01-D, Luteneinizing                                                                                                                     Process
                                                               Hormone-releasing Hormone
                                                               Analogs




February 9, 2005                                                                                                                                                                                                        -4-
                                                             Case 1:01-cv-12257-PBS  Document DOCUMENTS
                                                                                 HHS PRIVILEGED 3512-6 Filed
                                                                                                         LOG12/27/06 Page 6 of 70



Document Number Date            Stamp Number   Type             Description                         Author               Author Position    Addressee             Addressee Position   Copyee                     Privileged
                                                                                                                                                                                                                  Designation



HHC901-08450845    02/26/1997                  Email            Draft to Hulecki re Local Medical   Sheridan, David,                        Niemann, R.                                                           DP Deliberative
                                                                REview Policy 97-01-D,              Blue Cross Blue                                                                                               Process
                                                                Lutinizing Hormone-Releasing        Shield South
                                                                Hormone Analogs                     Carolina

HHC901-08460848    11/24/1998                  Draft            Draft Lupron Statement, by G.N.     Rogan, G. N.                                                                                                  DP Deliberative
                                                                Rogan, MD, NHIC                                                                                                                                   Process

HHC901-08490852    12/18/1998                  Questions and    Final Version re Lupron and         HCFA Press Office                       Neimann, Robert                                                       DP Deliberative
                                               Answers          Zoladex Coverage - for Internal                                                                                                                   Process
                                                                Use Only

HHC901-08530855    06/16/1998                  Fax with         Lupron and Zolodex, News            Furletti, Maureen,                      Neimann, Bob                                                          DP Deliberative
                                               Attachment       Release of Concern to NAMD;         HCFA/Office of                                                                                                Process
                                                                "Porposed Medicare Change           Legislation
                                                                Worries Doctors, Advocates

HHC901-08560860    08/07/1997                  Letter with      Lupron Pricing Structure            Sohn, Herbert,                          Primack, Aron,                                                        DP Deliberative
                                               Attachments                                          Strauss Surgical                        HCFA                                                                  Process
                                                                                                    Group Assoc. S.C

HHC901-08610861    02/27/1997                  Letter           S.C. Medicare Policy Lupron         Hulecki, Steven,     President          Sheridan, David,      Medical Director                                DP Deliberative
                                                                Reimbursement                       South Carolina                          PGBA                                                                  Process
                                                                                                    Urology
                                                                                                    Association

HHC901-08620864    02/28/1997                  Letter           Local Medical Review Policy         Sheridan, David,     Medical Director   Hulecki, Steven,      President            Jackson, Jerry, MD;        DP Deliberative
                                                                97-01-D, Luteinizing                Medicare Palmetto                       South Carolina                             Young, Roland; Lydick,     Process
                                                                Hormone-Releasing Hormone           Government                              Urology Association                        Hibbs, Dart, John, Vice
                                                                Analogs                             Benefits                                                                           President, Part B
                                                                                                    Administrators                                                                     Organization; Greenleaf,
                                                                                                                                                                                       Ed; Director, Provider &
                                                                                                                                                                                       Beneficiary Service,
                                                                                                                                                                                       Education, and Appeals

HHC901-08650868    03/03/1997                  Letter with      Local Medical REview Policy         Sheridan, David,     Medical Director   Hulecki, Steven,      President                                       DP Deliberative
                                               Attachment       97-01-D, Luteinizing                Medicare Palmetto                       South Carolina                                                        Process
                                                                Hormone-Releasing Hormone           Government                              Urology Association
                                                                Analogs                             Benefits
                                                                                                    Administrators

HHC901-08690870    03/04/1997                  List             Lupron Bullets - - CMD                                                                                                                            DP Deliberative
                                                                Conference                                                                                                                                        Process

HHC901-08710873    XX/XX/XXXX                  Charts           Least Costly Alternative Policy     Sheridan, David,                                                                                              DP Deliberative
                                                                Making                              Palmetto GBA                                                                                                  Process




February 9, 2005                                                                                                                                                                                                                -5-
                                                             Case 1:01-cv-12257-PBS  Document DOCUMENTS
                                                                                 HHS PRIVILEGED 3512-6 Filed
                                                                                                         LOG12/27/06 Page 7 of 70



Document Number Date            Stamp Number   Type             Description                       Author               Author Position   Addressee            Addressee Position   Copyee                     Privileged
                                                                                                                                                                                                              Designation



HHC901-08740876    04/03/1997                  Note             Note to Bob Niemann e             Carp, Leila,                           Neiman, Bob, HCFA                                                    AC Attorney-Client,
                                                                Clearance of Lupron Language      DHHS/OS                                                                                                     DP Deliberative
                                                                                                                                                                                                              Process

HHC901-08770877    05/06/1997                  Email            Lupron vs. Zoladex                Fourcroy, Jean,                        Conrad, Constance,                                                   DP Deliberative
                                                                                                  FDA                                    HCFA                                                                 Process

HHC901-08780878    XX/XX/XXXX                  Information      TAC Information Sheet re Limit    Thurman, Karen,      Congresswoman -   Nieman, Robert;                           Zone, Bob; Sharpe, John    DP Deliberative
                                               Sheet            the Payment Allowance of          U.S. Congress        Florida           DACS; OPACP; BPD                                                     Process
                                                                Lupron to that of Zoladex

HHC901-08790879    08/21/1998                  Email            Least Costly Alternative Policy   Rhoads, Dona                           BALT3.C03                                                            DP Deliberative
                                                                                                                                                                                                              Process

HHC901-08800880    08/21/1998                  Email            Least Costly Alternative Policy   Toscana, Estelita                      BALT3.C03(PIGCM)                                                     DP Deliberative
                                                                                                                                                                                                              Process

HHC901-08810884    08/17/1998                  Memo             Least Costly Alternative Policy   Rhoads, Dona,                          BALT3.C03(PIGCM)                                                     DP Deliberative
                                                                                                  Blue Cross Blue                                                                                             Process
                                                                                                  Shield of Kansas

HHC901-08850885    02/20/1998                  Email            Least Costly Alternative Policy   Wohlstadter, Carol                     BALT3.C03(PIGCM)                          Kansas City.KCM1(DMurff)   DP Deliberative
                                                                                                                                                                                                              Process

HHC901-08860888    XX/XX/XXXX                  Local Medical    Luteinizing Hormone-Releasing                                                                                                                 DP Deliberative
                                               Review Policy    Hormone Analogs For Treatment                                                                                                                 Process
                                                                Of Malignant Neoplasm Of The
                                                                Prostate (LHRH)

HHC901-08890889    08/10/1998                  Email            LHRH Policy                       Wasmern@nationwide.com                 BALT3.C03(PIGCM)                          Chicago.CH11(MMcelliott)   DP Deliberative
                                                                                                                                                                                                              Process

HHC901-08900892    11/04/1997                  Policy           Luteinizing Hormone-Releasing                                                                                                                 DP Deliberative
                                                                Hormone Analogues In The                                                                                                                      Process
                                                                Treatment Of Prostate Cancer

HHC901-08930934    08/24/1998                  Email            Least Costly Alternative Policy   Bryan, Karen                           BALT3.C03(PIGCM)                          Halsey, Billie             DP Deliberative
                                                                                                                                                                                                              Process

HHC901-09350938    02/10/1997                  Medicare         Luteining Hormone-Releasing       Nieman, Bob,                           Cranford, Cathy                                                      DP Deliberative
                                               Medical Policy   Hormone Analogs                   HCFA                                                                                                        Process

HHC901-09390939    XX/XX/XXXX                  Folder Cover     Folder Cover                                                                                                                                  DP Deliberative
                                                                                                                                                                                                              Process

HHC901-09400943    06/30/1996                  Email            Lupron TAC Agenda Item - Reply    Barton, Mccann                         Niemann, R                                                           DP Deliberative
                                                                                                                                                                                                              Process




February 9, 2005                                                                                                                                                                                                            -6-
                                                             Case 1:01-cv-12257-PBS  Document DOCUMENTS
                                                                                 HHS PRIVILEGED 3512-6 Filed
                                                                                                         LOG12/27/06 Page 8 of 70



Document Number Date            Stamp Number   Type             Description                        Author              Author Position        Addressee           Addressee Position   Copyee                     Privileged
                                                                                                                                                                                                                  Designation



HHC901-09440945    06/30/1996                  Email with       Lupron TAC Agenda Item             McCann, Barton                             Niemann, R                                                          DP Deliberative
                                               Attachments                                                                                                                                                        Process

HHC901-09460949    06/25/1996                  Email with       TAC Topics                         Conrad, Constance                          Niemann, R                                                          DP Deliberative
                                               Attachments                                                                                                                                                        Process

HHC901-09500950    01/02/1997                  Email            Payment for Lupron                 Niemann, Robert                            Francis, S                               Ault, T.; Wynn, B.;        DP Deliberative
                                                                                                                                                                                       Schumaker, B.              Process

HHC901-09510951    12/31/1996                  Email            Payment for Lupron                 Jaye, Robert,                              Ault, T.                                 Francis, S.                AC Attorney-Client,
                                                                                                   DHHS/OS                                                                                                        DP Deliberative
                                                                                                                                                                                                                  Process

HHC901-09520952    XX/XX/XXXX                  Notes            Handwritten                                                                                                                                       DP Deliberative
                                                                                                                                                                                                                  Process

HHC901-09530955    04/27/1999                  Fax              Copy Of The Index From The         Riordan, Mary E.                           Niemann, Bob        HCFA                                            DP Deliberative
                                               Transmission     Pricing Notebook                                                                                                                                  Process

HHC901-09720972    XX/XX/XXXX                  Notes            Handwritten                                                                                                                                       DP Deliberative
                                                                                                                                                                                                                  Process

HHC901-09730975    XX/XX/XXXX                  Memo             Medicare Average Wholesale                             Director, Center For   The Administrator                        The Deputy Administrator   DP Deliberative
                                                                Price (AWP) for Drug Pricing - -                       Health Plans and                                                                           Process
                                                                Decision (Draft with Handwritten                       Providers
                                                                Notes)

HHC901-09940994    XX/XX/XXXX                  Note             AWP and Rulemaking                                                                                                                                DP Deliberative
                                                                                                                                                                                                                  Process

HHC901-09950995    XX/XX/XXXX                  List             Concerns with Using Department                                                                                                                    DP Deliberative
                                                                of Justice / First Data Bank                                                                                                                      Process
                                                                (FDB) Data in Medicare

HHC901-09960996    XX/XX/XXXX                  Note             Acquisition and Grants Matter                                                                                                                     DP Deliberative
                                                                (Handwritten)                                                                                                                                     Process

HHC901-09970997    XX/XX/XXXX                  Note                                                                                                                                    Reed, Cindy                DP Deliberative
                                                                                                                                                                                                                  Process

HHC901-09980998    04/08/1995                  Fax              Transmission Verification Report                                                                                                                  DP Deliberative
                                                                                                                                                                                                                  Process

HHC901-09990999    XX/XX/XXXX                  Memo             DOJ Drug Prices                    Niemann, Bob                               Schneider, Kay                                                      DP Deliberative
                                                                                                                                                                                                                  Process




February 9, 2005                                                                                                                                                                                                                -7-
                                                             Case 1:01-cv-12257-PBS  Document DOCUMENTS
                                                                                 HHS PRIVILEGED 3512-6 Filed
                                                                                                         LOG12/27/06 Page 9 of 70



Document Number Date            Stamp Number   Type             Description                        Author                Author Position   Addressee            Addressee Position    Copyee                   Privileged
                                                                                                                                                                                                               Designation



HHC901-10031007    XX/XX/XXXX                  Contract         Statement of Work (Medicare                                                                                                                    DP Deliberative
                                               Document         Part B Drug Pricing Consistency                                                                                                                Process
                                                                Methodology and NDC
                                                                Functionality Development)

HHC901-10081013    XX/XX/XXXX                  Contract         Task Order Statement of Work                                                                                                                   DP Deliberative
                                               Document         (SOW)                                                                                                                                          Process

HHC901-10141014    XX/XX/XXXX                  Note             Options for AWP                                                                                                                                DP Deliberative
                                                                                                                                                                                                               Process

HHC901-10161016    XX/XX/XXXX                  Note             AWP                                                                                                                   Reed, Cindy              DP Deliberative
                                                                                                                                                                                                               Process

HHC901-10181028    02/03/1999                  Fax with         First Data Bank Settlement         Stephens, Reed,                         Niemann, Bob                               Riordan, Mary, HHS/OIG   DP Deliberative
                                               Attachments      Proposal, Government Draft         Department of                                                                                               Process
                                                                Response and Comments re           Justice
                                                                FDB Price Reports and
                                                                Threatened Litigation

HHC901-10291032    05/04/1999                  Fax with         Revised Version of First           Riordan, Mary,                          Niemann, Bob,                                                       DP Deliberative
                                               Attachments      DataBank Proposal                  DHHS/OIG                                HCFA; Reed, Larry,                                                  Process
                                                                                                                                           HCFA

HHC902-00050016    XX/XX/XXXX                  Draft            Propposal on Actual Acquisition                                                                                                                DP Deliberative
                                                                Cost (AAC) Payment for Drugs                                                                                                                   Process

HHC902-00170018    04/01/1996                  Memo             Preliminary Comments on Issues     Greenberg,                              Boyd, Anna           Executive Secretary                            DP Deliberative
                                                                to be Discussed at Principal's     George, ASPE                                                                                                Process
                                                                Meeting on the Medicare
                                                                Physician Fee Schedule NPRM

HHC902-00190034    04/24/1996                  Note with        Revisions to Payment Policies      Carp, Leila, Office                     Chanoski, Barbara                                                   DP Deliberative
                                               Attachments      Under the Physician Fee            of the General                                                                                              Process, AC
                                                                Schedule for Calendar Year 1997    Counsel                                                                                                     Attorney-Client
                                                                (with Handwritten Notes)

HHC902-00350052    04/29/1996                  Draft            Draft NPRM on Drug and                                                                                                                         DP Deliberative
                                                                Biological Pricing - Policy                                                                                                                    Process

HHC902-00530055    04/26/1996                  Draft            BPD852PC.C Drug and                                                                                                                            DP Deliberative
                                                                Biological Pricing Policy                                                                                                                      Process

HHC902-00560057    11/20/1995                  Advertisement    Generic Puridied Capsaicin (with                                                                                                               DP Deliberative
                                                                Handwritten Notes)                                                                                                                             Process




February 9, 2005                                                                                                                                                                                                             -8-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 10 of 70


Document Number Date            Stamp Number   Type                Description                       Author            Author Position   Addressee            Addressee Position   Copyee                      Privileged
                                                                                                                                                                                                               Designation



HHC902-00580058    08/29/1995                  Fax                 Medicaid Drug Cost Schedule                                                                                                                 DP Deliberative
                                                                                                                                                                                                               Process

HHC902-00590062    02/20/1996                  Briefing Material   Briefing Material for the                                                                                                                   DP Deliberative
                                                                   Administrator - Proposed Issues                                                                                                             Process
                                                                   for Physician Fee Schedule 1996
                                                                   Policy NPRM

HHC902-00670067    XX/XX/XXXX                  Note                Re: Revised Drug Language in      Burney, Ira                         Thayer                                                                DP Deliberative
                                                                   Revised Draft Fraud and Abuse                                                                                                               Process
                                                                   Bill

HHC902-00680079    05/06/1998                  Memo with           Comments on Physician NPRM        Burney, Ira                         Chanoski, B; Kay T                                                    DP Deliberative
                                               Attachments                                                                                                                                                     Process

HHC902-00800080    04/22/1998                  Memo                ABC Expose on Nebulizer Drugs     Price, William                      Peacock, C                                Johnson, R; Proctor, J;     DP Deliberative
                                                                   (with Handwritten Notes)                                                                                        Ruiz, L; DeLillo; Joel K;   Process
                                                                                                                                                                                   Walt; Bill L; Bob N

HHC902-00810085    03/12/1996                  Draft               Re: Medicare Program Payment      Charlie                                                                                                   DP Deliberative
                                                                   for Drugs (with Handwritten                                                                                                                 Process
                                                                   Comments)

HHC902-00860093    03/07/XXXX                  Note with           Re: Draft of Drug NPRM            Nieman, Robert                      Charlie                                                               DP Deliberative
                                               Attachment          Language                                                                                                                                    Process

HHC902-00940097    12/13/1995                  Memo with           Re: Meeting on Drug Payment       Bernadette                          Charlie; Pat; Bob;                                                    DP Deliberative
                                               Attachment          Policy Options                                                        Dorothy                                                               Process

HHC902-00980099    03/22/1996                  Note                Re: Confidentiality of Drug       Salhus, Mary                        Niemann, Robert                           Carp, Lelia                 AC Attorney-Client,
                                                                   Rebate Pricing Data (with                                                                                                                   DP Deliberative
                                                                   Handwritten Notes)                                                                                                                          Process

HHC902-01000102    12/11/1995                  Draft               Re: Options for Drug Payment      Niemann, Robert                                                                                           DP Deliberative
                                                                   Under Medicare Part B (with                                                                                                                 Process
                                                                   Handwritten Notes)

HHC902-01030104    12/11/1995                  Draft               Options for Drug Payment Under    Nieman, Robert                                                                                            DP Deliberative
                                                                   Medicare Part B                                                                                                                             Process

HHC902-01050106    01/29/1996                  Draft               Medicare Payment for Drugs        Nieman, Robert                                                                                            DP Deliberative
                                                                   Under Part B                                                                                                                                Process

HHC902-01070108    05/08/1996                  Note                Re: Nonconcurrence on NPRM        Chang, Debbie     Director, OLIGA   Brown, Sue                                                            DP Deliberative
                                                                   on Physician Fee Schedule                                                                                                                   Process
                                                                   Policy Changes for 1997




February 9, 2005                                                                                                                                                                                                             -9-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 11 of 70


Document Number Date            Stamp Number   Type             Description                         Author            Author Position        Addressee              Addressee Position           Copyee                 Privileged
                                                                                                                                                                                                                        Designation



HHC902-01090111    XX/XX/XXXX                  Memo             Determination of Acquisition Cost                                            All ARAs For                                                               DP Deliberative
                                                                Of Drugs                                                                     Medicare                                                                   Process

HHC902-01120112    02/18/1993                  Memo             Comments re: OIG Report on the      Buto, Kathleen,                          Stojak, Mary, Office                                Weintraub, S; Shelby   DP Deliberative
                                                                Cost of Chemotherapy Drugs          HCFA                                     of Budget and                                                              Process
                                                                                                                                             Administration

HHC902-01130113    02/01/1993                  Memo             Response Clearance Sheet re IG      Stojak, Mary,                            AAM, LLP, AAC,                                                             DP Deliberative
                                                                Final Management Advisory           HCFA                                     BPD                                                                        Process
                                                                Report "Physicians Cost for
                                                                Chemotherapy Drugs" (with
                                                                Handwritten Notes)

HHC902-01140115    XX/XX/XXXX                  Memo             Re: Office of Inspector General     Toby, William     Acting Administrator   Mitchell, Bryan,       Principal Deputy Inspector                          DP Deliberative
                                                                (OIG) Final Management                                                                              General                                             Process
                                                                Advisory Report: "Physicians'
                                                                Costs for Chemotherapy Drugs,"
                                                                A-02-91-01049 (with Handwritten
                                                                Notes)

HHC902-01180118    11/13/1992                  Routing Sheet    Request for Comments Re.            Mosedale, Lee,    Director                                                                                          DP Deliberative
                                                                Physicians Costs for                CMS Office of                                                                                                       Process
                                                                Chemotherapy Drugs                  Budget and
                                                                A-02-91-01049 (with Handwritten     Administration
                                                                Notes)

HHC902-01190119    01/13/1993                  Memo             Re: OIG Final Management            Buto, Kathleen,   Director, Bureau of    Office of Budget and   Director                                            DP Deliberative
                                                                Advisory Report: "Physicians'       HCFA              Policy Development     Administration                                                             Process
                                                                Costs for Chemotherapy Drugs"
                                                                (A-02-91-01049)

HHC902-01240127    07/20/1992                  Memo             Re OIG Draft Management             Toby, William,    Acting Administrator   Inspector General,                                                         DP Deliberative
                                                                Advisory Report: "Physicians'       HCFA                                     Office of the                                                              Process
                                                                Costs for Chemotherapy Drugs,"                                               Secretary
                                                                A-02-91-01049

HHC902-01280131    XX/XX/XXXX                  Draft Memo       Re: Determination of Acquisition                                             All ARAs for                                                               DP Deliberative
                                                                Cost of Drugs                                                                Medicare                                                                   Process

HHC902-01320135    08/12/1992                  Memo and         Re Calculation of the Average       Benz, Albert,     Associate Regional                            Director, Office of                                 DP Deliberative
                                               Attachments      Wholesale Price (AWP) for Drugs     HCFA Seattle RO   Administrator,                                Program Operations                                  Process
                                                                                                    X                 Division of Medicare                          Procedures, BPO

HHC902-01360141    11/24/1992                  Comments         Re Region X's Cost Savings          Bailey, D                                                                                                           DP Deliberative
                                                                Proposal Responses                                                                                                                                      Process




February 9, 2005                                                                                                                                                                                                                      -10-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 12 of 70


Document Number Date            Stamp Number   Type              Description                        Author             Author Position        Addressee              Addressee Position         Copyee                     Privileged
                                                                                                                                                                                                                           Designation



HHC902-01460156    07/21/1994                  Briefing Memo    Background Material for Alleged     Larson, Kathleen                          Kendall, Glen;                                    Booth, Chuck; Weintraub,   DP Deliberative
                                               with Attachments Paperwork Violation Meeting                                                   Weintrab, Stanley                                 Stanley                    Process, AC
                                                                                                                                                                                                                           Attorney-Client

HHC902-01620164    06/16/1994                  Note with         Overhead Calculaton for Drugs      Throne, Jim,                              Weintraub, Stan,                                                             DP Deliberative
                                               Attachments                                          Philadelpia                               Office of Payment                                                            Process
                                                                                                    Regional Office                           Policy BPD

HHC902-01740184    01/31/1994                  Memo with         MCR-T-TRS, Average Wholesale       Camozzi, Frank,    Chief Technical        Mirabel, Joe,          Reimbursement Specialist   Patashnik, Bernard         DP Deliberative
                                               Attachments       Price Calculation (with            HCFA Region IX     Issues Section         REgion II                                                                    Process
                                                                 Handwritten Notes)

HHC902-01850185    02/12/1993                  Note              FQA-541 re OIG Report on the       Buto, Kathleen,                           Stojak, Mary, Office                              Weintraub, S; Rolanda      DP Deliberative
                                                                 Cost of Chemothrapy Drugs          HHS                                       of Budget and                                                                Process
                                                                                                                                              Administration

HHC902-01860186    02/09/1993                  Note              OIG Report on the Cost of          Buto, Kathleen                            Stojak, Mary,OBA                                                             DP Deliberative
                                                                 Chemotherapy Drugs                                                                                                                                        Process

HHC902-01870201    XX/XX/XXXX                  List with         Background Materials re            Greenberg, Alan                                                                                                        DP Deliberative
                                               Attachments       Alternative Payment Ideas for                                                                                                                             Process
                                                                 Currently Covered Medicare
                                                                 Drugs ( with Handwritten Notes)

HHC902-02140244    XX/XX/XXXX                  Memo with         Use of Department of Justice       Hash, Michael      Deputy Administrator   Thrum, Kevin           Deputy Secretary           ES; COS                    DP Deliberative
                                               Attachments       (DOJ) Data in Pricing of Drugs                                                                                                                            Process
                                                                 Currently Covered by Medicare --
                                                                 Information (with Handwritten
                                                                 Notes)

HHC902-02510258    XX/XX/XXXX                  Memo              Ver. 3 Re: Use of Department of    Hash, Michael      Deputy Administrator   Thurm, Kevin           Deputy Secretary           ES, COS                    DP Deliberative
                                                                 Justice (DOJ) Data in Pricing of                                                                                                                          Process
                                                                 Drugs Currently Covered by
                                                                 Medicare - Information

HHC902-02710310    XX/XX/XXXX                  Background        Draft Language on Relative                                                                                                                                DP Deliberative
                                               And Drafts        Value Unit Memoranda                                                                                                                                      Process

HHC902-03110312    06/04/1997                  Email with        Ways and Means Language            Schumaker,                                DACA                                                                         DP Deliberative
                                               Attachment                                           Bernadette                                                                                                             Process

HHC902-03150315    05/XX/1997                  Stickie/Note                                         Bart                                      Niemann, Bob                                                                 DP Deliberative
                                                                                                                                                                                                                           Process

HHC902-03190320    12/17/1996                  Meeting Notes     Lupron Meeting attended by                                                                                                                                DP Deliberative
                                                                 Lockert, Chris; Dunst, Liz;                                                                                                                               Process
                                                                 Vickery, Ann, Macrerson, Rich




February 9, 2005                                                                                                                                                                                                                         -11-
                                                                Case 1:01-cv-12257-PBS
                                                                                     HHSDocument
                                                                                        PRIVILEGED 3512-6 Filed
                                                                                                   DOCUMENTS LOG12/27/06 Page 13 of 70


Document Number Date            Stamp Number      Type               Description                         Author              Author Position      Addressee             Addressee Position   Copyee   Privileged
                                                                                                                                                                                                      Designation



HHC902-03210321    11/06/1996                     Letter             Medicare Payment for Zoladex        Cusick, Elizabeth   Director Office of   Niemann, R                                          DP Deliberative
                                                                                                                             Physician and                                                            Process
                                                                                                                             Ambulatory Care
                                                                                                                             Policy

HHC902-03270328    10/01/1996                     Memo               Calculation of Payment Amount       Bell, Beverly,      Manager, Medicare    Office of Physicial   Director                      DP Deliberative
                                                                     for Multi-dosage Drug- - Policy     HCFA Region X       Operations and       and Ambulatory                                      Process
                                                                     Clarification                                           Policy               Care Policy, Bureau
                                                                                                                                                  of Policy
                                                                                                                                                  Development

HHC902-03360338    XX/XX/XXXX                     Information        Information Sheet - Limit the       Technology                                                                                   DP Deliberative
                                                  Sheet              Payment Allowance of Lupron to      Advisory                                                                                     Process
                                                                     that of Zoladex (with Handwritten   Committee
                                                                     Notes)

HHC902-03470351    02/13/1998                     Email              Material on Payment for Part B    Bard                                       Niemann, Bob                                        DP Deliberative
                                                                     Medical and Other Health                                                                                                         Process
                                                                     Services (with Handwritten Notes)

HHC902-03520354    XX/XX/XXXX                     Comments &         From Organizations re Law on                                                                                                     DP Deliberative
                                                  Notes              Use of AWP (with Handwritten                                                                                                     Process
                                                                     Notes)

HHC902-03550360    10/20/1998                     Draft              Dr. Implementation of the                                                                                                        DP Deliberative
                                                                     Balanced Budget Act                                                                                                              Process

HHC902-03610368    09/24/1998   HHC902-03610368   Draft              Implementation of the Balanced                                                                                                   DP Deliberative
                                                                     Budget Act                                                                                                                       Process

HHC902-03690369    01/30/1998                     Memo               Definition of Brand (Handwritten)   Marvin                                   Niemann, Bob                                        DP Deliberative
                                                                                                                                                                                                      Process

HHC902-03700375    XX/XX/XXXX                     Draft              Re Proposed Methodology for                                                                                                      DP Deliberative
                                                                     Determining Average Wholesale                                                                                                    Process
                                                                     Price (AWP)

HHC902-03760381    XX/XX/XXXX                     Draft Regulation   Re Implementation of the            Regulatory Staff                                                                             DP Deliberative
                                                                     Balanced Budget Act of 1997                                                                                                      Process

HHC902-03820388    08/28/1998                     Briefing Paper     Practice Expense Issues In Final                                                                                                 DP Deliberative
                                                                     Physician Fee Schedule                                                                                                           Process
                                                                     Regulation

HHC902-03920395    XX/XX/XXXX                     Draft              Proposed Methodology for                                                                                                         DP Deliberative
                                                                     Determining the Average                                                                                                          Process
                                                                     Wholesale Price (AWP)




February 9, 2005                                                                                                                                                                                                    -12-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 14 of 70


Document Number Date            Stamp Number   Type             Description                        Author              Author Position        Addressee              Addressee Position         Copyee   Privileged
                                                                                                                                                                                                         Designation



HHC902-04320437    XX/XX/XXXX                  Draft            Medicare Proposed Payment                                                                                                                DP Deliberative
                                                                                                                                                                                                         Process

HHC902-05150517    04/17/1991                  Memo             Coverage of the SErvices that      Salhus, Mary,       Attorney               Nye, Christine,        Director Medicaid Bureau            AC Attorney-Client,
                                                                are Provided with the Drug         HHS/OGC                                    HHS/CMS                                                    DP Deliberative
                                                                Clozaril - - Action                                                                                                                      Process

HHC902-05260529    06/05/1991                  Background       Speech to Drug Information         Hickman, Willam,                           Kahn, Mike                                                 DP Deliberative
                                               Materials        Associaton on Clozaril             HHS/HCFA                                                                                              Process

HHC902-05300531    03/18/1992                  Memo with        Draft Instructions re: State       Hickman, William,   Director Office of     Office of                                                  DP Deliberative
                                               Attachment       Medicaid Manual Re: (SMM) Part     HHS/HCFA            Medicaid Policy        Intergovernmental                                          Process
                                                                4, Section 4580 - Phlebotomy                                                  Affairs; Office of
                                                                and Case Management Type                                                      Issuances; Office of
                                                                Services Provided with the Drug                                               Medicaid
                                                                Clozaril                                                                      Management; Office
                                                                                                                                              of the General
                                                                                                                                              Counsel; Bureau of
                                                                                                                                              Policy Development;
                                                                                                                                              Division of Medicaid
                                                                                                                                              Eligibility Policy;
                                                                                                                                              Division of Payment
                                                                                                                                              Policy; Office of
                                                                                                                                              Budget
                                                                                                                                              Administration

HHC902-05320532    03/05/1992                  Memo             Handwritten notes re Phlebotomy                                               Linda                                                      DP Deliberative
                                                                                                                                                                                                         Process

HHC902-05350535    XX/XX/XXXX                  Routing Slip     State Medicaid Manual (SMM)                                                   Dulany, Joe                                                DP Deliberative
                                                                Part 4, Section 4580 -                                                                                                                   Process
                                                                Phlebotomy and Case
                                                                Management Type Services
                                                                Provided with thet Drug Clozaril

HHC902-05390540    09/05/1990                  Memo             South Carolina Coverage For        Hickman, Bill,      Director Office of     Division of Medicaid   Associate Regional                  DP Deliberative
                                                                Clozaril - Request for             HCFA                Medicaid Policy        Region IV Atlanta      Administrator                       Process
                                                                Consultation

HHC902-05410542    06/29/1990                  Memo             Minnesota Coverage of Clozaril -   Abato, Rozann,      Acting Director        Division of Medicaid   Regional Administrator              DP Deliberative
                                                                Proposed State Letter (Your        HHS/HCFA            Medicaid Bureau        Region V, Chicago                                          Process
                                                                Memorandum Dated June 7,
                                                                1990) - Information

HHC902-05430544    05/08/1992                  Memo             Michigan Proposal to Distribute    DuPre, David,       Chief, Medicaid        Medicaid                                                   DP Deliberative
                                                                Pharmaceuticals Through the        Region V HCFA       Operatons Branch       Bureau/Office of                                           Process
                                                                Mail                                                   division of Medicaid   Medicaid Policy




February 9, 2005                                                                                                                                                                                                       -13-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 15 of 70


Document Number Date            Stamp Number   Type            Description                        Author                Author Position      Addressee              Addressee Position           Copyee                    Privileged
                                                                                                                                                                                                                           Designation



HHC902-05450547    02/19/1993                  Memo            Waiver of Cost Sharing for         Abato, Rozann,        Acting Director      Division of Medicaid   Associate Regional           Regional Administrator,   DP Deliberative
                                                               Pharmacy Services                  HHS/HCFA              Medicaid Bureau      Region II, New York    Administrator                New York; Regional        Process
                                                                                                                                                                                                 Administrator,
                                                                                                                                                                                                 Philadelphia; Associate
                                                                                                                                                                                                 Regional Administrator

HHC902-05630573    02/28/1991                  Draft with      Suggested Draft Language for                                                                                                      Sizelove, Linda           DP Deliberative
                                               Attachments     use in Response to James L.                                                                                                                                 Process
                                                               Oberstar On Behalf of His
                                                               Constituent June P. Van Horn
                                                               Regarding Reimbursement for
                                                               Purchase of Brand Name Drugs

HHC902-06460651    06/28/1990                  Memorandum       Drug Reimbursement                Abato, Rozann,        Acting Director      Associate Regional                                  Rodler, Pete              DP Deliberative
                                               with Attachments                                   DHHS/Medicaid                              Administrator,                                                                Process
                                                                                                  Bureau                                     Region III

HHC902-06520655    07/22/1991                  Letter          Exemption Of Drugs From The        Nye, Christine                             Martins, Manny,        Assistant Commissioner                                 DP Deliberative
                                                               Provisions Of Section 1927(e) Of                                              Bureau Of Medicaid                                                            Process
                                                               The Social Security Act

HHC902-06560656    06/15/1993                  Form            Office of Executive Operations     Gordon, Bart,                              MB; OMP                                                                       DP Deliberative
                                                               Control 930614-0114 re Medicaid    Office of Executive                                                                                                      Process
                                                               Reimbursement for a                Operations Control
                                                               Brand-Name Drug . . .              930614-0114

HHC902-06570660    07/03/1992                  Memo            Request for Policy Clarification   Nye, Christine,       Director Medicaid                           Associate Regional           Regional Administrator,   DP Deliberative
                                                               on Tennessee's Intepretation of    HCFA                  Bureau                                      Administrator, Division of   Atlanta; Rodler, Pete     Process
                                                               Usual and Customary Chages . .                                                                       Medicaid, Atlanta
                                                               .

HHC902-06610662    12/XX/1991                  Bulletin        Medicaid Bulletin - December       State Of                                                                                                                 DP Deliberative
                                                               1991                               Tennessee,                                                                                                               Process
                                                                                                  Department Of
                                                                                                  Health

HHC902-06630664    02/13/1992                  Letter          Reimbursement Methodology For      Lyons, William R,     Associate Regional   Martins, Manny,        Assistant Commissioner                                 DP Deliberative
                                                               Outpatient Drugs                   Division of           Administrator        Department Of                                                                 Process
                                                                                                  Medicaid                                   Health And
                                                                                                                                             Environment

HHC902-06650665    03/03/1992                  Letter          Tennessee Medicaid's               Martins, Manny,    Assistant               Lyons, William R.,     Associate Regional                                     DP Deliberative
                                                               Reimbursement Methodology For      Bureau of Medicaid Commissioner            Health Care            Administrator                                          Process
                                                               Outpatient Drugs                                                              Financing
                                                                                                                                             Administration




February 9, 2005                                                                                                                                                                                                                         -14-
                                                              Case 1:01-cv-12257-PBS
                                                                                   HHSDocument
                                                                                      PRIVILEGED 3512-6 Filed
                                                                                                 DOCUMENTS LOG12/27/06 Page 16 of 70


Document Number Date            Stamp Number   Type               Description                          Author               Author Position      Addressee           Addressee Position   Copyee         Privileged
                                                                                                                                                                                                         Designation



HHC902-06660667    XX/XX/XXXX                  State Plan         Methods And Standards For                                                                                                              DP Deliberative
                                               Under Title XIX    Establishing Payment Rates -                                                                                                           Process
                                               Of The Social      Other Types Of Care
                                               Security Act

HHC902-06680668    06/24/1992                  Note               Request for Policy Claification on   Salhus, Mary,                             Nye, Christine                                          AC Attorney-Client,
                                                                  Tennessee's Interpretation of        DHHS / OGC                                                                                        DP Deliberative
                                                                  Usual and Customary Charges                                                                                                            Process
                                                                  as Applied to Outpatient Drug
                                                                  Reimbursement

HHC902-06690670    03/05/1992                  Note               Drug Rebate Program: Question        Salhus, Mary,                             Reed, Larry                                             DP Deliberative
                                                                  from Nebraska                        HHS / OGC                                                                                         Process

HHC902-06710700    06/XX/1992                  Medicaid Bulletin Pharmacy Bulletin - No. 92-2          State of                                                                                          DP Deliberative
                                                                                                       Tennessee,                                                                                        Process
                                                                                                       Department Of
                                                                                                       Health

HHC902-07040706    07/09/1993                  Memo               Notification Of Medicaid Drug        Abato, Rozann,       Acting Director      All Regional                                            DP Deliberative
                                                                  Federal Upper Limit (FUL)            Department Of                             Administrators                                          Process
                                                                  Changes -- ACTION                    Health & Human
                                                                                                       Services

HHC902-07150720    XX/XX/XXXX                  Draft Letter       Reimbursement Methodology For        Hearn, Don,          Chief                Whitlock, Kenny,    Deputy Director                     DP Deliberative
                                                                  Prescribed Drugs                     Program                                   Arkansas                                                Process
                                                                                                       Operations Branch                         Department Of
                                                                                                                                                 Human Services

HHC902-07390739    11/10/1992                  Form               Medicaid Bureau Control              Lyons, William                            MB; OMP                                                 DP Deliberative
                                                                  921110-0025 re Request for                                                                                                             Process
                                                                  Policy Clarification regarding
                                                                  Drug Dispensing Fees

HHC902-07460751    11/04/1991                  Memorandum         Pennsylvania Drug                    Taylor, Robert       Director                                                                     DP Deliberative
                                                                  Reimbursement                                                                                                                          Process

HHC902-07950800    XX/XX/XXXX                  Memo               Draft for Transmitting Report to     The Administrator,                        Shapala, Donna                                          DP Deliberative
                                                                  Congress on Average Wholesale        HCFA                                                                                              Process
                                                                  Price of Drugs (AWP) with
                                                                  Recommendation

HHC902-08200830    XX/XX/XXXX                  Memo with          Medicaid Coverage of Drugs for       Nye, Christine       Director, Medicaid   Jaye, Bob, DHHS /                        Dulaney, Joe   AC Attorney-Client,
                                               Attachment         Residents of Itermediate Care                             Bureau               OGC                                                     DP Deliberative
                                                                  Facilities for the Mentally                                                                                                            Process
                                                                  Retarded




February 9, 2005                                                                                                                                                                                                       -15-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 17 of 70


Document Number Date            Stamp Number   Type             Description                          Author              Author Position     Addressee               Addressee Position     Copyee                       Privileged
                                                                                                                                                                                                                         Designation



HHC902-08430843    03/15/1994                  Note             Response to Ms. Chambers             Salhus, Mary,                           Gaston, Sue, HCFA                                                           AC Attorney-Client
                                                                Concerning HMO                       HHS / OGC
                                                                Reimbursement Rates

HHC902-08450846    08/13/1999                  Note             Clarification of HCFA Policy         Gaston, Sue                             Watson, Tim                                                                 DP Deliberative
                                                                Regarding Dispensing Physicians                                                                                                                          Process

HHC902-08470848    02/18/1999                  Form with        Center for Medicaid & State          Lenz, Thomas                            CMSO                    FCHP                                                DP Deliberative
                                               Attachment       Opers Control 990218-0034 re                                                                                                                             Process
                                                                Clarification of HCFA Policy Re
                                                                Dispensing Physicians - GLC

HHC902-08490849    01/29/1999                  Memo             Clarification of HCFA Policy         Lenz, Thomas,     Associate Regional    Richardson, Sally,      Director, Center for                                DP Deliberative
                                                                Regarding Dispensing Physicians      HCFA, Kansas City Administrator for     HCFA                    Medicaid and State                                  Process
                                                                                                                       Medicaid State                                Operations
                                                                                                                       Operations

HHC902-08530854    08/03/1996                  Note             Federal Upper Limits for Drug        Aibel, Dan, HHS /                       Grinstead, Darrel                                                           AC Attorney-Client,
                                                                Prices                               OGC                                                                                                                 DP Deliberative
                                                                                                                                                                                                                         Process

HHC902-08550860    XX/XX/XXXX                  Form with        Office of Executive Operations       Ziegler, Ronald                         MB; OMP                                                                     DP Deliberative
                                               Attachments      Control 930720-00306 re HCFA's                                                                                                                           Process
                                                                Requirement that State Medicaid
                                                                Agencies Reduce Drug
                                                                Payments to Pharmacies

HHC902-08610862    09/10/1992                  Memo             Health Insurance Premium             Nye, Christine,     Director Medicaid   Region VII, Kansas      Associate Regional                                  DP Deliberative
                                                                Payment (HIPP) Program and           HCFA                Bureau              City, Division of       Administrator                                       Process
                                                                Payment of Pharmacy Claims                                                   Medicaid

HHC902-08630865    07/03/1991                  Memo with        Payment for Covered Outpatient       Nye, Christine,     Director Medicaid   Region I, Boston,       Associate Regional     Rodler, Pete                 DP Deliberative
                                               Attachment       Drugs                                HCFA                Bureau              Division of Medicaid    Administrator                                       Process

HHC902-08660868    02/08/1993                  Memo             Definition of "General Public" for   Abato, Rozann,      Acting Director,    Regional                                       All Associate Regional       DP Deliberative
                                                                the Purpose of Determining           HCFA                Medicaid Bureau     Administrator Dallas                           Administrators; Reed;        Process
                                                                Usual and Customary Charges                                                                                                 Rodler, Pete; Hickman
                                                                for Prescription Drugs

HHC902-08750877    02/01/1993                  Memorandum       Federal Upper Limit (FUL) -          Abato, Rozann,      Acting Director     Associate Regional                             Regional Administrator       DP Deliberative
                                                                Transmittal 21, State Medicaid       HCFA                Medicaid Bureau     Administrator,                                 Kansas City; Rodler, Pete;   Process
                                                                Manual                                                                       Division of Medicaid,                          Reed; Abato, Rozann
                                                                                                                                             Kansas City

HHC902-10051006    06/09/1987                  Briefing Notes   Limits On Payments for Drugs -       Lovechoi, T.                                                                                                        DP Deliberative
                                                                Medicaid - Final Rules                                                                                                                                   Process




February 9, 2005                                                                                                                                                                                                                       -16-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 18 of 70


Document Number Date            Stamp Number   Type             Description                           Author              Author Position         Addressee             Addressee Position      Copyee                       Privileged
                                                                                                                                                                                                                             Designation



HHC902-10071010    10/20/1987                  Notes with       Backgorund for Under                  Lovecchio,                                                                                                             DP Deliberative
                                               Attachment       Secretary's Meeting with Joint        Anthony                                                                                                                Process
                                                                Commission of Pharmacy
                                                                Practitioners

HHC902-10111061    08/10/1987                  Memo with        Clearance of Medicaid Manual          Streimer, Robert;   Director, Bureau of     Director, Office of                                                        DP Deliberative
                                               Attachment       on Specific Upper Limits for          Buto, Kathy, HCFA   Eligibility,            Issuances, OEO                                                             Process
                                                                Multiple Source and Other Drugs                           Reimbursement and
                                                                - Draft                                                   Coverage

HHC902-10621067    08/00/1987                  Article          Article for "Drug Topics" - Draft     Newman, Don,        Under Secretary         Loucchio, Tony,                                                            DP Deliberative
                                                                                                      DHHS; Shosky,                               HCFA                                                                       Process
                                                                                                      John, DHHS, IOS
                                                                                                      Public Affairs

HHC902-10681070    XX/XX/XXXX                  Memo             Administrator's Letter to All State   Steinhouse,         Deputy Chief            Lovecchio, Tony,      Director, Division of                                DP Deliberative
                                                                Medicaid Directors Concerning         Edward, DHHS /      Counsel                 DHHS / OGC            Alternative                                          Process, AC
                                                                Payment for Schedule II Drugs         OGC                                                               Reimbursement Systems                                Attorney-Client

HHC902-10711071    XX/XX/XXXX                  Letter - draft   Proposed Text of a Letter to be       Roper, William,     Administrator                                                                                      DP Deliberative
                                                                Sent to State Medicaid Directors      HCFA                                                                                                                   Process
                                                                from Bill Roper to Clarify Two
                                                                Issues in Medicaid Drug
                                                                Reimbursement

HHC902-10721072    02/16/1988                  Memorandum       Data Support for Setting of           Booth, Charles,     Director, Office of     Director, Office of                           Lovecchio, Tony;             DP Deliberative
                                                                Medicaid and Medicare                 HCFA                Reimbursement           Information                                   Rodler,Pete; Underhill,Jim   Process
                                                                Pharmaceutical Price Limits                               Policy, BERC            Resources
                                                                                                                                                  Management, BDMS

HHC902-10761077    02/17/1988                  Memo             West Virginia SPA 87-04-              Kiley, Patrick,     Associate Regional      Director, BERC                                                             DP Deliberative
                                                                Medicaid Eligibility and Payment      Region III          Administrator,                                                                                     Process
                                                                                                                          Division of Medicaid,
                                                                                                                          Philadelphia Region

HHC902-10781089    09/28/1987                  Speech           Draft of Speech Titled "The           Helms, Robert B.    Assistant Secretary                                                                                DP Deliberative
                                                                Complicated History Of Medicaid                           For Planning And                                                                                   Process
                                                                Regulations On Drug                                       Evaluation
                                                                Reimbursement."

HHC902-10901096    04/01/1988                  Memo with        Draft of Request for Additonal        Booth, Charles,     Director, Office of     Associate Regional                            Regional Administrator       DP Deliberative
                                               Attachment       Information - Arkansas Medicaid       HCFA                Reimbursement           Administrator,                                                             Process
                                                                SPA 88-05                                                 Policy                  Financial
                                                                                                                                                  Operations, RO VI




February 9, 2005                                                                                                                                                                                                                           -17-
                                                              Case 1:01-cv-12257-PBS
                                                                                   HHSDocument
                                                                                      PRIVILEGED 3512-6 Filed
                                                                                                 DOCUMENTS LOG12/27/06 Page 19 of 70


Document Number Date            Stamp Number   Type               Description                        Author              Author Position       Addressee             Addressee Position    Copyee                         Privileged
                                                                                                                                                                                                                          Designation



HHC902-11051106    11/03/1987                  Form with          Public Inquiry Request for         Inquiries Staff                           Office of                                                                  DP Deliberative
                                               Attachment         Assistance from Michael A                                                    Reimbursement                                                              Process
                                                                  Carbonne with Draft Response                                                 Policy
                                                                  Language Attached

HHC902-11071107    04/13/1988                  Note               Comment to Draft OEP               Lovecchio,                                                                            Rodler, Pete; Underhill,       DP Deliberative
                                                                  Response to Region X               Anthony                                                                               Jim; Johnson, Bruce            Process
                                                                  Regarding Oregon Section
                                                                  1915(b) Waiver Request - -
                                                                  Contracting for Phamaceutical
                                                                  Goods and Services

HHC902-11171117    XX/XX/XXXX                  Draft Letter       Proposed Text of a Letter to be    Roper, William      Administrator                                                                                    DP Deliberative
                                                                  Sent to State Medicaid Directors                                                                                                                        Process
                                                                  from Bill Roper to Clarify Two
                                                                  Issues in Medicaid Drug
                                                                  Reimbursement

HHC902-11241125    XX/XX/XXXX                  Draft Letter       State Plan Amendment 88-3          Shulman,            Associate Regional    Perales, Cesar, New   Commissioner                                         DP Deliberative
                                                                  Upper Payment Limits for           Theodore            Administrator,        York State                                                                 Process
                                                                  Prescribed Drugs                                       Division of Progrma   Department of
                                                                                                                         Operations            Social Services

HHC902-11351140    02/28/1991                  Draft with         Suggested Draft Language for                                                                                             Sizelove, Linda; Sciulli, M.   DP Deliberative
                                               Attachments        Use in Response to James L.                                                                                                                             Process
                                                                  Oberstar on Behalf of His
                                                                  Constituent June P. Van Horn
                                                                  Regarding Reimbursement for
                                                                  Purchase of Brand Name Drugs

HHC903-00010007    07/17/1995                  Letter             Draft Language for use in          Pharmacy team       CMSO                  Baucus, Max           Senator                                              DP Deliberative
                                                                  response to Senator Max Baucus                                                                                                                          Process
                                                                  on Behalf of Dr. Thomas C.
                                                                  Olson (For Lupron ligibation)

HHC903-00080022    07/11/1994                  Memo               Subj: Medicare Part B -            Brown, June Gibbs   Inspector General,    Vladeck, Bruce C.     Administrator, HCFA                                  DP Deliberative
                                               w/attached draft   Reimbursement to Providers for                         HHS                                                                                              Process
                                               OIG report         Drugs Used in Conjunction with
                                                                  Durable Medical Equipment
                                                                  (A-06-92-00079)

HHC903-00230026    09/21/1990                  Letter             Draft language for use in          E. Faulk            Medical Bureau/HHS    Bunning, Jim          Congressman                                          DP Deliberative
                                                                  responding to Congressman Jim                                                                      Congressman                                          Process
                                                                  Bunning who wrote on behalf of
                                                                  Mr. Richard E. Murray




February 9, 2005                                                                                                                                                                                                                        -18-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 20 of 70


Document Number Date            Stamp Number   Type                Description                         Author              Author Position       Addressee            Addressee Position          Copyee          Privileged
                                                                                                                                                                                                                  Designation



HHC903-00270027    07/30/1990                  Note                ASPE Comments on Letters to         Abato, Rozann       HCFA                  Executive Secretariat HCFA                                       DP Deliberative
                                                                   Senator Heinz and Spector                                                                                                                      Process

HHC903-00280028    07/26/XXXX                  Clearance Sheet     Sec Sig To Henry/Spector -                                                    MB                                                               DP Deliberative
                                                                   Prescription Drugs                                                                                                                             Process

HHC903-00290029    07/25/1990                  Letter              Heinz Letter On Medicaid Drug       Boyd, Anna For                            Somsak, Joyce                                                    DP Deliberative
                                                                   Payments                            Kerr, Eleanor                                                                                              Process

HHC903-00300034    07/19/1990                  Memo                Draft letters to Senators Heinz     Gerry, Martin H.    Assistant Secretary   Kerr, E.             Executive Secretariat                       DP Deliberative
                                               w/attached          and Specter regarding Medicaid                          for Planning and                                                                       Process
                                               letters             prescription drug pricing --                            Evaluation, HHS
                                                                   Concurrence with comment

HHC903-00350045    07/XX/1990                  Draft letter with   Suggested Language for              Faulk               Medical Bureau,       Senatot Thurman                                                  DP Deliberative
                                               attachment          Response to Senator Thurmond                            HCFA                                                                                   Process
                                                                   on behalf of his Constituent,
                                                                   John W. McGee, R.Ph.

HHC903-00460049    07/13/1990                  Draft Report        Brief Overview of the Federal                                                                                                                  DP Deliberative
                                                                   Medicaid Prescription Drug                                                                                                                     Process
                                                                   Program

HHC903-00510052    04/23/1990                  Memo                Medicaid Payment for                Abato, Rosann       Acting Director,      All Regional                                                     DP Deliberative
                                                                   Clozaril--INFORMATION                                   Medicaid Bureau       Administrators                                                   Process

HHC903-00530055    04/20/1990                  Note                Therapeutic Substitutions for       Abato, Rosann                             Wilensky, Gail                                   Hickman, Bill   DP Deliberative
                                                                   Drugs                                                                                                                                          Process

HHC903-00560058    07/11/1990                  Memo with           Notifications to States Regarding   Abato, Rozann       Acting Director,      McDonough,           Region Administrator,                       DP Deliberative
                                               attachment          Drug Items Subject to Specific                          Medicaid Bureau       Lawrence L.          Region IX, San Francisco,                   Process
                                                                   Federal Upper Limits (42 CFR                                                                       Division of Medicaid
                                                                   447.332) (Your Memorandum
                                                                   Dated June 21,
                                                                   1990)--iNFORMATION

HHC903-00590061    07/10/1990                  Report              SECBRIEF re: Drugs                  Rodler P/Rotter N                                                                                          DP Deliberative
                                                                                                                                                                                                                  Process

HHC903-00620065    10/07/1993                  Letter              Draft Language to use in            Weaverm R                                 Shays, Christopher   Congressional                               DP Deliberative
                                                                   response to Representative                                                                         Representative                              Process
                                                                   Christopher Shays on Kwell

HHC903-00670070    02/25/1994                  Memorandum          FDA'S Prescription Drug             Konnor, Charma A.   Acting Division       Director Office of                                               AC Attorney-Client,
                                                                   Database                                                Director              Medicaid Policy                                                  DP Deliberative
                                                                                                                                                                                                                  Process




February 9, 2005                                                                                                                                                                                                                -19-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 21 of 70


Document Number Date            Stamp Number   Type              Description                        Author               Author Position       Addressee           Addressee Position         Copyee        Privileged
                                                                                                                                                                                                            Designation



HHC903-00740081    02/12/1987                  Note and          Medicaid Drug Payment Policy       Anthony, C.. Ross,   Ph.D., HCFA                               The Administrator                        DP Deliberative
                                               attachments       Re: FUL                                                                                                                                    Process

HHC903-00820083    08/09/1987                  Briefing Notes    Limits on Payments for Drugs -     Lovecchio, T.                                                                                           DP Deliberative
                                                                 Medicaid - Final Rules                                                                                                                     Process

HHC903-00840089    XX/XX/XXXX                  Report            Overview of the Notice of                                                                                                                  DP Deliberative
                                                                 Proposed Rulemaking (NPRM)                                                                                                                 Process
                                                                 on FUL

HHC903-00900090    XX/XX/XXXX                  Report            Additional Statement of Policy                                                                                                             DP Deliberative
                                                                                                                                                                                                            Process

HHC903-01030110    08/11/1988                  Memo              Drug Reimbursement Reform          Rodler, Pete                                                                                            DP Deliberative
                                                                 Regulations (FUL)                                                                                                                          Process

HHC903-01110114    02/18/1987                  Draft Memo with   Medicaid Drug Payment Policy       Roper, William L     Administrator, HCFA                       The Under Secretary, HHS                 DP Deliberative
                                               attached note                                                                                                                                                Process

HHC903-01180019    XX/XX/XXXX                  Note              Medicaid Drug Payment Policy       Anthony, C. Ross                                               The Administrator, HCFA                  DP Deliberative
                                                                                                                                                                                                            Process

HHC903-01200121    12/30/1986                  Note and          Drug Reimbursement (Your           Anthony, C. Ross,    `Ph.D., HCFA          Kuzmich, Paula      AAEA                                     DP Deliberative
                                               handwritten       memorandum dated December                                                                                                                  Process
                                               attachment        16, 1986)
                                               dated 12/29

HHC903-01220124    12/22/1986                  Note with         Re: memo on the "flying feds"      Anthony, C. Ross,    Associate             Streimer, Robert                                             DP Deliberative
                                               attached memo                                        Ph.D.                Administrator for                                                                  Process
                                                                                                                         Program
                                                                                                                         Development/HCFA

HHC903-01250133    XX/XX/XXXX                  Note and          Analysis for Medicaid Drug         Streimer, Robert A                         Boggs, Judy                                                  DP Deliberative
                                               attachments       Reimbursement Alternatives re:                                                                                                             Process
                                                                 FUL

HHC903-01340137    XX/XX/XXXX                  Memo              Medicaid Pharmaceutical            Anthony, C. Ross,    Associate                                 The Administrator                        DP Deliberative
                                                                 Payment Reform--DECISION           Ph.D.                Administrator for                                                                  Process
                                                                                                                         Program
                                                                                                                         Development

HHC903-01380138    02/24/1987                  Fact Sheet        Prescription Drug Payments         Rodler, P.                                                                                              DP Deliberative
                                                                 Index Under Medicaid -- IOWA                                                                                                               Process

HHC903-01390143    02/24/1987                  Memo              Final Regulation On Medicaid       Helms, Bob                                 Note To The Under                              Roper, Bill   DP Deliberative
                                                                 Prescription Drug Payment Policy                                              Secretary                                                    Process




February 9, 2005                                                                                                                                                                                                          -20-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 22 of 70


Document Number Date            Stamp Number   Type               Description                         Author                Author Position        Addressee       Addressee Position   Copyee         Privileged
                                                                                                                                                                                                       Designation



HHC903-01440148    08/22/1986                  Note with          Briefing Materials on Medicaid      Lavecchio, Tony                                              BERC ES              Booth, Chuck   DP Deliberative
                                               handwritten        Prescription Drug Regulations                                                                                                        Process
                                               notation and       (BERC-356-P) for the State
                                               attachments        Medicaid Group (SMG) Meeting
                                                                  September 15, 1986

HHC903-01500154    03/06/1987                  Draft Regulation   Medicaid Drug Reimbursement         Francis, Walt         HHS/Office of the      Lovecchio, T.                                       DP Deliberative
                                                                                                                            Secretary                                                                  Process

HHC903-01550173    XX/XX/XXXX                  Handwritten        Medicaid Drug Reimbursement                                                                                                          DP Deliberative
                                               Draft              Reform                                                                                                                               Process

HHC903-01740174    03/04/1987                  Memo               Medicaid Drug Payment Policy        Anthony, C. R,        Associate                              The Administrator                   DP Deliberative
                                                                                                      Ph.D.                 Administrator for                                                          Process
                                                                                                                            Program
                                                                                                                            Development, HHS,
                                                                                                                            HCFA

HHC903-01750237    02/05/1987                  Note and           Draft Report Prepared by Gordon     Lovecchio, T.                                Booth, Chuck                                        DP Deliberative
                                               attachment         Trapnell Under Contract with                                                                                                         Process
                                                                  OACT - Medicare Prescription
                                                                  Drug Regulation

HHC903-02380257    01/28/1986                  Report and note    HCFA Medicaid Prescription          Streimer, R. A                               Kelly, Carol                                        DP Deliberative
                                               dated              Drug Reform; Assorted Materials                                                                                                      Process
                                               01/08/1986         re: FUL

HHC903-02580326    11/21/1984                  Memo               Federal Prescription Drug           Helms, Robert B,      Acting Assistant       The Secretary                                       DP Deliberative
                                                                  Enforcement Policies - - Decision   Ph.D.                 Secretary for                                                              Process
                                                                                                                            Planning and
                                                                                                                            Evaluation

HHC903-03290332    04/28/XXXX                  Note and           HCFA Drug Program - Data            Streimer, Robert                             Boggs, Judy                                         DP Deliberative
                                               attachments        Needs and Time Frames for Step                                                                                                       Process
                                                                  Completions for FUL.

HHC903-03730385    XX/XX/XXXX                  Summary with       Tap Case - Summary                                                                                                                   WP Work Product
                                               attachments

HHC903-04580461    08/14/1997                  Memo               Significant Activities for the      Fried, Bruce Merlin   Director, Center for                   The Administrator                   DP Deliberative
                                                                  Week Ending August 8, 1997                                Health Plans and                                                           Process
                                                                                                                            Providers

HHC903-04710471    02/XX/1993                  Minutes            Leuprolide: TAC                                                                                                                      DP Deliberative
                                                                  Minutes--February 1993                                                                                                               Process




February 9, 2005                                                                                                                                                                                                     -21-
                                                         Case 1:01-cv-12257-PBS
                                                                              HHSDocument
                                                                                 PRIVILEGED 3512-6 Filed
                                                                                            DOCUMENTS LOG12/27/06 Page 23 of 70


Document Number Date            Stamp Number   Type             Description                       Author              Author Position   Addressee            Addressee Position   Copyee                      Privileged
                                                                                                                                                                                                              Designation



HHC903-04740475    02/XX/1997                  Discussion notes Limit the Payment Allowance of                                                                                    Thurman, Karen              DP Deliberative
                                                                Lupron to that of Zoladex                                                                                         (Congresswoman);            Process
                                                                                                                                                                                  Niemann, Robert (DACS,
                                                                                                                                                                                  OPACP, BPD); Bagley,
                                                                                                                                                                                  Grant (FDA); Zone, Robert
                                                                                                                                                                                  (FDA); Foucroy, Jean
                                                                                                                                                                                  (FDA)

HHC903-05020508    05/18/1995                                   Recommendations Regarding                                                                                                                     DP Deliberative
                                                                Medicare Coverage Of Drugs                                                                                                                    Process
                                                                Necessary For The Effective Use
                                                                Of External Infusion Pumps

HHC903-05140519    XX/XX/XXXX                  Memo             Comycin Coverage.                 Jewell, Kay, MD                       Bonander, Larry;                                                      DP Deliberative
                                                                                                                                        Rutemueller, Walt;                                                    Process
                                                                                                                                        Robinson, Chester;
                                                                                                                                        Hoyer, Tom

HHC903-05200523    03/06/1997                  Draft            Medicare Carrier Manual on                                                                                                                    DP Deliberative
                                                                Durable Medical Equipment 60-14                                                                                                               Process

HHC903-05240525    05/23/1995                  Note             May 18 Meeting with OPTIVITA      Jewell, Kay                           Robinson, Chester,                                                    DP Deliberative
                                                                representatives and their                                               Rutemueller; Walt;                                                    Process
                                                                recommendations regarding                                               Bonander, Larry
                                                                Vancomycin and coverage of
                                                                external infusion on pumps.

HHC903-05260537    05/24/1995                  Memo             Medicare Coverage Of              Robinson, Chet;                       Hoyer, Tom                                                            DP Deliberative
                                                                Vancomcycin As Part Of A          Rutemueller,                                                                                                Process
                                                                Durable Medical Equipment         Walter; Bonander,
                                                                (DME) Benefit                     Larry

HHC903-05380540    04/18/1995                  Memo             HCPA reimbursement For Home       EIS Officer, IBP,                                                                                           DP Deliberative
                                                                Use Of Vancomycin & CDC           HIP, & NCID                                                                                                 Process
                                                                Recommendations For
                                                                Preventing The Spread Of
                                                                Vancomycin Resistance

HHC903-05410542    05/19/1995                  Memo             Vancomycin                        DMERC Medical                         Rutemueller, Walt;                                                    DP Deliberative
                                                                                                  Directors                             Bonander, Larry                                                       Process, AC
                                                                                                                                                                                                              Attorney-Client

HHC903-05430547    05/24/1995                  Memo (Revised)   Vancomycin                        Jewell, Kay         MD                Bonander, Larry;                                                      DP Deliberative
                                                                                                                                        Rutemueller, Walt;                                                    Process
                                                                                                                                        Robinson, Chester;
                                                                                                                                        Hoyer, Tom




February 9, 2005                                                                                                                                                                                                            -22-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 24 of 70


Document Number Date            Stamp Number   Type              Description                        Author              Author Position       Addressee            Addressee Position            Copyee                        Privileged
                                                                                                                                                                                                                               Designation



HHC903-05480555    05/23/1995                  Memo              Vancomcin and coverage of          Jewell, Kay                               Robinson, Chester;                                                               DP Deliberative
                                                                 external infusion pumps.                                                     Rutemueller, Walt;                                                               Process
                                                                                                                                              Bonander, Larry

HHC903-05560568    05/24/1995                  Memo              Vancomycin Coverage                Jewell, Kay         M.D.                  Bonander, L.;                                                                    DP Deliberative
                                                                                                                                              Rutemueller, W.;                                                                 Process
                                                                                                                                              Robinson, C.;
                                                                                                                                              Hoyer, T

HHC903-05690573    XX/XX/XXXX                  Draft             Medicare Carrier Manual Re:        Walt                                      Sharon                                                                           DP Deliberative
                                                                 Coverage Issues                                                                                                                                               Process

HHC903-05740583    09/10/1993                  Fax and           Request for Legal Opinion on       Chase, Lisa         OGC/OIG               Reeb, George M.      Assistant Inspector           Morris, Lewis, Deputy         AC Attorney-Client
                                               attachements to   Coverage of Outpatient                                                                            General for HCFA              Associate General Counsel
                                               Anne Marie        Prescription Drugs Used in
                                               Hummel from       Conjunction with Durable Medical
                                               Sarah Frances     Equipment

HHC903-05870594    10/01/1993                  Draft             Medicare Carrier Manual On         Schatz, Gordon S.   Reed, Smith, Shaw     Hummell, Anne        Division of Medical           Wren, Robert E.; Goetzke,     DP Deliberative
                                                                 Infusion Pumps.                                        & McClay              Marie, Director      Services Coverage Policy,     Gary A.                       Process
                                                                                                                                                                   HCFA

HHC903-05950595    08/08/1995                  Proposed          Proposed Criteria for Medicare                                                                                                                                DP Deliberative
                                               Criteria          Coverage of IV Infusion Pump                                                                                                                                  Process

HHC903-05960598    05/30/1995                  Fax cover sheet   Vancomycin                         Oleck, Adrian M.,   Adminastar Federal    Rutemueller, Walt                                  Huges, Paul, M.D.;            DP Deliberative
                                               with attached                                        M.D.                                                                                         Metzger, Paul, M.D.; Zone,    Process
                                               memo                                                                                                                                              Robert M.D., Majors,
                                                                                                                                                                                                 Elizabeth; Bonander, Larry;
                                                                                                                                                                                                 DMERC Directors

HHC903-05990601    10/27/1994                  Memo              Re: OIG Draft Report: "Medicare    Steinhouse,                               Ault, Tom                                                                        DP Deliberative
                                                                 Part B Reimbursement to            Edward                                                                                                                     Process
                                                                 Providers for Drugs Used in
                                                                 Conjunction with DME"
                                                                 (a-06-0079) (Your request dated
                                                                 October 24, 1994)

HHC903-06060640    05/11/1990                  Memo and          Reassessment of External           Holohan, Thomas     Director, Office of                        Director, BPD/HCFA;                                         DP Deliberative
                                               attached report   Insulin Infusion Pumps for the     V., M.D.            Health Technology                          Clinton, J. Janette, Acting                                 Process
                                                                 Treatment of Diabetes Mellitus                         Assessment                                 Administrator, AHCPR

HHC903-06410649    04/05/1993                  Note with         Review of Home Drug Infusion       Collins, Dorothy                          Buto, Kathy; Ault,                                 Booth, Chuck; Wren, Bob       DP Deliberative
                                               attached report   Therapy                            Burk                                      Tom                                                                              Process

HHC903-06500650    08/14/1996                  Memo              Insulin Infusion Pumps and Bob     Hoyer, T.                                 Buto, K.                                           Ault, T; Robinson, C.;        DP Deliberative
                                                                 Wren                                                                                                                            Feinberg, L.                  Process




February 9, 2005                                                                                                                                                                                                                             -23-
                                                              Case 1:01-cv-12257-PBS
                                                                                   HHSDocument
                                                                                      PRIVILEGED 3512-6 Filed
                                                                                                 DOCUMENTS LOG12/27/06 Page 25 of 70


Document Number Date            Stamp Number   Type               Description                       Author             Author Position        Addressee         Addressee Position            Copyee                      Privileged
                                                                                                                                                                                                                          Designation



HHC903-06530655    03/01/1996                  Draft letter       Revised Language for response                                               Siebert, Dennis                                                             DP Deliberative
                                                                  to Congressman Sam Gejdenson                                                                                                                            Process
                                                                  on behalf of Theodore A. Spanos

HHC903-06560657    XX/XX/XXXX                  Letter             Medicare Coverage                 Smits, Helen L.,   Deputy Administrator   Gejdenson, Sam,   The Honorable                                             DP Deliberative
                                                                                                    MD                                        House of                                                                    Process
                                                                                                                                              Representatives

HHC903-06580660    XX/XX/XXXX                  Draft              Medical Carrier Manual on                                                                                                                               DP Deliberative
                                                                  Coverage Issues - Durable                                                                                                                               Process
                                                                  Medical Equipment 60-14
                                                                  (handwritten revisions)

HHC903-06610672    XX/XX/XXXX                  Draft              Clarification Of Medicare                                                                                                                               DP Deliberative
                                                                  Coverage Policy For External                                                                                                                            Process
                                                                  Infusion Pumps For Insulin with
                                                                  Attached 3/26-27 Minutes.

HHC903-06730676    08/24/1992                  Draft              Carrier's Proposed Policy on      Buto, K.           Director, Bureau of                      Regional Administrator,       Tilgham, Joe; Hyde, Gene;   DP Deliberative
                                                                  Medicare Coverage of Infusion                        Policy Development,                      Kansas City                   R.B.                        Process
                                                                  Therapy (Memorandum from                             HCFA
                                                                  Gene Hyde, Dated May 20,
                                                                  1991) -- INFORMATION

HHC903-06780679    09/16/1986                  Memo               Medicare Coverage of Drug         Buto, K.           Acting Deputy                            Director, Office of Health                                DP Deliberative
                                                                  Delivery Systems--Assessment                         Director, Bureau of                      Technology Assessment                                     Process
                                                                                                                       Eligibility,
                                                                                                                       Reimbursement and
                                                                                                                       Coverage

HHC903-06850698    11/12/1991                  Memo and           Coverage of Drugs used with       Buto, K.           Director , BPD                           Regional Administrator,                                   DP Deliberative
                                               attachments        Durable Medical Equipment                                                                     Seattle; Acting Associate                                 Process
                                                                  (Memorandum from Bunnee A.                                                                    Regional Administrator for
                                                                  Butterfield, Dated October 4,                                                                 Medicare
                                                                  1991)--INFORMATION

HHC903-06990701    08/27/1993                  Memo and           OIG Entrance Conference for      Streb, John A.      Director,              HCFA              HCFA Leadership                                           DP Deliberative
                                               attachment         "Self-Administered Outpatient                        Management                                                                                         Process
                                                                  Drugs Used with Nebulizers -                         Planning and
                                                                  Medicare Part B" (A-06-92-00079)                     Analysis Staff, OBA

HHC903-07020710    XX/XX/XXXX                  Fax transmittal    Home Health DME Benefit -         McKeown, Robert    Senior Vice                              Chief Executive Officers of                               DP Deliberative
                                               with attachment    Coverage of External Infusion     A.                 President, Medicare                      Home Health Agencies for                                  Process
                                                                  Pumps Including Necessary                            Operations &                             which Independence Blue
                                                                  Supplies, Drugs and Biologicals                      Provider Services                        Cross is Medicare
                                                                  (Draft)                                                                                       Intermediary




February 9, 2005                                                                                                                                                                                                                        -24-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 26 of 70


Document Number Date            Stamp Number   Type               Description                          Author              Author Position         Addressee           Addressee Position           Copyee                      Privileged
                                                                                                                                                                                                                                Designation



HHC903-07110720    XX/XX/XXXX                  Note and           Briefing Materials for Hearing on    Wren, B.                                    Zutell, Joyce                                                                DP Deliberative
                                               attached           Home Infusion Therapy, House                                                                                                                                  Process
                                               briefing materials Energy and Commerce
                                                                  Subcommittee on Oversight and
                                                                  Investigation, September 9, 1993

HHC903-07230730    XX/XX/XXXX                  Memo and           Agency Comments Re: Office of        Vladeck, Bruce C.   Administrator, HCFA     Brown, June Gibbs   Inspector General                                        DP Deliberative
                                               attached CMS       Inspector General Report:                                                                                                                                     Process
                                               comments to        "Medicare Home Infusion
                                               OIG report         Therapy" (OEI-02-92-00420)

HHC903-07310732    XX/XX/XXXX                  Draft HCFA         Page 2 of a draft HCFA                                                                                                            Thomas, John                DP Deliberative
                                               response with      Response                                                                                                                                                      Process
                                               handwritten
                                               notations

HHC903-07330737    11/02/1993                  Memo and           Agency Comments on OIG Final         Kavanagh, Gary P.   Deputy Director,        Attn: Greene, V.    Director, Office of Budget   Director, OCFM; Director,   DP Deliberative
                                               Drafts             Report, "Medicare Home Infusion                          BPO, HCFA                                   and Administration           OMBA                        Process
                                                                  Therapy." OEI-02-92-00420

HHC903-07380738    11/XX/1993                  Memo               OIG Final Report: Medicare           Gagel, Barbara J.   Director, Health                            Director, Office of Budget                               DP Deliberative
                                                                  Home Infusion Therapy                                    Standards and                               and Administration                                       Process
                                                                                                                           Quality Bureau

HHC903-07390739    XX/XX/XXXX                  Note               OIG Final: Medicare Home             Gustafason,         Acting Director,        Green, Vicki                                                                 DP Deliberative
                                                                  Infusion Therapy --                  Thomas A.           Office of Legislation                                                                                Process
                                                                  OIE-02-92-00420                                          and Policy

HHC903-07400748    05/08/1995                  Handwritten        January 13, 1995, DMERC              Larry                                       Chester                                          Walt, Kay                   DP Deliberative
                                               letter and         Medical Draft Policy for Notice                                                                                                                               Process
                                               attachment         and Comment re: External
                                                                  Infusion Pumps

HHC903-07960800    10/31/1996                  Memo and           Wastage for Botulinum Toxin          Cusick, Elizabeth   Director, Office of     All Regional                                                                 DP Deliberative
                                               attachments        Type A (J0585)                                           Physicians and          Directors                                                                    Process
                                                                                                                           Ambulatory Care
                                                                                                                           Policy, BPD, HCFA

HHC903-08010806    01/09/1997                  Note and           TAC Agenda Item Re: Payment          Schumaker,                                  Sheingold, Steve                                                             DP Deliberative
                                               attached spread    Limitations on Lupar & Zoladex       Bernadette                                                                                                               Process
                                               sheets

HHC903-08070810    03/19/1997                  Draft              Draft language for use in reply to   Niemann, R.                                 Ballenger, Cass     Congressman                                              DP Deliberative
                                                                  Congressman Ballenger's Inquiry                                                                                                                               Process
                                                                  on behalf of David Hardaway,
                                                                  M.D.




February 9, 2005                                                                                                                                                                                                                              -25-
                                                           Case 1:01-cv-12257-PBS
                                                                                HHSDocument
                                                                                   PRIVILEGED 3512-6 Filed
                                                                                              DOCUMENTS LOG12/27/06 Page 27 of 70


Document Number Date            Stamp Number   Type                Description                          Author             Author Position       Addressee            Addressee Position   Copyee   Privileged
                                                                                                                                                                                                    Designation



HHC903-08110811    04/07/1997                  Draft               Draft language for response to                                                                                                   DP Deliberative
                                                                   Senator Conrad's inquiry on                                                                                                      Process
                                                                   behalf of the concerns of Dr.
                                                                   Patrick Stoy

HHC903-08120812    XX/XX/XXXX                  Revised             Partial Denials Language for         Rutemueller, W.;                                                                            DP Deliberative
                                               Language            MCM section 7340                     Bonander, L.;                                                                               Process
                                                                                                        Milhorn, Ron;
                                                                                                        Niemann, B.

HHC903-08130821    07/29/1997                  Draft               Comments re: OIG Report              Wynn, Babara O.    Director, Plan and    Management                                         DP Deliberative
                                                                   OEI-XX-XXXXXXX (draft)                                  Provider Purchasing   Analysis and                                       Process
                                                                                                                           Policy Group,         Planning Staff,
                                                                                                                           CHPP, HCFA            OFHR

HHC903-08220825    06/20/1997                  Draft               Draft language for use in reply to   Karpiak, Sonya;                          Haug, Peggy                                        DP Deliberative
                                                                   Peggy Haug re: Medicare              Nieman B.                                                                                   Process
                                                                   Reimbursement rates for Lupron
                                                                   and Zoladex

HHC903-08260833    04/02/1996                  Note w/cover        Calculation of a Median Average      Razes, Joseph      Chairman, MTS         Broseker, Joseph,                                  DP Deliberative
                                               sheet and           Wholesale Price (AWP) For Drug                          Pricing Workgroup     OHCIS, BDMS;                                       Process
                                               attachments         Pricing By BDMS                                                               Cusick, E., OPACP,
                                                                                                                                                 BPD; Moore,
                                                                                                                                                 Robert, OSM,
                                                                                                                                                 BDMS; Streimer,
                                                                                                                                                 Stewart, OPR, BPO

HHC903-08350840    05/02/1996                  Draft               Response to Congressional            Schumaker, B.                            Sheingold, S.                                      DP Deliberative
                                                                   Inquiry by Karen Thurman                                                                                                         Process

HHC903-08410845    05/03/1996                  Draft               Draft language for reply to          King, Cheryl,                            Minge, David         Congressman                   DP Deliberative
                                                                   Congressman David Minge              Office of                                                                                   Process
                                                                                                        Correspondence;
                                                                                                        Nieman, R.

HHC903-08460850    05/15/1996                  Dratt response      Draft language for reply to          Shaw, M., Office                         Grousky, Ronald      Constituent                   DP Deliberative
                                               to citizen's        Ronald Grousky                       of                                                                                          Process
                                               inquiry re:                                              Correspondence;
                                               Medicare                                                 Nieman, R
                                               Payment Policy
                                               for Drugs

HHC903-08510853    04/22/1996                  Note and            OIG Report OEI 03-94-00390           Schumaker, B.                            Seabolt, J.                                        DP Deliberative
                                               attached                                                                                                                                             Process
                                               corrective action
                                               plan




February 9, 2005                                                                                                                                                                                                  -26-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 28 of 70


Document Number Date            Stamp Number   Type              Description                         Author               Author Position         Addressee              Addressee Position           Copyee                    Privileged
                                                                                                                                                                                                                                Designation



HHC903-08540866    06/11/1996                  Note and          Injectable Drug Pricing Formula     Schumaker, B         Director, Division of   Newton, Marilyn                                                               DP Deliberative
                                               attachments                                                                Ambulatory Care                                                                                       Process
                                                                                                                          Services, OPACP,
                                                                                                                          BPD

HHC903-08650868    06/13/1991                  Memo and          Request for Guidance on             Buto, K              Director, BPD           Rosen, Fred            Chief Carrier Operations,    Kavanagh, G.,             DP Deliberative
                                               attachments       Limiting the Charge for                                                                                 HCFA, New York               OPOP/BPD, Field           Process
                                                                 Drugs/Biologicals Provided by                                                                                                        Operations, Office of
                                                                 Phisicians (Your memo dated                                                                                                          Issuances
                                                                 11/8/90)

HHC903-08690877    06/17/1991                  Memo and          Agency Response to Inquiry Re:      Buto, K.             Director, BPD           Christenberry, A. J.   Associate Regional           Kavanagh, G.,             DP Deliberative
                                               attachments       ESRD Drug Reimbursement.                                                                                Adminsitrator, Division of   OPOP/BPO, Field           Process
                                                                                                                                                                         Medicare, HCFA, Dallas       Operations, Office of
                                                                                                                                                                                                      Issuances

HHC903-08780883    04/11/1988                  Draft             Draft language for use in           Hayes, D.,                                   Bateman, Herbert H.    Congressman                                            DP Deliberative
                                                                 responding to Congressman           Inquiries Staff,                                                                                                           Process
                                                                 Herbert Bateman                     Moore, Pat

HHC903-08840893    11/22/1987                  Draft             Draft language for use in           Almquist, Pauline,                           Heflin, Howell         Senator                                                DP Deliberative
                                                                 response to Senator Howell          Inquiries Staff;                                                                                                           Process
                                                                 Heflin                              Moore, Pat

HHC903-08940904    03/30/1994                  Email and         Carrier Surveys to Determine        Mirabal, Joe         Reimbursement           Weintraub, Stanley     HCFACOM                                                DP Deliberative
                                               attachments       Acquisition Cost for Drugs                               Specialist, HCFA,                                                                                     Process
                                                                                                                          New York City

HHC903-09050911    03/22/1994                  Email and         Medicare Drug Pricing               Mirabel, Joe         Reimbursement           Weintraub, Stanly      HCFACOM                                                DP Deliberative
                                               attachments                                                                Specialist, HCFA,                                                                                     Process
                                                                                                                          NYC

HHC903-09120912    02/25/1994                  Note              Instruction for Pricing Drugs --    Streimer, S. H.      HCFA                    Booth, Charles R.                                                             DP Deliberative
                                                                 Information                                                                                                                                                    Process

HHC903-09130916    03/15/1994                  Memo and          Determination of Acquisition Cost   Booth, C. R.                                 All Associate          Streimer, S.                                           DP Deliberative
                                               attachment        of Drugs -- Information                                                          Regional                                                                      Process
                                                                                                                                                  Administrators for
                                                                                                                                                  Medicare

HHC903-09170917    04/12/1994                  Note              Update of Average Wholesale         Streimer, S. H.                              Booth, Charles R.                                                             DP Deliberative
                                                                 Price Calculations--Information                                                                                                                                Process

HHC903-09180930    02/04/1994                  Fax cover sheet   Lead Contractor to Calculate        Cline, Calvin        Chief, Policy and       Mirabal, Joe           Reimbursement                Fowler, Joan, BPO;        DP Deliberative
                                               dated 2/9/94      Average Wholesale Price (AWP)                            Technical                                      Specialist, Division of      Weintraub, Stanley, BPD   Process
                                               from Sarah                                                                 Assistance Branch,                             Medicare, Region II
                                               Pena to Stanley                                                            Division of




February 9, 2005                                                                                                                                                                                                                              -27-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 29 of 70


Document Number Date            Stamp Number   Type              Description                         Author             Author Position       Addressee             Addressee Position    Copyee   Privileged
                                                                                                                                                                                                   Designation



                                               Weintraub with                                                           Medicare, Region VI
                                               a 12 page memo

HHC903-09340950    XX/XX/XXXX                  Memo and          Determination of Acquisition Cost                      Director, Office of   All Associate                                        DP Deliberative
                                               attachments       of Drugs--Information                                  Payment Policy        Regional                                             Process
                                                                                                                                              Administrators for
                                                                                                                                              Medicare

HHC903-09510953    08/12/1992                  Fax cover sheet   Calculation of the Average          Benz, Albert       Associate Regional                          Director, Office of            DP Deliberative
                                               from John         wholesale Price for Drugs                              Administrator,                              Program Operations             Process
                                               XXXXXXX to                                                               Division of                                 Procedures, BPO
                                               Stan Weintraub                                                           Medicare, HCFA,
                                               dated 10/20/92                                                           Seattle RO X
                                               with a 2-page
                                               memo

HHC903-09540957    01/24/1994                  Draft             Memorandum to all ARAs on           Stan                                     Bernie                                               DP Deliberative
                                                                 Determination of Acquisition Cost                                                                                                 Process
                                                                 of Drugs

HHC903-09580960    XX/XX/XXXX                  Dratt             Memorandum to all ARAs on                                                    All ARA's for                                        DP Deliberative
                                                                 Determination of Acquisition Cost                                            Medicare                                             Process
                                                                 of Drugs

HHC903-09660974    XX/XX/XXXX                  Draft             Determination of Acquisition Cost                                            All ARA's for                                        DP Deliberative
                                                                 of Drugs                                                                     Medicare                                             Process

HHC903-09750983    08/12/1992                  Memorandum        Calculation of Average              Butterfield,       Associate Regional                          Director, Office of            DP Deliberative
                                               and Attachments   Wholesale Prices (AWP) for          Bunnee for Benz,   Administrator,                              Program Operations             Process
                                                                 Drugs                               Albert J.          Division fo                                 Procedures, BPO
                                                                                                                        Medicare, HCFA,
                                                                                                                        Seattle RO X

HHC904-00010046    04/13/1992                  Memo              Review of Texas' Disallowance of                                             McNally, Dave                                        DP Deliberative
                                                                 Medicaid Payments for less than                                                                                                   Process
                                                                 effective drugs.

HHC904-00470058    01/09/1994                  Report of         Contact: Robin Schneider,           Gaston, Sue                                                                                   DP Deliberative
                                               Contact and       OIG/OGC (Drafts re:                                                                                                               Process
                                               attachments       anti-kickbacks)

HHC904-00590073    10/03/1990                  Memo and          FDA Comments on OIG's               Holston, Sharon    Associate             Director, Office of                                  DP Deliberative
                                               attachments       Report, "The DHHS'                  Smith              Commissioner for      Management, OASH                                     Process
                                                                 Enforcement of Regulations                             Management and
                                                                 Prohibiting Medicaid Payments                          Operations, FDA
                                                                 for Less-Than-Effective Drugs,"
                                                                 July 1990




February 9, 2005                                                                                                                                                                                                 -28-
                                                              Case 1:01-cv-12257-PBS
                                                                                   HHSDocument
                                                                                      PRIVILEGED 3512-6 Filed
                                                                                                 DOCUMENTS LOG12/27/06 Page 30 of 70


Document Number Date            Stamp Number   Type               Description                         Author               Author Position       Addressee              Addressee Position           Copyee                  Privileged
                                                                                                                                                                                                                             Designation



HHC904-00740075    10/31/1994                  Note               Re: Formulary Restrictions          Salhus, Mary         OGC/HCFD              Gaston, Sue                                                                 DP Deliberative
                                                                  Based on Age Criteria                                                                                                                                      Process, AC
                                                                                                                                                                                                                             Attorney-Client

HHC904-00760080    07/07/1994                  Memo and           Legality of Transaction Fee to      Gaston, Sue                                                                                                            AC Attorney-Client,
                                               Attachments        Pharmacists with attachments                                                                                                                               DP Deliberative
                                                                                                                                                                                                                             Process

HHC904-00810082    08/21/1990                  Memo               OGC Opinion Regarding               Hickman, William L   Director, Office of                                                                               DP Deliberative
                                                                  Provider Agreement and Direct                            Medicaid Policy                                                                                   Process
                                                                  Payment Issues

HHC904-0083-0089 01/23/1990                    Memo               Memo and attachment                 Fisher, Barbara,     HHS/Office of the     Buto, Kathleen A.      Director, BPD                                        DP Deliberative
                                                                                                      Attorney             Secretary/OGC                                                                                     Process, AC
                                                                                                                                                                                                                             Attorney-Client

HHC904-00900116    09/07/1989                  Request for        HCFA Request for Information                                                                                                                               DP Deliberative
                                               information and    re: HCBS Adult MR Waiver                                                                                                                                   Process
                                               attachments

HHC904-01170120    11/06/1991                  Memo and           Cost savings of requiring Nursing   Hickman, W. L.       Director, Office of   Jaye, Bob              Office of the General                                DP Deliberative
                                               attachments        Homes to Purchase their                                  Medicaid Policy                              Counsel, HHS                                         Process
                                                                  pharmaceutical supplies from a
                                                                  single state selectged
                                                                  wholesaler--Action

HHC904-01450154    XX/XX/XXXX                  Letters and        Draft responses to letter re:       Smith, Dennis G.     Director              Coster, John M.,       Vice President, Policy and   Garza, Maria, Seattle   DP Deliberative
                                               attachments        Oregon's state plan amendment                                                  Ph.D., R,.Ph.          Programs, National           Regional Office         Process
                                                                  to redefine the state's EAC for                                                                       Association of Chain Drug
                                                                  drugs from AWP minus 14                                                                               Sores
                                                                  percent to AWP minus 15
                                                                  percent.

HHC904-01790181    XX/XX/XXXX                  Draft Letter       Draft response to letter re:        Reed, L              Co-Director,          Coster, J.M., Ph.D.,   Vice President, Policy and                           DP Deliberative
                                                                  2/11/03 update to Federal Upper                          Pharmacy Team,        R.Ph.                  Programs                                             Process
                                                                  Limit list for generic drugs                             CMS

HHC904-01820191    XX/XX/XXXX                  Draft report and   Options for Obtaining Better                                                                                                                               DP Deliberative
                                               handwritten        Drug Pricing Data for Both                                                                                                                                 Process
                                               notes              Medicaid and Medicare

HHC904-02100232    10/XX/1993                  Manual with        State Medicaid Manual - Part 6 -                                               Sue                                                                         DP Deliberative
                                               handwritten        Payment for Services,                                                                                                                                      Process
                                               notations          Transmittal 24




February 9, 2005                                                                                                                                                                                                                           -29-
                                                           Case 1:01-cv-12257-PBS
                                                                                HHSDocument
                                                                                   PRIVILEGED 3512-6 Filed
                                                                                              DOCUMENTS LOG12/27/06 Page 31 of 70


Document Number Date            Stamp Number   Type               Description                         Author   Author Position   Addressee   Addressee Position   Copyee   Privileged
                                                                                                                                                                           Designation



HHC904-02330269    10/XX/1992                  Manual with        State Medicaid Manual - Part 6 -                               Sue                                       DP Deliberative
                                               handwritten        Payment for Services,                                                                                    Process
                                               notations          Transmittal No. 21

HHC904-02700295    07/XX/1990                  Mnaual with        State Medicaid Manual - Part 6 -                                                                         DP Deliberative
                                               handwritten        Payment for Services,                                                                                    Process
                                               notations          Transmittal No. 18

HHC904-02960327    10/XX/1994                  Manual with        State Medicaid Manual - Part 6 -                                                                         DP Deliberative
                                               handwritten        Payment for Services, Transmittal                                                                        Process
                                               notations

HHC904-03280355    11/XX/1996                  Manual with        State Medicaid Manual - Part 6 -                                                                         DP Deliberative
                                               handwritten        Payment for Services,                                                                                    Process
                                               notations          Transmittal No. 32

HHC904-03560421    XX/XX/XXXX                  Transmittal with   Transmittal No. 37 - Federal                                                                             DP Deliberative
                                               handwritten        Upper Limit Drug List November                                                                           Process
                                               notations          20, 2001

HHC904-04220480    07/XX/1997                  Manual with        State Medicaid Manual - Part 6 -                                                                         DP Deliberative
                                               handwritten        Payment for Services,                                                                                    Process
                                               notations          Transmittal No, 34

HHC904-04810505    10/XX/1995                  Manual with        State Medicaid Manual - Part 6 -                                                                         DP Deliberative
                                               handwritten        Payment for Services,                                                                                    Process
                                               notations          Transmittal No. 29

HHC904-05060531    05/XX/1994                  Manual with        State Medicaid Manual - Part 6 -                               Sue                                       DP Deliberative
                                               handwritten        Payment for Services,                                                                                    Process
                                               notations          Transmittal No. 25

HHC904-05320556    05/XX/1995                  Manual with        State Medicaid Manual - Part 6 -                                                                         DP Deliberative
                                               handwritten        Payment for Services,                                                                                    Process
                                               notations          Transmittal No. 28

HHC904-05570584    06/06/1996                  Manaul and         State Medicaid Manual - Part 6 -                                                                         DP Deliberative
                                               attachments        Payment for Services,                                                                                    Process
                                                                  Transmittal No. 30

HHC904-06000601    XX/XX/XXXX                  Draft Report and   Medicaid Net Cost - [Pharmacy                                                                            DP Deliberative
                                               attachments        Drug Reimbursement +                                                                                     Process
                                                                  Dispensing fee] - Manufacturer
                                                                  Rebate




February 9, 2005                                                                                                                                                                         -30-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 32 of 70


Document Number Date            Stamp Number   Type               Description                         Author              Author Position        Addressee          Addressee Position           Copyee         Privileged
                                                                                                                                                                                                                Designation



HHC904-06030606    XX/XX/XXXX                  Draft memo         Determination of Prescription                           Director, Family and                      Director, Center for                        DP Deliberative
                                                                  Drug Estimated Acquisition Cost                         Children's Health                         Medicaid and State                          Process
                                                                  (EAC)                                                   Program Group                             Operations

HHC904-06160622    XX/XX/XXXX                  Report (draft)     Medicaid Group Purchasing                                                                                                                     DP Deliberative
                                                                                                                                                                                                                Process

HHC905-10831599    XX/XX/XXXX                  Report             Appendix II Top 60 Drug Data,       Jing Xing                                                                                                 DP Deliberative
                                                                  Final Report on the "Prices         Technologies, Inc                                                                                         Process
                                                                  Established by the Private and
                                                                  Public Sectors for Drugs Also
                                                                  Covered Under Medicare Part B"

HHC906-00010002    XX/XX/XXXX                   Memo -            Decision Memo - Boston OIG                                                                                                                    DP Deliberative
                                               Confidential -     Request for Moratorium on CMS                                                                                                                 Process
                                               Not subject to     Administrative Actions Related to
                                               disclosure under   Lupron (HCPCS Code J9217)
                                               FOIA

HHC906-00150018    XX/XX/XXXX                  Email and          Lupron- Dr. Noah Foster             Weinerman, Ernest                          Foster, Robert                                                 DP Deliberative
                                               attachment                                                                                                                                                       Process

HHC906-00190022    XX/XX/XXXX                  Email and          Lupron Study                        Weinerman, E.                              Schilling, P.G.    Blue Cross Blue Shield,      Branch Chief   DP Deliberative
                                               attachment                                                                                                           Arkansas                                    Process

HHC906-00230029    XX/XX/XXXX                  Email              Lupron Study                        Weinerman, E.                              Culpepper, Adele                                               DP Deliberative
                                                                                                                                                                                                                Process

HHC906-00300038    XX/XX/XXXX                  Email and          Lupron Study                        Weinerman, E.                              Yablon, M. X.                                                  DP Deliberative
                                               attachments                                                                                                                                                      Process

HHC906-00390045    XX/XX/XXXX                  Email              Lupron Study-Missouri               Weinerman, E.                              Karpoff, G. W.     Blue Cross Blue Shield,                     DP Deliberative
                                                                                                                                                                    Arkansas                                    Process

HHC906-00460050    XX/XX/XXXX                  Email and          Lupron - Your letter to me dated    Weinerman, E.                              Ziegler, Sonia                                                 DP Deliberative
                                               attachment         4/25/02                                                                                                                                       Process

HHC906-00510054    XX/XX/XXXX                  Email              Lupron Study                        Weinerman, E.                              Hatcher, Sheila                                                DP Deliberative
                                                                                                                                                                                                                Process

HHC906-00900098    06/17/1991                  Memo and           Medicare Drug Pricing (Your         Buto, K. A.         Director, Bureau of                       Associate Regional                          DP Deliberative
                                               attachment         memo dated July 3, 1990)                                Policy Development                        Administrator, Division of                  Process
                                                                                                                                                                    Medicare, Dallas

HHC906-00990165    11/17/1998                  Fax and            Drug Pricing                        Shaver, Carrie                             Vogel, Mark                                                    DP Deliberative
                                               attachment                                                                                                                                                       Process




February 9, 2005                                                                                                                                                                                                              -31-
                                                             Case 1:01-cv-12257-PBS
                                                                                  HHSDocument
                                                                                     PRIVILEGED 3512-6 Filed
                                                                                                DOCUMENTS LOG12/27/06 Page 33 of 70


Document Number Date            Stamp Number   Type              Description                       Author                Author Position         Addressee               Addressee Position            Copyee                    Privileged
                                                                                                                                                                                                                                 Designation



HHC906-01660171    06/13/1991                  Memo and          Request for Guidance on           Buto, K.A.            Director, Bureau of     Chief, Carrier          Associate Regional                                      DP Deliberative
                                               attachment        Limiting the Charge for                                 Policy Development      Operations Branch       Administrator for                                       Process
                                                                 Drugs/Biologicals Provided by                                                                           Medicare, New York
                                                                 Physicians (Your memo dated
                                                                 11/8/90)

HHC906-01870192    XX/XX/XXXX                  Typewritten       PE RVU SUM                                                                                                                                                      DP Deliberative
                                               notes                                                                                                                                                                             Process

HHC906-02230227    XX/XX/XXXX                  Memo              MIchigan State Plan Amendment     Reed, Larry           Director, Division of                           Associate Regional                                      DP Deliberative
                                                                 01-015 (draft)                                          Medicaid and State                              Administrator, Region V,                                Process
                                                                                                                         Operations, CMS.                                Chicago
                                                                                                                         HHS

HHC906-02400240    XX/XX/XXXX                  Notes             Handwritten notes re: Supreme                                                                                                                                   DP Deliberative
                                                                 Court request                                                                                                                                                   Process

HHC906-02490950    12/18/1995                  Memo with         Wisconsin State Plan              Wardwell, Robert      Director, Office of                             Associate Regional            Regional Administrator,   DP Deliberative
                                               handwritten       Amendment (SPA 95-026,                                  Medical Services,                               Administration, Division of   Division of Medicaid,     Process
                                               notes             95-027, 95-028) Request for                             Medicaid Bureau                                 Medicaid, Chicago             Region V, Chicago
                                                                 Additional Information

HHC906-02510254    XX/XX/XXXX                  Letter (draft)    Re: State plan amendment TN       Rinaldo, Lucille M.   Health Insurance        Piper, Kevin            Director, Bureau of Health                              DP Deliberative
                                                                 #95-026                                                 Specialist, Division                            Care Financing,                                         Process
                                                                                                                         of Medicaid and                                 Wisconsin Department of
                                                                                                                         Managed Care                                    Health and Social Services
                                                                                                                         Programs

HHC906-02750277    06/01/1994                  Memo              Answers to Questions              Ault, T.              Director, BPD           Regional                                                                        DP Deliberative
                                                                 Concerning Programs                                                             Administrator, Dallas                                                           Process
                                                                 Memorandum AB-94-2

HHC906-02920296    12/10/1997                  Email and         Lupron language (draft)           Neimann, R.                                   Rominger, P.;                                                                   DP Deliberative
                                               attachment                                                                                        Carpenter, C.                                                                   Process

HHC906-02970303    12/10/1997                  Email and         Lupron OGC                        Heygster, Anita                               Rominger, Pamela                                      Garrison, D., Nancy S.    DP Deliberative
                                               attachment                                                                                                                                                                        Process

HHC906-0304-0306 08/15/1997                    Draft language    Language to be used in response   Niemann, R.                                                                                         Jacobs, Tom               DP Deliberative
                                                                 to inquiries re: payment of                                                                                                                                     Process
                                                                 Lupron

HHC906-03070313    06/09/1997                  Email             Provider Contacts and Potential   Sigmund, James        Health Insurance                                Regional VI Contractors                                 DP Deliberative
                                                                 Litigation                                              Specialist, Division                                                                                    Process
                                                                                                                         of Medicare, HCFA,
                                                                                                                         Dallas




February 9, 2005                                                                                                                                                                                                                               -32-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 34 of 70


Document Number Date            Stamp Number   Type             Description                        Author                Author Position        Addressee              Addressee Position           Copyee                   Privileged
                                                                                                                                                                                                                             Designation



HHC906-03140316    01/27/1997                  Email and        Lupron (CMD Issue)                 Sigmund, James                               Contreras, A.                                                                DP Deliberative
                                               attachment                                                                                                                                                                    Process

HHC906-03170317    04/12/1995                  Draft language   Draft language to be used in                                                    Colbert, Dorothy                                                             DP Deliberative
                                                                responding to Dr. Timothy C.                                                                                                                                 Process
                                                                Hlavinka

HHC906-03180325    06/17/1991                  Memo and         Medicare Drug Pricing (Your        Buto, K. A.           Director, BPD          Christenbrerry, M.J.   Associate Regional                                    DP Deliberative
                                               attachment       memo dated July 3, 1990)                                                                               Administrator, Division of                            Process
                                                                                                                                                                       Medicare, Dallas

HHC906-03260332    07/10/1990                  Memo             Regional Office                    Christenberry, M.J.   Associate Regional     Gagle, Babara          Director, BPO                                         DP Deliberative
                                                                Recommendations for Program                              Administrator,                                                                                      Process
                                                                Changes to Address Agency                                Division of Medicare
                                                                Initiatives

HHC906-03330336    09/16/1998                  Letter and       Response to 4/13/1998 letter re:   Duncan, Shirley       Chief, Health Plan     Burns, W.E.            M.D.                                                  DP Deliberative
                                               attachment       reimbursement rate for Gamma                             Providers Branch,                                                                                   Process
                                                                Gloublin injection                                       HCFA, Dallas

HHC906-03370338    11/03/1997                  Route slip and   Subj. Chg to reimb method. for     Reiden, J.                                                                                                                DP Deliberative
                                               attachment       outpatient drug prog.                                                                                                                                        Process

HHC906-03390339    XX/XX/XXXX                  Form             Batch Information Re: Lupron                                                                                                                                 DP Deliberative
                                                                MDL Subpoena                                                                                                                                                 Process

HHC906-04490454    XX/XX/XXXX                  Draft Budget                                                                                                                                                                  DP Deliberative
                                               Request          Supplemental Budget Request                                                                                                                                  Process

HHC906-04940503    10/08/1996                  Letter           Response to 5/1/96 letter to P.    Ferguson, Dale        Health Insurance       Jordan, Paula          Project Manager, State     Saale, Judy; Bryan, Ron;   DP Deliberative
                                                                Chiarelli                                                Specialist,                                   and Federal Associates,Inc Ferguson                   Process
                                                                                                                         Operations Branch,
                                                                                                                         Division of Medicare

HHC906-05040504    12/02/1996                  Letter           Important Information for all      Bryan, Ronald L.      Health Insurance       All Carriers                                                                 DP Deliberative
                                                                Carriers -- Action Required                              Specialist,                                                                                         Process
                                                                                                                         Operations Branch,
                                                                                                                         Division of Medicare

HHC906-05050505    10/08/1999                  Email            Least Costly Alternative           Pilley, Mark          Mutual of Omaha        Nichols, K.                                         Cox, Kathy               DP Deliberative
                                                                                                                                                                                                                             Process

HHC906-05060506    10/13/1999                  Email            Least Costly Alternative           Geyer, Lauren                                Murff, D.                                                                    DP Deliberative
                                                                                                                                                                                                                             Process




February 9, 2005                                                                                                                                                                                                                           -33-
                                                              Case 1:01-cv-12257-PBS
                                                                                   HHSDocument
                                                                                      PRIVILEGED 3512-6 Filed
                                                                                                 DOCUMENTS LOG12/27/06 Page 35 of 70


Document Number Date            Stamp Number   Type               Description                        Author             Author Position        Addressee            Addressee Position            Copyee                      Privileged
                                                                                                                                                                                                                              Designation



HHC906-05130513    XX/XX/XXXX                  Note               Re: written communications to      Murff, Donna       Health Insurance                                                                                      DP Deliberative
                                                                  Member of Congress                                    Specialist, Division                                                                                  Process
                                                                                                                        of Medicare
                                                                                                                        Operations

HHC906-05140536    12/20/1999                  Fax and            q                                  Pat                                       Murff, Donna         HCFA                                                      DP Deliberative
                                               attachment         Correction issued for code J2405                                                                                                                            Process

HHC906-05370539    11/25/1999                  Email and          Response to questions on drug      Gilinsky, Joy                             Murff, D.                                                                      DP Deliberative
                                               attachment         pricing                                                                                                                                                     Process

HHC906-05400542    11/24/1999                  Email and          Uniform Drug Pricing Project       Manson, Nick K.;   Medicare               Murff, D.                                                                      DP Deliberative
                                               attachment                                                               Coordinator,                                                                                          Process
                                                                                                                        Wellmark, Inc.

HHC906-05430545    11/29/1999                  Email and          Uniform Drug Pricing Project -     Holston, Brenda    Mutual of Omaha        Murff, D.                                          Allmon, Trish, Mutual of    DP Deliberative
                                               attachment         RESPONSE                                                                                                                        Omaha                       Process

HHC906-0546-0557 11/24/1999                    Memo               Re: Uniform Drug Pricing Project   Moore, Pat         BCBS of Kansas,        Murff, D.            HCFA                          Klise, Doug; Rhoads, Dona   DP Deliberative
                                                                  memo Dated November 18, 1999                          Medicare B                                                                                            Process
                                                                                                                        Reimbursement

HHC906-05580559    XX/XX/XXXX                  Letter (draft)     RE: Colorado's State Plan          Reed, L.           Co-Director,           Chaumont, Vivianne   Director, Offie of Medical    Ericson, Spencer, Acting    DP Deliberative
                                                                  Amendment (SPA) 02-011                                Pharmacy Team,                              Assistance, Dept. of          Associate Regional          Process
                                                                                                                        CMS                                         Health CAre Policy &          Administrator, Denver
                                                                                                                                                                    Financing                     Regional Office

HHC906-05600561    XX/XX/XXXX                  Medicare           Medicare Payment Policy For                                                                                                                                 DP Deliberative
                                               Payment Policy     Implantable Pump And the Drugs                                                                                                                              Process
                                                                  Used To Refill The Pump

HHC906-05770578    XX/XX/XXXX                  Change             Program Memorandum                                                                                                                                          DP Deliberative
                                               Request 2869       Intermediaries/Carriers - Subj.:                                                                                                                            Process
                                                                  Drug Pricer Quarterly Update

HHC906-05850586    XX/XX/XXXX                  Draft              Colorado's State Plan              Reed, Larry,       Co-Director            Allen, Richard,      Director                      Ericson, Spencer, Denver    DP Deliberative
                                                                  Amendments (SPA) 02-011            Department Of      Pharmacy Team          Office Of Medical                                  Regional Office             Process
                                                                                                     Health & Human                            Assistance
                                                                                                     Services

HHC906-05870590    XX/XX/XXXX                  Draft Report       Montana SPA 03-003                                                                                                                                          DP Deliberative
                                                                                                                                                                                                                              Process

HHC906-05910592    XX/XX/XXXX                  Draft letter       re: Montana State Plan             Reed, L.           Co-Director,           Gray, Gail           Director, Health Policy &     Anderson, Todd; Dunstan,    DP Deliberative
                                                                  Amendment (SPA) 03-002                                Pharmacy Team                               Services Division, Dept. of   Diane                       Process
                                                                                                                                                                    Public Health and Human
                                                                                                                                                                    Services




February 9, 2005                                                                                                                                                                                                                            -34-
                                                              Case 1:01-cv-12257-PBS
                                                                                   HHSDocument
                                                                                      PRIVILEGED 3512-6 Filed
                                                                                                 DOCUMENTS LOG12/27/06 Page 36 of 70


Document Number Date            Stamp Number   Type               Description                         Author             Author Position         Addressee               Addressee Position            Copyee                          Privileged
                                                                                                                                                                                                                                       Designation



HHC906-05930594    XX/XX/XXXX                  Draft letter       Re: Colorado's State Plan           Reed, L            Co-Director,            Rinerston, Karen        Director, Office of Medical   Ericson, Spencer                DP Deliberative
                                                                  Amendment (SPA) 02-011                                 Pharmacy Team                                   Assistance, Dept. of                                          Process
                                                                                                                                                                         Health Care Policy &
                                                                                                                                                                         Financing

HHC907-00010002    12/16/1998                  Draft              Re: Lupron v. Zoladex-strategy      GNR                                                                                                                              DP Deliberative
                                                                                                                                                                                                                                       Process

HHC907-00030003    12/16/1998                  Draft              RE: Lupron v. Zoladex-strategy                                                                                                                                       DP Deliberative
                                                                                                                                                                                                                                       Process

HHC907-00040006    XX/XX/XXXX                  Notes              Handwritten                                                                                                                                                          DP Deliberative
                                                                                                                                                                                                                                       Process

HHC907-00070008    11/20/1998                  Draft              Re: Opposition to a Proposed        Bruk, Mary E.      Medicare Contractor                                                                                           DP Deliberative
                                                                  Local Medical Review Policy                            Management                                                                                                    Process
                                                                  regarding coverage for Lupron                          Branch, Division of
                                                                                                                         Beneficiary Services

HHC907-00090009    10/29/1989                  Handwritten note re: Methodology for determing         (sp?)                                      Masleowity(sp), Jerry                                                                 DP Deliberative
                                                                aggregate AWP-10%                                                                                                                                                      Process

HHC907-00100016    12/28/1989                  Memo with          An Operational Definition of        McDonough,         Associate Regional      Buto, K.                Director, BPD                 Schutzman, Fred, Director,      DP Deliberative
                                               attached draft     "Aggregate Test" for purposes of    Lawrence L.        Administrator,                                                                Bureau of Quality Control       Process
                                                                  the EAC at 42 CFR 447.331                              Division of Medicaid,
                                                                                                                         Region IX

HHC907-00170018    XX/XX/XXXX                  Regional           Subj: Provider Contacts and         Haffle, David M.   Manager, Program        Retention: until                                                                      DP Deliberative
                                               Medicare Letter    Potential Litigation -                                 Fiscal Integrity        further notice                                                                        Process
                                                                  INFORMATION

HHC907-00190022    02/02/1995                  Regional           Clarification of Drug Pricing       Bell, Beverly J.   Chief, Medicare         Retention: Until                                      Nixon, J.; Jones, S.; Bell,     DP Deliberative
                                               Medicare Letter    Instructions -- ACTION                                 Operations Branch       further notice                                        S.; Breen, P.; Underhill, J.;   Process
                                               and attachments                                                                                                                                         Yund, C.;

HHC907-00230030    12/01/1994                  Regional           Subj: Influence Benefit Questions   Bell, B.J.         Chief, Medicare         Retention: Indefinite                                 Nixon, J.; Jones, S.; Bell,     DP Deliberative
                                               Medicare Letter    and Answers--ACTION                                    Operations Branch,                                                            B; Underhill, J.; Yund, c.      Process
                                                                                                                         Division of Medicare

HHC907-00310046    09/26/1994                  Regional           Subj: Billing Changes for           Bell, B.J.         Chief, Medicare         Retention: until                                      Nixon, J.; Jones, S.; Bell,     DP Deliberative
                                               Medicare Letter    Influence, Pneumococcal                                Operations Branch       December 31,1996                                      B.; Breen, P.; Underhill, J.;   Process
                                                                  Pneumonia and Hepatitis B                                                                                                            Yund, C.
                                                                  Vaccines & Their
                                                                  Administration--ACTION




February 9, 2005                                                                                                                                                                                                                                     -35-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 37 of 70


Document Number Date            Stamp Number   Type              Description                           Author                Author Position         Addressee              Addressee Position     Copyee                          Privileged
                                                                                                                                                                                                                                   Designation



HHC907-00470073    10/21/1994                  Regional          Subj: Influence Vaccine               Bell, B.J.            Chief, Medicare                                                       Nixon, J.; Jones, S.; Bell,     DP Deliberative
                                               Medicare Letter   Coverage/Payment/Billing                                    Operations Branch       Retention:                                    B.; Breen, P.; Underhill, J.;   Process
                                               and attachment    Instructions--INFORMATION                                                           December 31, 1995                             Yund, C.

HHC907-00740088    07/22/1998                  Regional          Distribution of Information for the   Jones, O. Sharrion    Chief, Customer         Retention date:                                                               DP Deliberative
                                               Medicare Letter   1998 Influenza and                                          Relations Branch,       December 31, 1999                                                             Process
                                               and attachments   Pneumococcal                                                Division fo
                                                                 Campaign--ACTION                                            Beneficiaries, Health
                                                                                                                             Plans and Providers

HHC907-00890090    02/22/1995                  Regional          Two Medicare Payment Policy           Bell, B.J.            Chief, Medicare         Retention: Until                              Nixon, J.; Jones, S.; Bell,     DP Deliberative
                                               Medicare Letter   Clarifications--INFORMATION                                 Operations Branch       Manualized                                    B.; Breen, P.; Underhill, J.;   Process
                                                                                                                                                                                                   Yund, C.; Schoen, T.

HHC907-00910091    XX/XX/XXXX                  BLANK PAGE        This Page Intentionally Left Blank                                                                                                                                DP Deliberative
                                                                                                                                                                                                                                   Process

HHC907-00920105    XX/XX/1998                  Supplier Manual   CIGNA Medicare Newsletter for                               CIGNA HealthCare                                                                                      DP Deliberative
                                               Update            Region D, Fall 1998 (DMERC                                  Medicare                                                                                              Process
                                                                 Dialogue)                                                   Administration

HHC907-01060109    11/09/1999                  Email and         Harking press release on IR           Long, William                                 Hoyer, T.; Wardwell,                                                          DP Deliberative
                                               attachment                                                                                            B.; Rutemueller, W.;                                                          Process
                                                                                                                                                     Kaiser, J.

HHC907-01100110    XX/XX/XXXX                  Folder Jacket     Pre-Decisional Hard Copy - I                                                                                                                                      DP Deliberative
                                                                                                                                                                                                                                   Process

HHC907-01140115    02/20/1997                  Email             Drug Query (Lupron)                   Baier, Fay                                    Schoen, T.                                                                    DP Deliberative
                                                                                                                                                                                                                                   Process

HHC907-01160116    02/28/1997                  Email             Drug Query - Forwarded - Reply        Grabowski, John                               Schoen, T                                     Baier, F                        DP Deliberative
                                                                                                                                                                                                                                   Process

HHC907-01170124    10/28/1996                  Draft memo and    Inappropriate Physician Fee           Cusick, Elizabeth,    Office of Physician     All Associate          Division of Medicare                                   DP Deliberative
                                               attachment        Schedule Payments in Hospitals        Director & Stewart,   & Ambulatory Care       Regional                                                                      Process
                                                                                                       Streimer, Director    Policy, BPD & Office    Administrators
                                                                                                                             of Program
                                                                                                                             Requirements, BPO

HHC907-01250128    12/07/1998                  Email and         Lupron & Zoladex - forwarded -        Baier, Fay                                    Schoen, T.                                                                    DP Deliberative
                                               attachments       reply                                                                                                                                                             Process

HHC907-01290129    05/03/1996                  Email             Payment For Zoladex                   Grabowski, John                               WPPROFS                                       Schoen, T                       DP Deliberative
                                                                                                                                                     HCFASFO GM03                                                                  Process




February 9, 2005                                                                                                                                                                                                                                 -36-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 38 of 70


Document Number Date            Stamp Number   Type              Description                       Author           Author Position         Addressee              Addressee Position        Copyee                   Privileged
                                                                                                                                                                                                                      Designation



HHC907-01300130    XX/XX/XXXX                  Hand Written      Related Documents Flr Vaccine                                                                                                                        DP Deliberative
                                               Post-It-Note      2001                                                                                                                                                 Process

HHC907-01500151    02/1/1999                   Email             Dr. Mollen and Flu/PPV            Schoen, Teresa                           San                                              Wong, H, White2, M;      DP Deliberative
                                                                 Reimbursement - Forwarded -                                                Francisco.SF01.L.Calma,                          Shoemaker, M             Process
                                                                 Reply                                                                      Denver.Den1.RStrub,
                                                                                                                                            San...

HHC907-01520153    XX/XX/XXXX                  Payment Policy    Payment Policy Re: Influenza                                                                                                                         DP Deliberative
                                                                 Vaccine And Pneumococcal                                                                                                                             Process
                                                                 Pneumonia Vaccine

HHC907-01540154    01/30/1995                  Memo              Clarification Of Drug Pricing     Director                                 All Regional                                                              DP Deliberative
                                                                 Instructions                                                               Administrators                                                            Process

HHC907-03260326    XX/XX/XXXX                  Handwritten       RE: Statutory limit               Schoen, T.                                                                                                         DP Deliberative
                                               notes                                                                                                                                                                  Process

HHC907-03270327    XX/XX/XXXX                                    LPT1                                                                                                                                                 DP Deliberative
                                                                                                                                                                                                                      Process

HHC907-04040405    XX/XX/XXXX                  Notes             Handwritten notes re: Drug                                                                                                                           DP Deliberative
                                                                 Pricing                                                                                                                                              Process

HHC907-04060407    01/30/1995                  Memo and          Clarification of Drug Pricing     Cusick, E.;                              All Regional                                                              DP Deliberative
                                               attachment        Instructions                      Streimer, S.                             Administrators                                                            Process

HHC907-04080408    06/13/1996                  Regional          Pricing Allowances for Multiple   Bell, B.J.       Manager, Medicare       Retention: Until                                                          DP Deliberative
                                               Medicare Letter   Dosages of Drugs -- ACTION                         Operations and          Superseded                                                                Process
                                                                                                                    Policy

HHC907-04090428    08/25/1999                  Email and         Compounding                       Schoen, T.                               Underhill, J                                     Shoemaker, M.            DP Deliberative
                                               attachments                                                                                                                                                            Process

HHC907-04290440    06/22/1998                  Email and         Single Drug Pricing File          Ring, Linda                              Ross, F.; Sprenz, A.                                                      DP Deliberative
                                               attachmentws                                                                                                                                                           Process

HHC907-04410444    XX/XX/XXXX                                    Medicare Coverage Database                                                                                                                           DP Deliberative
                                                                                                                                                                                                                      Process

HHC907-04870487    03/20/1989                  Memo              Application of Inherent           Buto, K.         Acting Director,                               Associate Regional        All ARA's DPO; Harris,   DP Deliberative
                                                                 Reasonableness (MCM Section                        Bureau of Eligibiity,                          Director Administrator,   Jean, BPO;               Process
                                                                 5246)(Your memorandum dated                        Reimbursement and                              Program Operations, San
                                                                 1/4/1989)--INFORMATION                             Coverage                                       Francisco

HHC907-04880494    XX/XX/XXXX                  Draft Report      CIGNA Contractor Performance                       Schoen, T.                                                                                        DP Deliberative
                                                                 Review Report                                                                                                                                        Process




February 9, 2005                                                                                                                                                                                                                    -37-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 39 of 70


Document Number Date            Stamp Number   Type             Description                         Author           Author Position       Addressee          Addressee Position       Copyee                        Privileged
                                                                                                                                                                                                                     Designation



HHC907-05390539    XX/X/XXXX                   Note             Note to Bob Niemann re: Drug        Schoen, T.       HCFA, Region X        Niemann, B.                                                               DP Deliberative
                                                                Pricing, per AB-98-76                                                                                                                                Process

HHC907-05420543    XX/XX/XXXX                  Report           Accomplishments--2001--Teresa       Schoen, T.                                                                                                       DP Deliberative
                                                                Schoen                                                                                                                                               Process

HHC907-05440551    10/16/1996                                   Pricing discussion (Cyclosporine)   Niemann, R.;                                                                                                     DP Deliberative
                                                                                                    Moore, A.P.;                                                                                                     Process
                                                                                                    Spaulding,C.

HHC907-05520557    05/03/1996                                   Payment for Zoladex                 Grabowski,John                         Schoen, T                                                                 DP Deliberative
                                                                                                                                                                                                                     Process

HHC907-05580558    10/24/1996                  Email            Paying for equivalent drugs with    Schumaker,                             Ault, T.                                    Niemann, R.; Bagley, G.;      DP Deliberative
                                                                different prices                    Bernadette                                                                         Primack, A.                   Process

HHC907-05590559    09/06/1996                  Email            Zolodex                             Grabowski, J.                          Niemann, R.;                                Schoen, T.; Baier, F.         DP Deliberative
                                                                                                                                           Carpenter, C.                                                             Process

HHC907-05600562    XX/XX/XXXX                  Comments         CR#1232/N464 Accurate               Gattuso, John                                                                      Stokayer, A.; Slisker;        DP Deliberative
                                                                Average Wholesale Price Data                                                                                           Blumenfeld, A; Scolonferrer   Process
                                                                for Drugs

HHC907-06160616    XX/XX/XXXX                                   File Jacket                                                                                                                                          DP Deliberative
                                                                                                                                                                                                                     Process

HHC907-06310648    XX/XX/XXXX                  Training         Pulmocare (albuterol)               Wagner, Patty    Policy Specialist,                                                                              DP Deliberative
                                               handouts                                                              Division of                                                                                     Process
                                                                                                                     Medicare, Seattle

HHC907-06490649    XX/XX/XXXX                                   Post It With Handwritten Note                                                                                                                        DP Deliberative
                                                                                                                                                                                                                     Process

HHC907-06500693    03/10/1997                  Email and        Sandimmune pricing                  Schoen, T.                             Riley, Carolyn                                                            DP Deliberative
                                               attachments                                                                                                                                                           Process

HHC907-06940701    11/14/1998                  Fax              CIGNA-DMERC pricing arrays          Schoen, T.                             Helton, Carolyn                                                           DP Deliberative
                                                                for AWP--Nebulizer drugs                                                                                                                             Process

HHC907-07020712    12/02/1997                  Letter and       Performance Monitoring Report       Kozak, D.        Project Officer,      Burrell, Edward    Project Manager, CIGNA                                 DP Deliberative
                                               attachments      (CIGNA-DMERC Review AWP of                           Medicare Contractor                      DMERC Region D                                         Process
                                                                DME Drugs)                                           Management Branch

HHC907-07130722    11/20/1997                  Fax and          AWP & Nebulizer Drugs Arrays --     Schoen, T.                             Douglas, Barbara   CIGNA Medicare                                         DP Deliberative
                                               attachment       Red Book & Calculation                                                                                                                               Process




February 9, 2005                                                                                                                                                                                                                   -38-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 40 of 70


Document Number Date            Stamp Number   Type              Description                            Author              Author Position         Addressee              Addressee Position        Copyee                        Privileged
                                                                                                                                                                                                                                   Designation



HHC907-07230724    11/20/1997                  Notes             Handwritten notes from phone           Schoen, T.                                                                                                                 DP Deliberative
                                                                 conversation with Barbara                                                                                                                                         Process
                                                                 Douglas

HHC907-07250729    10/29/1998                  Notes and         Handwritten notes re: Inhalation       Schoen, T.                                                                                                                 DP Deliberative
                                               attachment        drug Albuterol -- Nebulizer drug                                                                                                                                  Process

HHC907-07300739    XX/05/1998                  Email and         Inherent Reasonableness                Schoen, T.                                  Underhill, J.                                    Bell, B.; Kendall. C.         DP Deliberative
                                               attachment        Review of CIGNA-DEMERC -                                                                                                                                          Process
                                                                 Nebulizer drugs (Albuterol)

HHC907-07400742    10/29/1998                  Fax and           #1 Nebulizer Drug -- Albuterol         Schoen, T.          CMS                     Helton, C              DMERC                                                   DP Deliberative
                                               attachment        Pricing Array for AWP                                                                                                                                             Process

HHC907-07430746    06/01/1994                  Memo              Subj: Answers to questions             Ault, T.                                                           Regional Administrator,                                 DP Deliberative
                                                                 concerning programs                                                                                       Dallas                                                  Process
                                                                 memorandum AB-94-2

HHC907-07470748    01/18/1994                  Memo              Payment For Epoetin Alfa               Streimer, Stewart                           All Associate                                    All Regional Administrators   DP Deliberative
                                                                 --Action                               H.                                          Regional                                                                       Process
                                                                                                                                                    Administrators For
                                                                                                                                                    Medicare

HHC907-07490750    05/02/1995                  Letter            Policy Clarification for Billing and   Neally, Opal        Acting Chief, Carrier   All Region V                                                                   DP Deliberative
                                               w/handwritten     Payment of Epoetin Alpha                                   Operations Branch,      Contractors                                                                    Process
                                               notations         (EPO)--ACTION                                              Medicare Branch

HHC907-07510753    04/11/1995                  Multiple          Payment for EPO Administered           Rydell, Mary        Medicare Region IX,     Moore, Terry; Smith,   RO ESRD Coordinators                                    DP Deliberative
                                               facsimile         under "Incident to"                                        San Francisco           Debra; Poppel, Neil;                                                           Process
                                               transmission                                                                                         Pierson, Michael;
                                               request and                                                                                          Thomas, Irvin;
                                               attachment                                                                                           Goodwin, Amanda;
                                                                                                                                                    Opheim, Michelle,
                                                                                                                                                    Kozak, Debbie

HHC907-07540755    04/06/1995                  Fax and           Conference and call record dated       Grannell, Tricia    HHS/BPD/OHP             Rydell, M.             SFRO                                                    DP Deliberative
                                               attachment        4/5/1995                                                                                                                                                          Process

HHC907-07560758    05/04/1995                  Fax and memo      Payment for Epoetin Alpha              Abbott, Elizabeth   Associate Regional      Streimer, Steward,     ESRD Policy Team                                        DP Deliberative
                                               dated             (EPO) Furnished Under the                                  Administrator,          Director & Price,                                                              Process
                                               12/20/1994 from   "Incident To" Benefit                                      Division of             Lana, Director
                                               James Cucu to                                                                Medicare, Region IX
                                               Dave Hill




February 9, 2005                                                                                                                                                                                                                                 -39-
                                                             Case 1:01-cv-12257-PBS
                                                                                  HHSDocument
                                                                                     PRIVILEGED 3512-6 Filed
                                                                                                DOCUMENTS LOG12/27/06 Page 41 of 70


Document Number Date            Stamp Number   Type              Description                       Author                Author Position        Addressee              Addressee Position   Copyee                          Privileged
                                                                                                                                                                                                                            Designation



HHC907-07590759    07/26/1994                  Regional          New Code for Epoetin Alpha        Bell, B.J.            Chief, Medicare        Retention: January                          Nixon, J; Jones, S.; Bell,      DP Deliberative
                                               Medicare Letter   (EPO) for Non End Stage Renal                           Operations Branch      1, 1995                                     B.; Breen, P.; Underhill, J.,   Process
                                                                 Disease (ESRD)                                                                                                             Yund, C.
                                                                 Patients--ACTION

HHC907-07600761    04/01/1994                  Regional          Payment for Epoetin               Bell, B.J.            Chief, MOB             Retention: Until                            Nixon, J; Jones, S.; Bell,      DP Deliberative
                                               Medicare Letter   Alfa--ACTION                                                                   further notice                              B.; Breen, P.; Underhill, J.,   Process
                                                                                                                                                                                            Yund, C.

HHC907-07620764    04/13/1995                  Email and         One that got away - AWP           Yund, C.                                     Tilghman, Cornell;     HCFA RO's                                            DP Deliberative
                                               attachment                                                                                       Larson, Robert;                                                             Process
                                                                                                                                                Emilio, Comparoto;
                                                                                                                                                Smith, G.; Bales,
                                                                                                                                                Norma Jo;
                                                                                                                                                Umscheld, Gary;
                                                                                                                                                Ressmeyer, Carol;
                                                                                                                                                Pagels, Mike;
                                                                                                                                                Austin, Carl;
                                                                                                                                                Hughes, Paul

HHC907-07650765    04/15/1994                  View the Note     EPO_alpha .wp (Response to        Lamarra, Gail         Text Editor,           Grabowski, John                                                             DP Deliberative
                                                                 RML 94-92)                                              HCFASEA                                                                                            Process

HHC907-07660766    4/15/1994                   Letter            RE: RML 94-92 Payment for         Rickles, Sharla,      Nurse Consultant,      Grabowski, John        HCFA, Region X       Yund, Carol                     DP Deliberative
                                                                 Epoetin Alfa                      RN, MS                Aetna Life &                                                                                       Process
                                                                                                                         Casualty, Medicare
                                                                                                                         Claim Administration

HHC907-07670770    07/24/1996                  Note              Handwritten note on               Schoen, T.                                                                                                               DP Deliberative
                                                                 conversation with Mary Lipinsky                                                                                                                            Process
                                                                 re: Immunex

HHC907-08001012    07/27/1998                  Email and         National DMERC IR Project (       Kaiser, Joel                                 Finn, C.; Eiler, C.;                        Long2, W.; Rutemueller,         DP Deliberative
                                               attached IR       Albuterol Nebulizer (Aerosol                                                   Stone, R.; Douglas,                         W.; Wardwell, B.;               Process
                                               Project           Inhaled) Drugs                                                                 B.; Leads                                   Spalding, J.;

HHC907-10691073    XX/XX/XXXX                  Memo              WA 02-022 With Attachment         Myers, Ann                                   Howell, K                                                                   DP Deliberative
                                                                                                                                                                                                                            Process

HHC907-10741074    XX/XX/XXXX                  Notes             Handwritten Notes                                                                                                                                          DP Deliberative
                                                                                                                                                                                                                            Process

HHC907-10871087    XX/XX/XXXX                  Memo              Increases In Maximum Allowable    Porter, J. Douglas,   Assistant Secretary    All Prescribers                                                             DP Deliberative
                                                                 Drug Dispensing Fees              Medical                                                                                                                  Process
                                                                                                   Assistance
                                                                                                   Administration




February 9, 2005                                                                                                                                                                                                                          -40-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 42 of 70


Document Number Date            Stamp Number   Type               Description                         Author              Author Position       Addressee              Addressee Position            Copyee                       Privileged
                                                                                                                                                                                                                                  Designation



HHC907-11101120    XX/XX/XXXX                  Agreement          Draft supplemental rebate           Salanty, James R.   Senior Manager,                                                                                         DP Deliberative
                                                                  agreement                                               Contracts and                                                                                           Process
                                                                                                                          Pricing, TAP
                                                                                                                          Pharmaceuticals,
                                                                                                                          Inc.

HHC907-11211121    09/10/XXXX                  Handwritten        Siri Child WA Pharmacy                                                                                                                                          DP Deliberative
                                               notes                                                                                                                                                                              Process

HHC907-11561177    XX/XX/XXXX                  Draft revision     State Plan Under Title XIX of the                                                                                                                               DP Deliberative
                                                                  Social Security Act - State of                                                                                                                                  Process
                                                                  Washington

HHC907-11781181    XX/XX/XXXX                  Cover letter re:   Letter with handwritten notes       Coolen, Phyllis     Director, Division of O'Connor, Karen, S.;   Acting Chief, Medicaid        Braddock, Dennis; Porter,    DP Deliberative
                                               explanation for                                                            Medical                                      Branch, Division of           Doug; Bedell, Tom; Childs,   Process
                                               SAP 061702.doc                                                             Management/Medical                           Medicaid and State            S.; Wimpee, A.
                                                                                                                          Operations, Medical                          Operations
                                                                                                                          Assistance
                                                                                                                          Administration

HHC907-12131217    XX/XX/XXXX                  TCS Client         TCS - Client Notice 1-29                                                                                                                                        DP Deliberative
                                               Notice                                                                                                                                                                             Process

HHC907-12181218    XX/XX/XXXX                  Notice             TCS - Client notice 1-29 - fax                                                                                                                                  DP Deliberative
                                                                  doc. with handwrittenn notes                                                                                                                                    Process

HHC907-12191222    04/19/XXXX                  Notes              Handwritten notes re: WA - TCS                                                                                                                                  DP Deliberative
                                                                                                                                                                                                                                  Process

HHC907-12551256    XX/XX/XXXX                  Memo (draft)       Washington State Plan               Reed, Lary                                                       Associate Regional            Regional Administrator       DP Deliberative
                                                                  Amendment 02-001 - ACTION                                                                            Director; Region X, Seattle                                Process

HHC907-12571264    XX/XX/XXXX                  Draft revision     State Plan Under Title XIX of the                                                                                                                               DP Deliberative
                                                                  Social Security Act - State:                                                                                                                                    Process
                                                                  Washington with handwritten
                                                                  notes

HHC907-17171719    XX/XX/XXXX                  Memo               Prescription Service By Mail        Porter, Douglas,    Assistant Secretary   Prescribers                                                                       DP Deliberative
                                                                  Available To Medical Assistance     Medical                                                                                                                     Process
                                                                  Fee-For-Service Clients             Assistance
                                                                                                      Administration

HHC908-00010001    XX/XX/XXXX                  Post-It-Note       #22-26; #46-53                                                                                                                                                  DP Deliberative
                                                                                                                                                                                                                                  Process

HHC908-00020002    XX/XX/XXXX                  Working Files      Oregon State Amendments -                                                                                                                                       DP Deliberative
                                               Chart              Analyst-Garza Working Files                                                                                                                                     Process




February 9, 2005                                                                                                                                                                                                                                -41-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 43 of 70


Document Number Date            Stamp Number   Type              Description                       Author               Author Position   Addressee            Addressee Position       Copyee                       Privileged
                                                                                                                                                                                                                     Designation



HHC908-00190020    XX/XX/XXXX                  Notice            Notice Of Proposed Rulemaking                                                                                                                       DP Deliberative
                                                                 Hearing                                                                                                                                             Process

HHC908-00230028    XX/XX/XXXX                  Letter            SPA 03-014                        Reed, Larry          Co-Director       Read, Lynn, Office  Administrator             O'Connor, Karen S; Garza,    DP Deliberative
                                                                                                                                          of Medical                                    Maria; Dunstan, Diane        Process
                                                                                                                                          Assistance Programs

HHC908-00300032    XX/XX/XXXX                  Letter            Oregon's State Plan Amendment     Reed, Larry,         Co-Director       Read, Lynn, Office  Administrator             Garza, Maria; Butterfield,   DP Deliberative
                                                                 (SPA) 03-014                      Pharmacy Team                          Of Medical                                    Burnee                       Process
                                                                                                                                          Assistance Programs

HHC908-00330033    XX/XX/XXXX                  Letter            SPA 03-002                        Reed, Larry,         Co-Director       Read, Lynn, Office  Administrator             O'Connor, Karen S.;          DP Deliberative
                                                                                                   Pharmacy Team                          Of Medical                                    Garza, Maria; Dunstan,       Process
                                                                                                                                          Assistance Programs                           Diane

HHC908-00620062    XX/XX/XXXX                  Cover Sheet       Withdrawn By State                                                                                                                                  DP Deliberative
                                                                                                                                                                                                                     Process

HHC908-00650065    XX/XX/XXXX                  Letter            SPA #03-12                        Read, Lynn           Administrator     O                    Regional Administrator                                DP Deliberative
                                                                                                                                          O                                                                          Process
                                                                                                                                          O'Connor, Karen,
                                                                                                                                          Centers For
                                                                                                                                          Medicaid &
                                                                                                                                          Medicare Services

HHC908-00770077    XX/XX/XXXX                  Notice Of         Notice Of Proposed Rulemaking     Secretary Of State                                                                                                DP Deliberative
                                               Proposed          Hearing                                                                                                                                             Process
                                               Rulemaking
                                               Hearing

HHC908-00780078    XX/XX/XXXX                                    Pharmacy SPA Checklist                                                                                                                              DP Deliberative
                                                                                                                                                                                                                     Process

HHC908-01000115    XX/XX/XXXX                  State Plan        Transmittal and Notice of                                                                                                                           DP Deliberative
                                                                 Approval Of State Plan Material                                                                                                                     Process

HHC908-01330152    XX/XX/XXXX                  State Plan        Transmittal And Notice Of                                                                                                                           DP Deliberative
                                                                 Approval Of State Plan Material                                                                                                                     Process

HHC908-02100212    XX/XX/XXXX                  Transmittal And   Transmittal And Notice Of                                                                                                                           DP Deliberative
                                               Notice Of         Approval Of State Plan Material                                                                                                                     Process
                                               Approval Of
                                               State Plan
                                               Material




February 9, 2005                                                                                                                                                                                                                   -42-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 44 of 70


Document Number Date            Stamp Number   Type              Description                       Author              Author Position       Addressee             Addressee Position   Copyee   Privileged
                                                                                                                                                                                                 Designation



HHC908-02190224    XX/XX/XXXX                  State Plan        State Plan Amendment Material                                                                                                   DP Deliberative
                                               Amendment                                                                                                                                         Process
                                               Material

HHC908-02280231    XX/XX/XXXX                  State Plan        Transmittal And Notice Of                                                                                                       DP Deliberative
                                               Material          Approval Of State Plan Material                                                                                                 Process

HHC908-02390239    XX/XX/XXXX                  Pharmacy SPA      Pharmacy SPA Checklist For                                                                                                      DP Deliberative
                                               Checklist For     Region 10                                                                                                                       Process
                                               Region 10

HHC908-02550255    XX/XX/XXXX                  Letters, Emails   SPA 02-17                                                                                                                       DP Deliberative
                                               and Faxes                                                                                                                                         Process

HHC908-02570260    XX/XX/XXXX                  Letter            SPA 02-17                         Eck, Carole M. Van Title XIX Specialist   Center For Medicaid                                 DP Deliberative
                                                                                                                                             & Medicare Services                                 Process

HHC908-02740274    XX/XX/XXXX                  Email             SPA 02-17 Correction              Garza, Maria                              Drawbaugh, Thomas                                   DP Deliberative
                                                                                                                                                                                                 Process

HHC908-03180318    XX/XX/XXXX                  Notice            OS Notification Washington TN                                                                                                   DP Deliberative
                                                                 #02-016                                                                                                                         Process

HHC908-03470350    XX/XX/XXXX                  Notice            Transmittal And Notice Of                                                                                                       DP Deliberative
                                                                 Approval Of State Plan Material                                                                                                 Process

HHC908-03640364    XX/XX/XXXX                  Handwritten       Predecisional Email &                                                                                                           DP Deliberative
                                               Note              Correspondence                                                                                                                  Process

HHC908-03660366    XX/XX/XXXX                  Letter            SPA #02-16                        Van Eck, Carole M. Title XIX Specialist   Maria                                               DP Deliberative
                                                                                                                                                                                                 Process

HHC908-03670367    XX/XX/XXXX                  Pharmacy SPA                                                                                                                                      DP Deliberative
                                               Checklist                                                                                                                                         Process

HHC908-03680368    XX/XX/XXXX                                    SPA 02-16                                                                                                                       DP Deliberative
                                                                                                                                                                                                 Process

HHC908-03900390    XX/XX/XXXX                  Handwritten       Handwritten Notes                                                                                                               DP Deliberative
                                               Notes                                                                                                                                             Process

HHC908-03950399    XX/XX/XXXX                  Handwritten       Handwritten Notes                                                                                                               DP Deliberative
                                               Notes                                                                                                                                             Process




February 9, 2005                                                                                                                                                                                               -43-
                                                              Case 1:01-cv-12257-PBS
                                                                                   HHSDocument
                                                                                      PRIVILEGED 3512-6 Filed
                                                                                                 DOCUMENTS LOG12/27/06 Page 45 of 70


Document Number Date            Stamp Number   Type               Description                       Author              Author Position   Addressee         Addressee Position      Copyee                   Privileged
                                                                                                                                                                                                             Designation



HHC908-04010405    XX/XX/XXXX                  Transmittal And    Transmittal And Notice Of                                                                                                                  DP Deliberative
                                               Notice Of          Approval Of State Plan Material                                                                                                            Process
                                               Approval Of
                                               State Plan
                                               Material

HHC908-04120416    XX/XX/XXXX                  Transmittal And    Transmittal And Notice Of                                                                                                                  DP Deliberative
                                               Notice Of          Approval State Plan Material                                                                                                               Process
                                               Approval State
                                               Plan Material

HHC908-04180423    XX/XX/XXXX                  Transmittal And    Transmittal And Notice Of                                                                                                                  DP Deliberative
                                               Notice Of          Approval Of State Plan Material                                                                                                            Process
                                               Approval Of
                                               State Plan
                                               Material

HHC908-04270428    XX/XX/XXXX                  Transmittal And    Transmittal And Notice Of                                                                                                                  DP Deliberative
                                               Notice Of          Approval Of State Plan Material                                                                                                            Process
                                               Approval Of
                                               State Plan
                                               Material

HHC908-04540458    XX/XX/XXXX                  Transmittal And    Transmittal And Notice Of                                                                                                                  DP Deliberative
                                               Notice Of          Approval Of State Plan Material                                                                                                            Process
                                               Approval Of
                                               State Plan
                                               Material

HHC908-04590460    XX/XX/XXXX                  Emails, OS         Oregon SPA 02-15 Materials        Cahee, Christie,    Pharmacist        Dunstan, Diane;                                                    DP Deliberative
                                               Notification                                         Centers For                           Garza, Maria                                                       Process
                                                                                                    Medicare &
                                                                                                    Medicaid Services

HHC908-04610461    XX/XX/XXXX                  Letter             SPA 02-015                        Reed, Larry,        Co-Director       Thorne, Jean I.   Interim Administrator   Garza, Maria; Dunstan,   DP Deliberative
                                                                                                    Pharmacy Team                                                                   Diane; Gilbert, Mark     Process

HHC908-04620462    XX/XX/XXXX                  Pharmacy SPA       Pharmacy SPA Checklist                                                                                                                     DP Deliberative
                                               Checklist                                                                                                                                                     Process

HHC908-05070507    XX/XX/XXXX                  Oregon SPAs        Oregon SPAs 02-11, 02-15,                                                                                                                  DP Deliberative
                                                                  02-16                                                                                                                                      Process

HHC908-05150515    XX/XX/XXXX                  Handwritten        Oregon #02-015                                                                                                                             DP Deliberative
                                               Notes                                                                                                                                                         Process




February 9, 2005                                                                                                                                                                                                           -44-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 46 of 70


Document Number Date            Stamp Number   Type              Description                       Author                Author Position      Addressee             Addressee Position   Copyee                       Privileged
                                                                                                                                                                                                                      Designation



HHC908-05160516    XX/XX/XXXX                  Handwritten       Handwritten Notes                                                                                                                                    DP Deliberative
                                               Notes                                                                                                                                                                  Process

HHC908-05190519    XX/XX/XXXX                  State Plan        State Plan Amendment Route                                                                                              O'Connor, Karen;             DP Deliberative
                                               Amendment         Slip, TN# 02-011                                                                                                                                     Process
                                               Route Slip, TN#
                                               02-011

HHC908-05200522    XX/XX/XXXX                  Transmittal And   Transmittal And Notice Of                                                                                                                            DP Deliberative
                                               Notice Of         Approval Of State Plan Material                                                                                                                      Process
                                               Approval Of
                                               State Plan
                                               Material

HHC908-05270536    XX/XX/XXXX                  Letter            Medicaid Model Home And           Trimble, Teresa L.    Associate Regional   Weeks, Gary,          Director             Kast, Barry; Oliver, Burl;   DP Deliberative
                                                                 Community Based Waiver                                  Administrator        Department Of                              Hartwig, DeAnna; Fries,      Process
                                                                                                                                              Human Resources                            Don

HHC908-05370537    XX/XX/XXXX                  Memo              Sixty Day Alert - Oregon SPA      Butterfield, Bunnee                        Smith, Dennis,        Director                                          DP Deliberative
                                                                 #02-004                                                                      Center For Medicaid                                                     Process
                                                                                                                                              And State
                                                                                                                                              Operations

HHC908-05390546    XX/XX/XXXX                  Transmittal And   Decrease The Oregon Maximum                                                                                                                          DP Deliberative
                                               Notice Of         Allowable Cost From 13% to 14%                                                                                                                       Process
                                               Approval Of
                                               State Plan
                                               Material

HHC908-05580558    XX/XX/XXXX                  Notes             Questions For 5/10/02                                                                                                                                DP Deliberative
                                                                 Conference Call With RO And                                                                                                                          Process
                                                                 Oregon Medicaid

HHC908-05810581    XX/XX/XXXX                  OS Notification   OS Notification Oregon TN#                                                                                                                           DP Deliberative
                                               Oregon TN#        01-018                                                                                                                                               Process
                                               01-018

HHC908-05820582    XX/XX/XXXX                  OS Notification   OS Notification Oregon TN#                                                                                                                           DP Deliberative
                                               Oregon TN#        02-004                                                                                                                                               Process
                                               02-004

HHC908-05830583    XX/XX/XXXX                  OS Notification   OS Notification, TN# 01-012                                                                                                                          DP Deliberative
                                                                                                                                                                                                                      Process

HHC908-05850585    XX/XX/XXXX                  Notice            OS Notification                   Oregon State Plan                                                                                                  DP Deliberative
                                                                                                   Amendment, TN#                                                                                                     Process
                                                                                                   01-012




February 9, 2005                                                                                                                                                                                                                    -45-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 47 of 70


Document Number Date            Stamp Number   Type               Description                      Author             Author Position         Addressee            Addressee Position    Copyee                        Privileged
                                                                                                                                                                                                                       Designation



HHC908-05870588    XX/XX/XXXX                  Memo               Sixty Day Alert (03/04/2002) -   Butterfield ,      Acting Associate        Smith, Dennis,       Director,Center for   Weisman, Elliott, PCPG;       DP Deliberative
                                                                  Oregon SPA #01-018               Bunnee, HCFA       Regional                HCFA                 Mediciai and State    Kerhart Dusty, PCPG;          Process
                                                                                                                      Administrator                                Operatons             Hance, MaryBeth, OCD
                                                                                                                                                                                         Special Assistant; IGTAG
                                                                                                                                                                                         Contact; Deboy, Alissa,
                                                                                                                                                                                         DEHPG Special Assistant;
                                                                                                                                                                                         Rhodes, Rhonda, FCHPG
                                                                                                                                                                                         Special Assistant; Howell,
                                                                                                                                                                                         Kim, CMSO

HHC908-05910606    XX/XX/XXXX                  Transmittal And    01-18                                                                                                                                                DP Deliberative
                                               Notice Of                                                                                                                                                               Process
                                               Approval Of
                                               State Plan
                                               Material

HHC908-06100610    XX/XX/XXXX                  Memo               Oregon State Plan Amendment      Director           Division Of Benefits,   Associate Regional                         Regional Administrator;       DP Deliberative
                                                                  01-08--Action                                       Coverage And            Director                                   Division Of Medicaid;         Process
                                                                                                                      Payment                                                            Region X, Seattle; Division
                                                                                                                                                                                         Of Medicaid And State
                                                                                                                                                                                         Operations


HHC908-06410641    XX/XX/XXXX                  Fax                RX Report                        Fax Confirmation                                                                                                    DP Deliberative
                                                                                                   Sheet                                                                                                               Process

HHC908-06430643    XX/XX/XXXX                  State Plan         State Plan Amendment Route                                                                                                                           DP Deliberative
                                               Amendment          Slip                                                                                                                                                 Process
                                               Route Slip

HHC908-06440659    XX/XX/XXXX                  Transmittal And    Transmittal Number: 01-18                                                                                                                            DP Deliberative
                                               Notice Of                                                                                                                                                               Process
                                               Approval Of
                                               State Plan
                                               Material

HHC908-06830683    XX/XX/XXXX                  Notice Of          Notice Of Proposed Rule-Making                                                                                                                       DP Deliberative
                                               Proposed           Hearing                                                                                                                                              Process
                                               Rule-Making
                                               Hearing

HHC908-06840684    XX/XX/XXXX                  In The Matter Of   Adoption Of A Rule Which                                                                                                                             DP Deliberative
                                               The Adoption Of    Govern Payment For                                                                                                                                   Process
                                               A Rule Which       Pharhaceutical Services
                                               Govern
                                               Payment For
                                               Pharmaceutical




February 9, 2005                                                                                                                                                                                                                     -46-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 48 of 70


Document Number Date            Stamp Number   Type              Description                       Author          Author Position      Addressee        Addressee Position   Copyee                     Privileged
                                                                                                                                                                                                         Designation



                                               Services

HHC908-06850685    XX/XX/XXXX                  410-121-xxxx   410-121-xxxx Drug Copayment                                                                                                                DP Deliberative
                                               Drug Copayment                                                                                                                                            Process

HHC908-06860686    XX/XX/XXXX                  Public Notice     Public Notice                                                                                                                           DP Deliberative
                                                                                                                                                                                                         Process

HHC908-06870687    XX/XX/XXXX                  State Plan        Add Pharmacy Co-pay As                                                                                                                  DP Deliberative
                                               Amendment         Approved By The Oregon State                                                                                                            Process
                                               Route Slip        Legislature

HHC908-06880703    XX/XX/XXXX                  Transmittal And   Transmittal And Notice Of                                                                                                               DP Deliberative
                                               Notice Of         Approval Of State Plan Material                                                                                                         Process
                                               Approval Of
                                               State Plan
                                               Material

HHC908-07170719    XX/XX/XXXX                  State Plan        Transmittal #01-18, Attachment                                                                                                          DP Deliberative
                                               Under Title XIX   4.18C                                                                                                                                   Process
                                               Of The Social
                                               Security Act,
                                               State Oregon

HHC908-07210721    XX/XX/XXXX                  State Plan        Transmittal #01-18, Attachment                                                                                                          DP Deliberative
                                               Under Title XIX   4.18-A                                                                                                                                  Process
                                               Of The Social
                                               Security Act

HHC908-07220723    XX/XX/XXXX                  State Plan        Transmittal #01-18 Attachment                                                                                                           DP Deliberative
                                               Under Title XIX   4.18-C                                                                                                                                  Process
                                               Of The Social
                                               Security Act

HHC908-08320832    XX/XX/XXXX                  Handwritten       Handwritten Note                                                                                                                        DP Deliberative
                                               Note                                                                                                                                                      Process

HHC908-08360836    XX/XX/XXXX                  Letter            Oregon's Transmittal Number       Reed, Robert    Chief                                                                                 DP Deliberative
                                                                 01-013                                                                                                                                  Process

HHC908-08370837    XX/XX/XXXX                  Memo              Sixty Day Alert - Oregon SPA      Trible, Tersa   Associate Regional   Smith, Dennis,                        Weisman, Ellliott, PCPG;   DP Deliberative
                                                                 #01-013                                           Administrator        HCFA/CMSO                             Kerhart, Dusty, PCPG;      Process
                                                                                                                                                                              Hance, MaryBeth, OCD
                                                                                                                                                                              Special Assistant; IGTAG
                                                                                                                                                                              Contact; DeBoy, Alissa,
                                                                                                                                                                              DEHPG Special Assistant;
                                                                                                                                                                              Rhodes, Rhnda, FCHPG




February 9, 2005                                                                                                                                                                                                       -47-
                                                           Case 1:01-cv-12257-PBS
                                                                                HHSDocument
                                                                                   PRIVILEGED 3512-6 Filed
                                                                                              DOCUMENTS LOG12/27/06 Page 49 of 70


Document Number Date            Stamp Number   Type               Description                       Author                Author Position    Addressee        Addressee Position   Copyee                       Privileged
                                                                                                                                                                                                                Designation



                                                                                                                                                                                   Special Assistant, Howell,
                                                                                                                                                                                   Kim, CMSO

HHC908-08440844    XX/XX/XXXX                  State Plan         State Plan Amendment Route                                                                                                                    DP Deliberative
                                               Amendment          Slip                                                                                                                                          Process
                                               Route Slip

HHC908-08450860    XX/XX/XXXX                  Transmittal And    Transmittal Number 01-13                                                                                                                      DP Deliberative
                                               NOtice Of                                                                                                                                                        Process
                                               Approval Of
                                               State Plan
                                               Material

HHC908-08710871    XX/XX/XXXX                  Notes              Handwritten Notes Re: Public                                                                                                                  DP Deliberative
                                                                  Notice Issuance                                                                                                                               Process

HHC908-09310931    XX/XX/XXXX                  Oregon             Oregon Medicaid Pharmacy                                                                                                                      DP Deliberative
                                               Medicaid           Survey                                                                                                                                        Process
                                               Pharmacy
                                               Survey

HHC908-09320932    XX/XX/XXXX                  Lower              Lower Pharmacy Payments To                                                                                                                    DP Deliberative
                                               Pharmacy           Commerical Managed Care                                                                                                                       Process
                                               Payments To        Levels
                                               Commercial
                                               Managed Care
                                               Levels

HHC908-09730979    XX/XX/XXXX                  Memos with         Sixty Day Alert (3/14/02) -       Butterfield, Bunnee   Acting Associate   Smith, Dennis,   Director             Weisman, Elliott; Kerhart,   DP Deliberative
                                               Attachments        Washington SPA #02-001; Sixty                           Regional           CMSO                                  Dusty; Hance, MaryBeth;      Process
                                                                  Day Alert (3/4/02) - Oregon SPA                         Administrator                                            IGTAG Contact; DeBoy,
                                                                  #01-018 (Drafts)                                                                                                 Alissa; Rhodes, Rhonda;
                                                                                                                                                                                   Howell, Kim

HHC908-09800980    XX/XX/XXXX                  Post-It-Note       Post-It-Note                                                                                                                                  DP Deliberative
                                                                                                                                                                                                                Process

HHC908-09820982    XX/XX/XXXX                  Post-It-Note       Post-It-Note                                                                                                                                  DP Deliberative
                                                                                                                                                                                                                Process

HHC908-09850985    XX/XX/XXXX                  Post-It-Note #24   Post-It-Note #24                                                                                                                              DP Deliberative
                                                                                                                                                                                                                Process

HHC908-09881001    XX/XX/XXXX                  State Plan For     Methods And Standards For                                                                                                                     DP Deliberative
                                               Title XIX, State   Establishing Payment Rates:                                                                                                                   Process
                                               of Alaska          Other Types Of Care




February 9, 2005                                                                                                                                                                                                              -48-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 50 of 70


Document Number Date            Stamp Number   Type              Description                        Author               Author Position    Addressee              Addressee Position          Copyee                    Privileged
                                                                                                                                                                                                                         Designation



HHC908-10091010    XX/XX/XXXX                  Illinois 1115     Illinois 1115 Demonstration                                                                                                                             DP Deliberative
                                               Demonstration     Prescription Drug Expansion                                                                                                                             Process
                                               Prescription
                                               Drug Expansion

HHC908-10111025    XX/XX/XXXX                  Special Terms     Special Terms And Conditions of    Centers For                                                                                                          DP Deliberative
                                               And Conditions    Approval For Senior Prescription   Medicare And                                                                                                         Process
                                               Of Approval For   Assist                             Medicaid Services
                                               Senior
                                               Prescription
                                               Assist

HHC908-10261027    XX/XX/XXXX                  Memo              Louisiana Supplemental Rebate      Director, Division                      Division Of Medicaid   Associate Regional                                    DP Deliberative
                                                                 Agreement                          Of Benefits,                            And State              Administrator, Region VI,                             Process
                                                                                                    Coverage And                            Operations             Dallas
                                                                                                    Payment; Family
                                                                                                    And Children's
                                                                                                    Health Program

HHC908-10281046    XX/XX/XXXX                  PACE Contracts    Final Review Documentation For                                                                                                                          DP Deliberative
                                                                 UPL And Rate setting                                                                                                                                    Process

HHC908-10471050    XX/XX/XXXX                  Letter            WA State Plan Amendment            O'Connor, Karen S. Associate Regional   Braddock, Dennis;      Secretary                   Porter, Douglas; Linn,    DP Deliberative
                                                                 03-021                                                Administrator        Department Of                                      Larry; Adams, Carolyn     Process
                                                                                                                                            Social And Health
                                                                                                                                            Services

HHC908-10511052    11/02/1993                  Letter            Assignment Of Lead Contractor      Rosen, Fred          Director           Walton, Carol          Director                    Grabowski, John           DP Deliberative
                                                                 To Calculate Average Wholesale                                                                                                                          Process
                                                                 Price For Drugs

HHC908-10531053    10/27/1993                  Memo              Medicare Payment Amount For        Grabowski, John                         Thompson, Richard                                                            DP Deliberative
                                                                 RIMSO 50                                                                                                                                                Process

HHC908-10541055    12/02/1993                  Letter            Assignment Of Lead Contractor      Streimer, Stewart                       Director, Office Of                                Regional Administrator,   DP Deliberative
                                                                 To Calculate Average Wholesale     H.                                      Program Operations                                 New York                  Process
                                                                 Price For Drugs -- Information                                             Procedurec, BPO

HHC908-10561057    12/03/1993                  Memo              Lead Contractor To Calculate       Mirabal, Joe         Reimbursement      Grabowski, John                                                              DP Deliberative
                                                                 AWP                                                     Specialist                                                                                      Process

HHC908-10581059    08/12/1992                  Letter            Calculation Of The Average         Benz, Albert J.                         Associate Regional                                                           DP Deliberative
                                                                 Wholesale Price (AWP) For                                                  Administrator -                                                              Process
                                                                 Drugs                                                                      Division Of
                                                                                                                                            Medicare, HCFA,
                                                                                                                                            Seattle RO X;
                                                                                                                                            Director - Office Of




February 9, 2005                                                                                                                                                                                                                       -49-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 51 of 70


Document Number Date            Stamp Number   Type             Description                         Author              Author Position      Addressee                Addressee Position           Copyee                     Privileged
                                                                                                                                                                                                                              Designation



                                                                                                                                             Program Operations
                                                                                                                                             Procedures, BPO

HHC908-10601060    09/16/1992                  Letter           Transferring Of Cost Saving         Silva, Robert                            Deputy Director,                                      Regional Administrator -   DP Deliberative
                                                                Proposal -- Information                                                      Office Of Program                                     Seattle                    Process
                                                                                                                                             Operations
                                                                                                                                             Procedures, BPO;
                                                                                                                                             Associate Regional
                                                                                                                                             Administrator For
                                                                                                                                             Medicare, Seattle

HHC908-10611062    11/03/1997                  Fax with         Hghlite Report From Philadelphia    Grabowski, John,    Senior Policy        Lindberg, John                                                                   DP Deliberative
                                               Attachment       Regional Office (with Handwritten   HCFA, Region X,     Specialist                                                                                            Process
                                                                Notes)                              Medicare
                                                                                                    Operations and
                                                                                                    Policy

HHC908-10631064    07/12/1996                  Email            Action Items re Drug Pricing        Blake, Alysson                           Aramedicare                                           Strombeck, T.; Managers    DP Deliberative
                                                                Policy Discussions                                                                                                                                            Process

HHC908-10651066    08/12/1992                  Memo             Inter Agency Memo re                Benz, Albert,       Associate Regional                            Director, Ofice of Program                              DP Deliberative
                                                                Calculation of the Average          Division of         Administrator                                 Operations Procedures,                                  Process
                                                                Wholesale Price (AWP) for Drugs     Medicare, HCFA,                                                   BPO
                                                                                                    Seattle RO X

HHC908-10671071    09/16/1992                  Memo with        Re: Transferring of Cost Saving     Silva, Robert,      Deputy Director      Associate Regional                                    Regional Administrator     DP Deliberative
                                               Attachments      Proposal to Office of Financial     Office of Program                        Administrator for                                     Seattle; Bailey, D.        Process
                                                                Operations for Futher               Operations                               Medicare Seattle
                                                                Consideration                       Procedures, BPO

HHC908-10721072    XX/XX/XXXX                  Notes            Notes re Drug Pricing                                                                                                                                         DP Deliberative
                                                                                                                                                                                                                              Process

HHC908-10731073    01/30/1995                  Letter           Bills Based On Acquisition Cost     Pavan, Adrienne     Analyst                                                                                               DP Deliberative
                                                                                                    M.                                                                                                                        Process

HHC908-10741074    01/30/1995                  Letter           Acquisition Cost Established For    Pavan, Adrienne     Analyst              Grabowski, John                                                                  DP Deliberative
                                                                Zoladex                             M.                                                                                                                        Process

HHC908-10751075    01/09/1994                  Letter           Billing Of Medication               Papscun, Debbie     Professional         Silverstein, Steven V.                                                           DP Deliberative
                                                                                                                        Relations                                                                                             Process
                                                                                                                        Representative

HHC908-10761078    03/10/1992                  Memo             Drugs And Biologicals               Washington State                         All Physicians                                                                   DP Deliberative
                                                                Administered And Furnished In       Medicare                                                                                                                  Process
                                                                An Office Setting




February 9, 2005                                                                                                                                                                                                                            -50-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 52 of 70


Document Number Date            Stamp Number   Type              Description                         Author               Author Position        Addressee            Addressee Position       Copyee                    Privileged
                                                                                                                                                                                                                         Designation



HHC908-10791079    01/30/1995                  Memo              Clarification Of Drug Pricing       Cusick, Elizabeth;                          All Regional                                                            DP Deliberative
                                                                 Instructions                        Streimer, Stewart                           Administrators                                                          Process

HHC908-10801081    01/30/1995                  Regional          Regional Medicare Letter - Part B   Bell, Beverly J.     Chief                                                                                          DP Deliberative
                                               Medicare Letter   94-                                 Bell, Beverly J.                                                                                                    Process
                                               - Part B 94-

HHC908-10821083    10/28/1994                  Letter            Reimbursing Drugs By Cost           Olson, Judy K.       Medical Review                                                       Breen, Peggy              DP Deliberative
                                                                 Receipt                                                  Supervisor                                                                                     Process

HHC908-10841085    08/12/1992                  Letter            Calculation Of The Average          Benz, Albert J.                             Associate Regional                                                      DP Deliberative
                                                                 Wholesale Price (AWP) For                                                       Administrator;                                                          Process
                                                                 Drugs                                                                           Director Office Of
                                                                                                                                                 Program Operations
                                                                                                                                                 Procedures, BPO

HHC908-10861086    XX/XX/XXXX                  Facsimile         Facsimile Transmission Request      Grabowski, John                             Weinstraub, Stan                                                        DP Deliberative
                                               Transmission                                                                                                                                                              Process
                                               Request

HHC908-10871087    09/16/1992                  Letter            Transferring Of Cost Saving         Silva, Robert                               Deputy Director                               Regional Administrator    DP Deliberative
                                                                 Proposal --Information                                                          Office Of Program                             Seattle                   Process
                                                                                                                                                 Operations
                                                                                                                                                 Procedures, BPO;
                                                                                                                                                 Associate Regional
                                                                                                                                                 Administrator For
                                                                                                                                                 Medicare, Seattle

HHC908-10881089    01/27/1998                  Letter            Medicare Payment Allowances         Grabowski, John      Senior Policy          Inslee, Jay          Regional Director, HHS   Bell, B; Butterfield, B   DP Deliberative
                                                                 For Drugs                           D.                   Sepcialist, Medicare                                                                           Process
                                                                                                                          Contractor
                                                                                                                          Management
                                                                                                                          Branch, HCFA
                                                                                                                          Region X

HHC908-10901090    XX/XX/XXXX                  Handwritten       Handwritten Notes                                                                                                                                       DP Deliberative
                                               Notes                                                                                                                                                                     Process

HHC908-10911091    XX/XX/XXXX                  Medicare          Medicare Estimabed Benefit                                                                                                                              DP Deliberative
                                               Estimated         PaymentsBy State Fiscal Year                                                                                                                            Process
                                               Benefit           1996
                                               Payments By
                                               State Fiscal
                                               Year 1996




February 9, 2005                                                                                                                                                                                                                       -51-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 53 of 70


Document Number Date            Stamp Number   Type             Description                        Author               Author Position      Addressee             Addressee Position           Copyee                  Privileged
                                                                                                                                                                                                                        Designation



HHC908-10921092    XX/XX/XXXX                  Medicare         Medicare Enrollment By State                                                                                                                            DP Deliberative
                                               Enrollment By    1996                                                                                                                                                    Process
                                               State 1996

HHC908-10931093    XX/XX/XXXX                  1997 Data        1997 Data Compendium                                                                                                                                    DP Deliberative
                                               Compendium                                                                                                                                                               Process

HHC908-10941094    XX/XX/XXXX                                   Correspondence Management          C M S Data Entry                                                                                                     DP Deliberative
                                                                System                             Screen - Control                                                                                                     Process
                                                                                                   No: 22094101101

HHC908-10951096    09/30/1994                                                                      Bailes, Joseph S.    Chairman             Koziol, John          Associate Regional                                   DP Deliberative
                                                                                                                                                                   Administrator                                        Process

HHC908-10971097    XX/XX/XXXX                  American         American Society Of Clinical                                                                                                                            DP Deliberative
                                               Society Of       Oncology                                                                                                                                                Process
                                               Clinical
                                               Oncology

HHC908-10981098    07/08/1992                  Memorandum of    Status of Implementation of Drug   Grabowski, John,                                                                             Weintraub, Stan         DP Deliberative
                                               Telephone        Payment Policy Changes             OPP/BPD/HCFA                                                                                                         Process
                                               Conversation

HHC908-10991099    XX/XX/XXXX                                   Medicare And Medicail Guide -                                                                                                                           DP Deliberative
                                                                Number 726                                                                                                                                              Process

HHC908-11001100    08/19/1994                  Letter           Support for Development of a       Streimer, Stewart,   Director Office of   Gerber, George,       Medical Director, Medicare                           DP Deliberative
                                                                Drug Fee Schedule (Handwritten     BPO/HCFA             Program Operations   Blue Cross/Blue                                                            Process
                                                                Note)                                                   Procedures           Shield of Michigan

HHC908-11011101    07/13/1994                  Email            Drug Pricing                       Grabowski, John,                          Maribal, Jose,                                     Rosen, Fred, HCFANYC;   DP Deliberative
                                                                                                   HFCASEA                                   HCFANYC                                            GB04                    Process

HHC908-11021102    01/19/1994                  Email            Drug Pricing Methodology           Grabowski, John,                          01380E HCFASEA;                                                            DP Deliberative
                                                                                                   HCFASEA                                   00430E HCFASEA;                                                            Process
                                                                                                                                             00350E HCFASEA;
                                                                                                                                             05130E HCFASEA;
                                                                                                                                             0139E HCFASEA

HHC908-11031103    12/27/1993                  Email            Drug Pricing Methodology           Grabowski, John,                          0138E; 0139E;                                                              DP Deliberative
                                                                                                   HCFASEA                                   0513E; 00350E;                                                             Process
                                                                                                                                             00430E

HHC908-11041104    12/03/1993                  Email            Lead Contractor to Calculate       Maribal, Joe,        Reimbursement        Ross, Fred; Wiley,                                 Rosen, Fred, HCFANYC;   DP Deliberative
                                                                AWP                                HCFANYC              Specialist           Alice; Souza, Mike;                                Eng, Susan, HCFANYC     Process
                                                                                                                                             Halyard, Gerald;
                                                                                                                                             Grabowski, John;




February 9, 2005                                                                                                                                                                                                                      -52-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 54 of 70


Document Number Date            Stamp Number   Type             Description                       Author               Author Position        Addressee               Addressee Position   Copyee                   Privileged
                                                                                                                                                                                                                    Designation



                                                                                                                                              Vogel, Mark; Robl,
                                                                                                                                              Ceceilia; Wilson,
                                                                                                                                              Teresa; Merrill, Jill

HHC908-11051105    12/03/1993                  Email            Drug Pricing                      Mirabal, Joe         Reimbursement          Grabowski, John                                                       DP Deliberative
                                                                                                                       Specialist                                                                                   Process

HHC908-11061106    01/03/1994                  Email            Drug Pricing Methodology (with    Grabowski, John,                            01390E HCFASEA                               01380E HCFASEA;          DP Deliberative
                                                                Handwritten Notes)                HCFASEA                                                                                  05130E HCFASEA;          Process
                                                                                                                                                                                           00430E HCFASEA;
                                                                                                                                                                                           00350E HCFASEA

HHC908-11071107    02/01/1994                  Fax with         Handwritten Comments re Drug      Grabowski, John                             Mirabal, Joe                                                          DP Deliberative
                                               Comments         Pricing                                                                                                                                             Process

HHC908-11081108    09/24/1996                  Memo             Report of Contact re: Region X    JDG                                         Hansen, Gary,                                                         DP Deliberative
                                                                Policy on Payment of Zolodex                                                  Zeneca, Inc.                                                          Process

HHC908-11091109    09/05/1996                  Email            Zoladex Pricing                   Carpenter, Colleen                          Niemann, R.                                  Grabowski, J., HCFASEA   DP Deliberative
                                                                                                                                                                                                                    Process

HHC908-11101110    11/06/1996                  Letter           Draft re: Medicare Payment for    Schumaker,           Director Division of   Jordan, Paula, State                         Niemann, R               DP Deliberative
                                                                Drug Zoladex                      Bernadette           Ambulatory Care        and Federal                                                           Process
                                                                                                                       Services               Associates,
                                                                                                                                              Incorporated

HHC908-11111111    XX/XX/XXXX                  News Article     Prostate Drug Dispute Pits Cost   Page, Levvona                                                                                                     DP Deliberative
                                                                vs. Confort                                                                                                                                         Process

HHC908-11121112    XX/XX/XXXX                  Handwritten      Handwritten Note                                                                                                                                    DP Deliberative
                                               Note                                                                                                                                                                 Process

HHC908-11131113    XX/XX/XXXX                  News Article     Prostate Cancer Drug Dispute                                                                                                                        DP Deliberative
                                                                Pits Cost Vs. Comfort                                                                                                                               Process

HHC908-11141124    XX/XX/XXXX                  Medicare         LHRH Agonist Policy And                                                                                                                             DP Deliberative
                                               Palmetto GBA     Support Documents                                                                                                                                   Process
                                               Medicare         Medicare Palmetto GBA
                                               Palmetto GBA
                                               Medicare
                                               Palmetto GBA

HHC908-11251156    XX/XX/XXXX                  Medicare         Gonadotrophin-Releasing                                                                                                                             DP Deliberative
                                               Palmetto GBA -   Hormone Agonists                                                                                                                                    Process
                                               Enclosure 1




February 9, 2005                                                                                                                                                                                                                  -53-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 55 of 70


Document Number Date            Stamp Number   Type               Description                        Author                Author Position        Addressee        Addressee Position   Copyee                    Privileged
                                                                                                                                                                                                                  Designation



HHC908-11571169    XX/XX/XXXX                  Medicare           Technology Advisory Committee                                                                                                                   DP Deliberative
                                               Palmetto GBA       August 6 & 7, 1996 Minutes                                                                                                                      Process
                                               Enclosure 2

HHC908-11701175    XX/XX/XXXX                  Medicare           Intermittent Androgen              Higano, Celestia                                                                                             DP Deliberative
                                               Palmetto GBA       Suppression With Leuprolide        S.; Ellis, William;                                                                                          Process
                                               Enclosure 3        And Flutamide For Prostate         Russell, Kenneth;
                                                                  Cancer: A Pilot Study              Lange, Paul H.

HHC908-11761183    XX/XX/XXXX                  Medicare           Medical Advisory Panel And                                                                                                                      DP Deliberative
                                               Palmetto GBA       Pharmacy Benefits Management                                                                                                                    Process
                                               Enclosure 4        Strategic Health Group Drug
                                                                  Class Review

HHC908-1184-1186 10/31/1996                    Letter Enclosure   American Urological Association,   Holtgraewe, H.        Chair, Health Policy   Ault, Thomas,                         McCann, Bart; Riisager,   DP Deliberative
                                               5                  Inc.                               Logan                 Council                Health Care                           Michael; AUA Board Of     Process
                                                                                                                                                  Financing                             Directors
                                                                                                                                                  Administration

HHC908-11871190    XX/XX/XXXX                  Medicare           Physiologic Basic Of Endocrine     McConnell, John                                                                                              DP Deliberative
                                               Palmetto GBA       Therapy For Prostatic Cancer       D.                                                                                                           Process
                                               Enclosure 6

HHC908-11911199    XX/XX/XXXX                  Medicare           A Controlled Trial Of              Schellhammer,                                                                                                DP Deliberative
                                               Palmetto GBA       Bicalutamide Versus Flutamide      Paul; Sharifi,                                                                                               Process
                                               Enclosure7                                            Roohollah;
                                                                                                     Soloway, Mark;
                                                                                                     Venner, Peter;
                                                                                                     Patterson, A.Lynn;
                                                                                                     Sarosdy, Michael;
                                                                                                     Vogelzang,
                                                                                                     Nicholas; Jones,
                                                                                                     Julie; Kolvenbag,
                                                                                                     Geert

HHC908-12001206    XX/XX/XXXX                  Medicare           Patients' Choice Of Treatment In   Cassileth, Barrie                                                                                            DP Deliberative
                                               Palmetto GBA       Stage D Prostate Cancer            R; Soloway, Mark                                                                                             Process
                                               Enclosure 8                                           S; Vogelzang,
                                                                                                     Nicholas J.;
                                                                                                     Schellhammer,
                                                                                                     Paul S.; Seidmon,
                                                                                                     Edward James;
                                                                                                     Hait, Howard I.;
                                                                                                     Kennealey, Gerard
                                                                                                     T.




February 9, 2005                                                                                                                                                                                                                -54-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 56 of 70


Document Number Date            Stamp Number   Type              Description                        Author             Author Position     Addressee             Addressee Position    Copyee          Privileged
                                                                                                                                                                                                       Designation



HHC908-12071208    05/10/1997                  Medicare          Procedure For Working                                                                                                                 DP Deliberative
                                               Palmetto GBA      J9217Claims With Dates Of                                                                                                             Process
                                               Enclosure 9       Service After 5/10/97

HHC908-12091212    XX/XX/XXXX                  Medicare          NDA #20-517                        Askine, Mark W.                        Dabholkar, Aruna      Regulatory Products                   DP Deliberative
                                               Palmetto GBA                                                                                                      Manager                               Process
                                               Enclosure 10 -
                                               Letter

HHC908-12131213    XX/XX/XXXX                  Zeneca            Zeneca Pharmaceuticals                                                                                                                DP Deliberative
                                               Pharmaceuticals   Business Card                                                                                                                         Process
                                               Business Card

HHC908-12141215    10/01/1996                  Letter            Calculation Of Payment Amount      Bell, Beverly J.                       Manager, Medicare                                           DP Deliberative
                                                                 For Multi-dosage Drug -- Policy                                           Operations And                                              Process
                                                                 Clarification                                                             Policy; Director
                                                                                                                                           Office Of Physician
                                                                                                                                           And Ambulatory
                                                                                                                                           Care Policy

HHC908-12161216    12/09/1998                  Proposed LMRP     Transamerica Occiental Life        Transamerica                                                                       Lindberg, Dr.   DP Deliberative
                                                                 Insurance Medicare Paymnt          Occidental Life                                                                                    Process
                                                                 Safeguard Administration           Insurance
                                                                 Proposed LMRP re Luteinizing
                                                                 Hormone Releasing Hormone
                                                                 (Draft)

HHC908-12171218    XX/XX/XXXX                  Letter            Medicare B News Bulletin Article   Debus, Darlene     Manager             Steffen, Grant                                              DP Deliberative
                                                                 On Payment For Zoladex And                                                                                                            Process
                                                                 Lupron

HHC908-12191221    09/25/1996                  Letter            Regional Medicare Letter, Dated    Hansen, Gary       Senior Territory     Grabowski, John                                            DP Deliberative
                                                                 June 13, 1996, Pricing                                Sales Representative                                                            Process
                                                                 Allowances For Multiple
                                                                 Dosages--Zoladex

HHC908-12221222    08/01/1996                  Letter            Lurpon Price Increase              Paull, Thomas P.   Manager, Sales      Doctor                                                      DP Deliberative
                                                                                                                       Service                                                                         Process

HHC908-12231223    06/13/1996                  Letter            Pricing Allowances For Multiple    Bell, Beverly J.   Manager                                                                         DP Deliberative
                                                                 Dosages Of Drugs-- ACTION                                                                                                             Process

HHC908-12241224    XX/XX/XXXX                  Zeneca            Zeneca Pharmaceuticals                                                                                                                DP Deliberative
                                               Pharmaceuticals   Business Card                                                                                                                         Process
                                               Business Card




February 9, 2005                                                                                                                                                                                                     -55-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 57 of 70


Document Number Date            Stamp Number   Type              Description                         Author             Author Position   Addressee               Addressee Position   Copyee                      Privileged
                                                                                                                                                                                                                   Designation



HHC908-12251225    XX/XX/XXXX                  Post-It-Note      Post-It-Note                                                                                                                                      DP Deliberative
                                                                                                                                                                                                                   Process

HHC908-12261226    XX/XX/XXXX                  Notes             LHRH Agonist Policy and                                                                                                                           DP Deliberative
                                                                 Support Documents for Least                                                                                                                       Process
                                                                 Costly Alternative Policy
                                                                 (Handwritten)

HHC908-12271227    08/01/1997                  Least Costly      Least Costly Alternative Update -                                                                                                                 DP Deliberative
                                               Alternative       As Of 8/1/97                                                                                                                                      Process
                                               Update - As Of
                                               8/1/97

HHC908-12281228    XX/XX/XXXX                  Lupron            Lupron (Lueprolide Acetate),                                                                                                                      DP Deliberative
                                               (Lueprolide       Code J9217, Policy Number:                                                                                                                        Process
                                               Acetate), Code    LP96-44.1
                                               J9217

HHC908-12291229    06/10/1996                  Letter            Letter Requesting                   Bell, Beverly J.   Manager           Jordaon, Paula          Project Manager                                  DP Deliberative
                                                                 Recommendation For Coding                                                                                                                         Process
                                                                 The Drug Zolodex

HHC908-12301230    05/13/1996                  Memo              Zoladex                                                                  Ohl. Jean                                                                DP Deliberative
                                                                                                                                                                                                                   Process

HHC908-12311231    04/01/1996                  Email             Payment for Zoladex                 Valley, Rich,                        Shapiro, Naomi;                              Bruk, MaryEllen; Burgess,   DP Deliberative
                                                                                                     HCFASFO                              Uyehara, Claudia;                            Sharon; Natuk, Walter,      Process
                                                                                                                                          Brose, Celeste;                              Strombeck, Terese; Teran,
                                                                                                                                          Kraus, Arlene                                Rosalie; Maloney, Lourdes

HHC908-12321245    05/01/1996                  Letter            Zoladex                             Jordan             Project Manager   Bell, Beverly, Health                                                    DP Deliberative
                                                                                                                                          Care Financing                                                           Process
                                                                                                                                          Administration
                                                                                                                                          Region X

HHC908-12461246    08/13/1997                  Fax Cover Sheet   Zoladex And Lupron                  Wawrzonek, Jack                      Grabowski, John D.                                                       DP Deliberative
                                                                                                                                                                                                                   Process

HHC908-12471248    03/23/1997                  News Article      Prostate Drug Dispute Pits Cost     Page, Levona                                                                                                  DP Deliberative
                                                                 Vs. Comfort                                                                                                                                       Process

HHC908-12491249    08/01/1997                                    Least Costly Alternative Update                                                                                                                   DP Deliberative
                                                                                                                                                                                                                   Process




February 9, 2005                                                                                                                                                                                                                 -56-
                                                           Case 1:01-cv-12257-PBS
                                                                                HHSDocument
                                                                                   PRIVILEGED 3512-6 Filed
                                                                                              DOCUMENTS LOG12/27/06 Page 58 of 70


Document Number Date            Stamp Number   Type               Description                         Author            Author Position      Addressee               Addressee Position       Copyee                      Privileged
                                                                                                                                                                                                                          Designation



HHC908-12501250    01/XX/1997                  Lupron             Indications And Limitations Of                                                                                                                          DP Deliberative
                                               (Leuprolide        Coverage And/Or Medical                                                                                                                                 Process
                                               Acetate), Code     Necessity
                                               J9217

HHC908-12571257    12/12/1998                  Memo               Lupron/Zolodex Letter               Baier, Fay                             Houck, Peter                                     Haffie, Dave; Ruiz, Linda   DP Deliberative
                                                                                                                                                                                                                          Process

HHC908-12581258    12/11/1998                  Letter             Medicare Payment Policy For         Houck, Peter M.   Associate Regional   Lewis, James Jr.        Executive Director       Ruiz, Linda                 DP Deliberative
                                                                  Leuprolide Acetate                                    Administrator                                                                                     Process

HHC908-12591259    12/01/1998                  Letter             The Proposed LCA Policy             Lewis, James      Executive Director   Ruiz, Linda             Regional Administrator   Elected Officials           DP Deliberative
                                                                                                                                                                                              (Senators), Frederick N.    Process
                                                                                                                                                                                              Mills, Jr.

HHC908-12601260    XX/XX/XXXX                                     Post-It Note                        Post-It-Note                                                                                                        DP Deliberative
                                                                                                                                                                                                                          Process

HHC908-12611263    XX/XX/XXXX                  Transamerica       Luteinizing Hormone Releasing                                                                                                                           DP Deliberative
                                               Occidential Life   Hormone                                                                                                                                                 Process
                                               Insurance
                                               Medicare
                                               Payment
                                               Safegard

HHC908-12641265    12/10/1998                  Email              More on Prostate Cancer             Houck, Peter                           Baier, Fay                                                                   DP Deliberative
                                                                  Treatment (with Handwritten                                                                                                                             Process
                                                                  Notes)

HHC908-12661266    XX/XX/XXXX                  Email              Drug Issue - Draft Policy           Baier, Fay                             Nixon, J.; Haffie, D.                            Schoen, T.; Negri, P.       DP Deliberative
                                                                                                                                                                                                                          Process

HHC908-12671268    11/09/1998                  The Education      Medicare Proposes To Limit          Gray, Kit                                                                                                           DP Deliberative
                                               Center For         Treatment Options For Prostate                                                                                                                          Process
                                               Prostate Cancer    Cander Patients In Oregon
                                               Patients (News
                                               Release)

HHC908-12691270    04/15/1999                  Letter             Medicare Carrier's Policy Of        Ruiz, Linda A.    Regional             Miller, June            Secretary                Waldmann, G.; Baier, F.     DP Deliberative
                                                                  Least Costly Alternative As It                        Administrator                                                                                     Process
                                                                  Relates To Prostate Cancer
                                                                  Chemotherapy

HHC908-12711271    03/23/1999                  Letter             The Proposed Least Costly           Miller, June      Secretary            Ruiz, Linda             Regional Administrator   Waldman, George             DP Deliberative
                                                                  Alternative (LCA) Medicare Policy                                                                                                                       Process




February 9, 2005                                                                                                                                                                                                                        -57-
                                                              Case 1:01-cv-12257-PBS
                                                                                   HHSDocument
                                                                                      PRIVILEGED 3512-6 Filed
                                                                                                 DOCUMENTS LOG12/27/06 Page 59 of 70


Document Number Date            Stamp Number   Type               Description                        Author              Author Position    Addressee             Addressee Position   Copyee                   Privileged
                                                                                                                                                                                                                Designation



HHC908-12721272    XX/XX/XXXX                  Post-It-Note       Post-It-Note                                                                                                                                  DP Deliberative
                                                                                                                                                                                                                Process

HHC908-12731276    XX/XX/XXXX                  Declaration Of     Declaration Of Cecilia Marina C.                                                                                                              DP Deliberative
                                               Cecilia Marina     Prela                                                                                                                                         Process
                                               C. Prela

HHC908-12771279    XX/XX/XXXX                  Declaration Of     Declaration Of Jann M. Robinson                                                                                                               DP Deliberative
                                               Jann M.                                                                                                                                                          Process
                                               Robinson

HHC908-12801282    XX/XX/XXXX                  Notes              Handwritten Material re                                                                                                                       DP Deliberative
                                                                  Dobutamine - Antibotics and                                                                                                                   Process
                                                                  Infusion

HHC908-12831297    XX/XX/XXXX                  AHFS Drug          AHFS Drug Information 1999                                                                                                                    DP Deliberative
                                               Information 1999                                                                                                                                                 Process

HHC908-13241327    XX/XX/XXXX                                     Handwritten Notes                  Handwritten Notes                                                                                          DP Deliberative
                                                                                                                                                                                                                Process

HHC908-13281328    XX/XX/XXXX                  Handwritten        Table 3. Estimated Aranesp                                                                                                                    DP Deliberative
                                               Notes              Starting Doses                                                                                                                                Process

HHC908-13291329    XX/XX/XXXX                  Highly             Highly Specialised Drug Program                                                                                                               DP Deliberative
                                               Specialised        Claim Form                                                                                                                                    Process
                                               Drug Program
                                               Claim Form

HHC908-13301346    02/07/1996                  Letter             SmithKline Beecham                 Tasse, Daniel       Vice President &   Riley, C. Kaye        HCPCS Coordinator    Riordan, Retta M. Esq.   DP Deliberative
                                                                  Pharmaceutical's                                       Director                                                                               Process
                                                                  Recommendation For
                                                                  Modification To HCPCS
                                                                  Alpha-Numeric Coding System
                                                                  For Kytril

HHC908-13471347    04/21/1997                  Inter Office       Anti-Emetic Drugs                  Kozak, Debborah                        Prela, Lia, Health                                                  DP Deliberative
                                               Memo                                                  L.                                     Quality Improvement                                                 Process

HHC908-13481349    XX/XX/XXXX                  Article            Medicare Reimbursement For                                                                                                                    DP Deliberative
                                                                  Oral Antiemetics In Management                                                                                                                Process
                                                                  Of Chemotherapy-Induced
                                                                  Emesis

HHC908-13501350    11/29/1995                  Fax Cover Sheet    Fax Cover Sheet                    Zone, Robert M.,                       Bell, Beverly, HCFA                                                 DP Deliberative
                                                                                                     Cigna DMERC                            Region X                                                            Process
                                                                                                     REgion D




February 9, 2005                                                                                                                                                                                                              -58-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 60 of 70


Document Number Date            Stamp Number   Type             Description                         Author              Author Position   Addressee            Addressee Position   Copyee                 Privileged
                                                                                                                                                                                                           Designation



HHC908-13511352    11/29/1995                  Memo             Anti-emetic Coverage (with          Zone, Bob                             Ault, Tom; Dansky,                                               DP Deliberative
                                                                Handwritten Notes)                                                        Kara                                                             Process

HHC908-13531353    03/25/1996                  Memo             Coverage Of Kytril                  Prela, Lia                            Zozak, Debbie                             Dapper, Nancy; Bell,   DP Deliberative
                                                                                                                                                                                    Beverly                Process

HHC908-13541354    03/20/1996                  Email            Anti-Emetics - Kytril-Reply-Reply   Kozak, Deborah                        Prela, C.                                                        DP Deliberative
                                                                                                                                                                                                           Process

HHC908-13551355    03/11/1996                  Memo             Coverage Of Kytril                  Prela, Lia                            Dapper, Nancy                                                    DP Deliberative
                                                                                                                                                                                                           Process

HHC908-13561360    12/26/1995                  Attachment 1     Date: December 26, 1995                                                                                                                    DP Deliberative
                                                                                                                                                                                                           Process

HHC908-13611362    XX/XX/XXXX                  Attachment II    Memorial Sloan-Kettering Cancer                                                                                                            DP Deliberative
                                                                Center Antiemetic Guidelines For                                                                                                           Process
                                                                Adults

HHC908-13631370    XX/XX/XXXX                  Attachment III   Cost-Reduding Treatment             Berard, Christine                                                                                      DP Deliberative
                                               Attachment III   Algorithms For Antineoplastic       M.; Mahoney,                                                                                           Process
                                                                Drug-Induced Nausea And             Charles D.
                                                                Vomiting

HHC908-13711371    02/05/1997                  Email            Enterals                            Prela, Cecilia                        Kozak, D.                                                        DP Deliberative
                                                                                                                                                                                                           Process

HHC908-13721372    02/05/1997                  Email            Enterals                            Prela, Cecilia                        Kozak, D.                                                        DP Deliberative
                                                                                                                                                                                                           Process

HHC908-13731373    02/05/1997                  Email            Enteral Nutrition                   Prela, Cecilia                        Kozak, D.; Schoen,                                               DP Deliberative
                                                                                                                                          T.                                                               Process

HHC908-13741374    XX/XX/XXXX                  Handwritten      Handwritten Note - Predecisional                                                                                                           DP Deliberative
                                               Note -                                                                                                                                                      Process
                                               Predecisional

HHC908-13781378    XX/XX/XXXX                  Handwritten      Handwritten Note - 61                                                                                                                      DP Deliberative
                                               Note - 61                                                                                                                                                   Process

HHC908-13961396    XX/XX/XXXX                  Aslaska State    Aslaska State Amendments -                                                                                                                 DP Deliberative
                                               Amendments -     Analyst -Garza Working Files                                                                                                               Process
                                               Analyst -Garza
                                               Working Files

HHC908-13981399    XX/XX/XXXX                                   Central Office --RAI Regional                                                                                                              DP Deliberative
                                                                Office -- Actions Review                                                                                                                   Process




February 9, 2005                                                                                                                                                                                                         -59-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 61 of 70


Document Number Date            Stamp Number   Type              Description                        Author             Author Position   Addressee               Addressee Position   Copyee                     Privileged
                                                                                                                                                                                                                 Designation



HHC908-14041404    XX/XX/XXXX                  Letter            Alaska State Plan Amendment        Reed, Larry        Co-Director       Labbe, Bob              Director             Butterfield, Bunnee;       DP Deliberative
                                                                 (SPA) 02-007                                                                                                         Poulson, Randy             Process

HHC908-14101410    XX/XX/XXXX                  State Plan        Drugs - Prior Authorization                                                                                          John G; Randy P            DP Deliberative
                                               Amendment                                                                                                                                                         Process
                                               Route Slip

HHC908-14121412    XX/XX/XXXX                  State Plan        State Plan Amendment Route                                                                                           John G; Randy P.           DP Deliberative
                                               Amendment         Slip, Re: Drugs - Prior                                                                                                                         Process
                                               Route Slip, Re:   Authorization
                                               Drugs - Prior
                                               Authorization

HHC908-14141427    XX/XX/XXXX                  Transmittal And   Transmittal And Notice Of                                                                                                                       DP Deliberative
                                               Notice Of         Approval Of State Plan Material-                                                                                                                Process
                                               Approval Of       Transmittal Number 02-007
                                               State Plan
                                               Material-
                                               Transmittal
                                               Number 02-007
                                               w/amendments

HHC908-14451445    XX/XX/XXXX                  Report            Alaska Medicaid - Duragesic -                                                                                                                   DP Deliberative
                                                                 Fentanyl Transdermal                                                                                                                            Process

HHC908-14491451    XX/XX/XXXX                  Pain              Pain Management Agreement                                                                                                                       DP Deliberative
                                               Management                                                                                                                                                        Process
                                               Agreement

HHC908-14701470    XX/XX/XXXX                  State Plan For    Attached Sheet To Attachment                                                                                                                    DP Deliberative
                                               Title XIX         3.1.A Page 4. Description Of                                                                                                                    Process
                                                                 Service Limitations, TN No.
                                                                 02-007, Supercedes TN No.
                                                                 99-001

HHC908-14731474    XX/XX/XXXX                  Letter            Review of Alaska State Plan        Reed, Larry, CMS   Co-Leader         Labbe, Bob,                                  Butterfield, Bunnee, ARA   DP Deliberative
                                                                 Amendment (SPA) 02-007             Baltimore          Pharmacy Team     Department of                                Seattle Regional Office;   Process
                                                                 Prescribed Drugs                                                        Health and Social                            Poulson, Randy Seattle
                                                                                                                                         Services, Division of                        Regional Office
                                                                                                                                         Medical Assistance

HHC908-14751477    XX/XX/XXXX                  Transmittal And   Transmittal And Notice Of                                                                                                                       DP Deliberative
                                               Notice Of         Approval Of State Plan Material,                                                                                                                Process
                                               Approval Of       Transmittal Number 04-01.
                                               State Plan        Amendment
                                               Material,
                                               Transmittal




February 9, 2005                                                                                                                                                                                                               -60-
                                                         Case 1:01-cv-12257-PBS
                                                                              HHSDocument
                                                                                 PRIVILEGED 3512-6 Filed
                                                                                            DOCUMENTS LOG12/27/06 Page 62 of 70


Document Number Date            Stamp Number   Type              Description                        Author   Author Position   Addressee   Addressee Position   Copyee   Privileged
                                                                                                                                                                         Designation



                                               Number 04-01.
                                               Amendment

HHC908-14781478    XX/XX/XXXX                  State Plan        Adding Supplemental Rebate                                                                              DP Deliberative
                                               Amendment         Language To Section 12A Of                                                                              Process
                                               Route Slip        This Attachment.

HHC908-14801481    XX/XX/XXXX                  Transmittal And   Transmittal And Notice Of                                                                               DP Deliberative
                                               Notice Of         Approval Of State Plan Material,                                                                        Process
                                               Approval Of       Transmittal Number 04-001.
                                               State Plan        Amendment
                                               Material,
                                               Transmittal
                                               Number 04-001.
                                               Amendment

HHC908-14861494    XX/XX/XXXX                  Amendment 20      Amendment 20 Appendix C                                                                                 DP Deliberative
                                               Appendix C        Added Section C.8 - Scope Of                                                                            Process
                                               Added Section     Work, Managed Access Program
                                               C.8 - Scope Of    (MAP)
                                               Work, Managed
                                               Access Program
                                               (MAP)

HHC908-14951495    XX/XX/XXXX                  Contract          Contract Amendment #20                                                                                  DP Deliberative
                                               Amendment #20     Appendix D Added Section D.3D                                                                           Process
                                               Appendix D        - Basis And Method Of Payment
                                               Added Section     Surveillance Utilization Review
                                               D.3D - Basis      (SUR)
                                               And Method Of
                                               Payment
                                               Surveillance
                                               Utilization
                                               Review (SUR)

HHC908-14961496    XX/XX/XXXX                  Contract          Contract Admendment #20                                                                                 DP Deliberative
                                               Admendment        Appendix D Added Section D.3.E                                                                          Process
                                               #20 Appendix D    - Basis And Method Of Payment
                                               Added Section     Managed Access Program (MAP)
                                               D.3.E - Basis
                                               And Method Of
                                               Payment
                                               Managed
                                               Access Program
                                               (MAP)




February 9, 2005                                                                                                                                                                       -61-
                                                              Case 1:01-cv-12257-PBS
                                                                                   HHSDocument
                                                                                      PRIVILEGED 3512-6 Filed
                                                                                                 DOCUMENTS LOG12/27/06 Page 63 of 70


Document Number Date            Stamp Number   Type               Description                        Author              Author Position     Addressee           Addressee Position     Copyee              Privileged
                                                                                                                                                                                                            Designation



HHC908-14971497    XX/XX/XXXX                  Fax Cover Sheet    This Is The Alaska Supplemental                                                                                                           DP Deliberative
                                                                  Rebate Template For Your                                                                                                                  Process
                                                                  Review.

HHC908-15211524    XX/XX/XXXX                  SPA AK-04-001      SPA AK-04-001(Questions And                                                                                                               DP Deliberative
                                                                  Answers)                                                                                                                                  Process

HHC908-15251534    XX/XX/XXXX                  State Of South     State Of South Carolina                                                                                                                   DP Deliberative
                                               Carolina           Department Of Health And                                                                                                                  Process
                                               Department Of      Human Services Supplemental
                                               Health And         Drug-Rebate Agreement
                                               Human Services
                                               Supplemental
                                               Drug-Rebate
                                               Agreement

HHC908-15351536    XX/XX/XXXX                                     CMS Suggested Language For                                                                                                                DP Deliberative
                                                                  The Supplemental Rebate                                                                                                                   Process
                                                                  Agreement.

HHC908-15381539    XX/XX/XXXX                                     CMS Suggested Language For                                                                                                                DP Deliberative
                                                                  The Supplemental Rebate                                                                                                                   Process
                                                                  Agreement.

HHC908-15411542    XX/XX/XXXX                                     CMS Suggested Language For                                                                                                                DP Deliberative
                                                                  The Supplemental Rebate                                                                                                                   Process
                                                                  Agareement

HHC908-15471548    XX/XX/XXXX                  Transmittal And    Transmittal And Notice Of                                                                                                                 DP Deliberative
                                               Notice Of          Approval Of State Plan Material,                                                                                                          Process
                                               Approval Of        Transmittal Number 04-01
                                               State Plan
                                               Material,
                                               Transmittal
                                               Number 04-01

HHC908-16041604    XX/XX/XXXX                  Letter             Preferred Drug List in Alaska -    Clarno, Beverly,    Regional Director   Kott, Pete, The     Speaker of the House                       DP Deliberative
                                                                  Implementation (not Sent)          DHHS                                    Honorable, AK                                                  Process
                                                                                                                                             House of
                                                                                                                                             Representatives

HHC908-16251626    XX/XX/XXXX                  Draft Letter       Medicaid Reimbursement of          Reed, Robert,                           Holt, Tom, Oregon   Executive Director     Castor, Bev, OMAP   DP Deliberative
                                                                  Pharmacy Claims for                Medicaid Branch /                       State Pharmacists                                              Process
                                                                  Multi-source and Brand Name        CMS                                     Association
                                                                  Drugs




February 9, 2005                                                                                                                                                                                                          -62-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 64 of 70


Document Number Date            Stamp Number   Type              Description                          Author               Author Position   Addressee   Addressee Position   Copyee                   Privileged
                                                                                                                                                                                                       Designation



HHC908-16331633    XX/XX/XXXX                  Letter            Clarification between Prescription   Dunstanm, Diane      ``                                                                          DP Deliberative
                                                                 Drug List And Preferred Drug List                                                                                                     Process

HHC908-16341634    XX/XX/XXXX                  Briefing Paper    Washington - Proposed                                                                                                                 DP Deliberative
                                                                 Pharmacy Program Initiatives -                                                                                                        Process
                                                                 Mail Order Pharmacy for
                                                                 Medicaid Clients

HHC908-16351636    XX/XX/XXXX                  Briefing Paper    Washington State's Therapeutic       CMS                                                                                              DP Deliberative
                                                                 Consultation Service (TCS)                                                                                                            Process

HHC908-16371637    03/27/XXXX                  Notes             CMS 3/27 Conference Call with                                                                                Childs, Siri, Pharmacy   DP Deliberative
                                                                 WA                                                                                                           Analyst; Crimi, Carol,   Process
                                                                                                                                                                              WA-NAR; Garza, Maria,
                                                                                                                                                                              RO Pharmacy Analyst

HHC908-16381638    XX/XX/XXXX                  Briefing Notes    Therapeutic Consultation Service                                                                                                      DP Deliberative
                                                                 Program                                                                                                                               Process

HHC908-16421642    XX/XX/XXXX                  Idaho State       Idaho State Amendments -                                                                                                              DP Deliberative
                                               Amendments -      Analyst -Garza Working Files                                                                                                          Process
                                               Analyst -Garza
                                               Working Files

HHC908-16431643    XX/XX/XXXX                                    File Folder Jacket                   File Folder Jacket                                                                               DP Deliberative
                                                                                                                                                                                                       Process

HHC908-16441644    XX/XX/XXXX                  State Plan        Supplemental Rebate                                                                                                                   DP Deliberative
                                               Amendment         Agreement. Atach 4.19B, Page                                                                                                          Process
                                               Route Slip        22, Supplemental Rebate
                                                                 Agreement Attachments A & B

HHC908-16491660    XX/XX/XXXX                  Transmittal And   State Plan with Attachment                                                                                                            DP Deliberative
                                               Notice Of         4.19-B page 22, Supplemental                                                                                                          Process
                                               Approval Of       Rebate Agreement; Attachment
                                               State Plan        A & B`
                                               Material.
                                               Transmittal
                                               Number 04-002

HHC908-16611661    XX/XX/XXXX                  OS Notification   OS Notification                                                                                                                       DP Deliberative
                                                                                                                                                                                                       Process

HHC908-16631671    XX/XX/XXXX                  Transmittal And   Attachment 4.19-B Page 22,                                                                                                            DP Deliberative
                                               Notice Of         Supplemental Rebate Agreement                                                                                                         Process
                                               Approval Of
                                               State Plan




February 9, 2005                                                                                                                                                                                                     -63-
                                                            Case 1:01-cv-12257-PBS
                                                                                 HHSDocument
                                                                                    PRIVILEGED 3512-6 Filed
                                                                                               DOCUMENTS LOG12/27/06 Page 65 of 70


Document Number Date            Stamp Number   Type              Description                    Author         Author Position    Addressee       Addressee Position   Copyee   Privileged
                                                                                                                                                                                Designation



                                               Material,
                                               Transmittal
                                               Number 03-002

HHC908-16731693    XX/XX/XXXX                  Transmittal And   Attachment 4.19-B Page 22,                                                                                     DP Deliberative
                                               Notice Of         Supplemental Rebate                                                                                            Process
                                               Approval Of       Agreement, Attachments A & B
                                               State Plan
                                               Material,
                                               Transmittal
                                               Number 03-002

HHC908-16961699    XX/XX/XXXX                  Interstate        Agreement #104247                                                                                              DP Deliberative
                                               Agreement                                                                                                                        Process

HHC908-17131723    XX/XX/XXXX                  Transmittal And   Attachment 4.19B Page 22,                                                                                      DP Deliberative
                                               Notice Of         Supplemental Rebate                                                                                            Process
                                               Approval Of       Agreement, Attachments A & B
                                               State Plan
                                               Material,
                                               Transmittal
                                               Number 03-002

HHC908-17271737    XX/XX/XXXX                  Transmittal And   Attachment 4.19-B Page 22,                                                                                     DP Deliberative
                                               Notice Of         Supplemental Rebate                                                                                            Process
                                               Approval Of       Agreement, Attachments A & B
                                               State Plan
                                               Material,
                                               Transmittal
                                               Number 03-002

HHC908-17411741    XX/XX/XXXX                  State Plan        State Plan Amendment Route                                                                                     DP Deliberative
                                               Amendment         Slip                                                                                                           Process
                                               Route Slip

HHC908-17431744    XX/XX/XXXX                  Transmittal And   Attachment 4.19-B Page 22                                                                                      DP Deliberative
                                               Notice Of                                                                                                                        Process
                                               Approval Of
                                               State Plan
                                               Material

HHC908-17451746    XX/XX/XXXX                  Facsimile         ID 03-02 Supplemental          Garza, Maria   Health Insurance   Pelter, Cindy                                 DP Deliberative
                                               Transmittal:      Agreement                                     Specialist                                                       Process
                                               PharmT Review




February 9, 2005                                                                                                                                                                              -64-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 66 of 70


Document Number Date            Stamp Number   Type              Description                        Author              Author Position   Addressee   Addressee Position   Copyee   Privileged
                                                                                                                                                                                    Designation



HHC908-17471747    XX/XX/XXXX                  Idaho             Idaho Supplemental Rebate                                                                                          DP Deliberative
                                               Supplemental      Agraeement, TN 03-002                                                                                              Process
                                               Rebate
                                               Agraeement, TN
                                               03-002

HHC908-17481748    XX/XX/XXXX                  Facsimile         ID 03-02 Supplemental                                                                                              DP Deliberative
                                               Transmittal:      Agreement                                                                                                          Process
                                               PharmT Review

HHC908-17831783    XX/XX/XXXX                  OS Notification   Re: Approval of State Plan Idaho   Pelter, Cindy,      Pharmacy Team,                                              DP Deliberative
                                                                 03-002                             CMS; Reed, Larry,   Co-Director                                                 Process
                                                                                                    CMS

HHC908-17931794    XX/XX/XXXX                  Amendment         Amendment 4.19-B Program -                                                                                         DP Deliberative
                                               4.19-B Program    Page 22                                                                                                            Process
                                               - Page 22

HHC908-17971816    XX/XX/XXXX                  Description Of    Description Of Idaho Enhanced                                                                                      DP Deliberative
                                               Idaho Enhanced    Prior Authorization And                                                                                            Process
                                               Prior             Supplemental Rebate Program
                                               Authorization
                                               And
                                               Supplemental
                                               Rebate Program

HHC908-18351836    XX/XX/XXXX                  Transmittal And   Attachment 3.1A Program                                                                                            DP Deliberative
                                               Notice Of         Description 12.A.3                                                                                                 Process
                                               Approval Of
                                               State Plan
                                               Material,
                                               Transmittal
                                               Number 04-001

HHC908-18371837    XX/XX/XXXX                  State Plan        State Coverage Of Certain                                                                                          DP Deliberative
                                               Amendment         Federal Legend Medications                                                                                         Process
                                               Route Slip        That Change To Non-Legend
                                                                 Status.

HHC908-18411841    XX/XX/XXXX                  Transmittal And   Attachment 3.1A Program                                                                                            DP Deliberative
                                               Notice Of         Description 12.A.3                                                                                                 Process
                                               Approval Of
                                               State Plan
                                               Material,
                                               Transmittal
                                               Number 04-001




February 9, 2005                                                                                                                                                                                  -65-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 67 of 70


Document Number Date            Stamp Number   Type              Description                         Author   Author Position   Addressee   Addressee Position   Copyee   Privileged
                                                                                                                                                                          Designation



HHC908-18501851    XX/XX/XXXX                  OS Notification   State Plan Approval for Idaho       CMS                                                                  DP Deliberative
                                                                 02-006                                                                                                   Process

HHC908-18661866    XX/XX/XXXX                  State Plan        Please See Marginal Comments.                                                                            DP Deliberative
                                               Amendment                                                                                                                  Process
                                               Route Slip

HHC908-18681873    XX/XX/XXXX                  Transmittal And   Attachment 3.1A Program                                                                                  DP Deliberative
                                               Notice Of         Description, Pages 12.A., 12.A.2,                                                                        Process
                                               Approval Of       12.A.2.b., 12.A.4; Attachment
                                               State Plan        4.19-B Page 22
                                               Material,
                                               Transmittal
                                               Number 02-006

HHC908-18741874    XX/XX/XXXX                  State Plan        Prescription Drugs - Medical                                                                             DP Deliberative
                                               Amendment         Necessity And Prior Authorization                                                                        Process
                                               Route Slip

HHC908-18841887    XX/XX/XXXX                  Transmittal And   Attachments 3.1A Program                                                                                 DP Deliberative
                                               Notice Of         Description 12.A., 12.A.2,                                                                               Process
                                               Approval Of       12.A.3, 12.A.4.
                                               State Plan
                                               Material,
                                               Transmittal
                                               Number 02-006

HHC908-18971897    XX/XX/XXXX                  Non-Sedating      Non-Sedating Antihistamine Prior                                                                         DP Deliberative
                                               Antihistamine     Authorization Criteria                                                                                   Process
                                               Prior
                                               Authorization
                                               Criteria

HHC908-18981898    XX/XX/XXXX                  State Of Idaho,   State Of Idaho, Division Of                                                                              DP Deliberative
                                               Division Of       Medicaid Prior Authorization                                                                             Process
                                               Medicaid Prior    Form, Non-Sedating
                                               Authorization     Antihistamines
                                               Form,
                                               Non-Sedating
                                               Antihistamines

HHC908-18991899    XX/XX/XXXX                  Non-Sedating      Non-Sedating Antihistamines PA                                                                           DP Deliberative
                                               Antihistamines    Algorithm                                                                                                Process
                                               PA Algorithm




February 9, 2005                                                                                                                                                                        -66-
                                                           Case 1:01-cv-12257-PBS
                                                                                HHSDocument
                                                                                   PRIVILEGED 3512-6 Filed
                                                                                              DOCUMENTS LOG12/27/06 Page 68 of 70


Document Number Date            Stamp Number   Type               Description                         Author               Author Position   Addressee   Addressee Position   Copyee   Privileged
                                                                                                                                                                                       Designation



HHC908-19001900    XX/XX/XXXX                  Cox-2 Inhibitors   Cox-2 Inhibitors Prior                                                                                               DP Deliberative
                                               Prior              Authorization Criteria                                                                                               Process
                                               Authorization
                                               Criteria

HHC908-19011901    XX/XX/XXXX                  Cost               Cost Comparison Data (NSAIDs)                                                                                        DP Deliberative
                                               Comparison                                                                                                                              Process
                                               Data (NSAIDs)

HHC908-19021902    XX/XX/XXXX                  State Of Idaho,    State Of Idaho, Division Of                                                                                          DP Deliberative
                                               Division Of        Medicaid, Prior Authorization                                                                                        Process
                                               Medicaid, Prior    Form, Cox-2 Inhibitors (Selective
                                               Authorization      NSAIDs)
                                               Form, Cox-2
                                               Inhibitors
                                               (Selective
                                               NSAIDs)

HHC908-19031903    XX/XX/XXXX                  Cox 2 PA           Cox 2 PA Algorithm                                                                                                   DP Deliberative
                                               Algorithm                                                                                                                               Process

HHC908-19041905    XX/XX/XXXX                                     Proton Pump Inhibitors Prior        Proton Pump                                                                      DP Deliberative
                                                                  Authorization Criteria              Inhibitors Prior                                                                 Process
                                                                                                      Authorization
                                                                                                      Criteria

HHC908-19061906    XX/XX/XXXX                  State Of Idaho,    State Of Idaho, Division Of                                                                                          DP Deliberative
                                               Division Of        Medicaid, Prior Authorization                                                                                        Process
                                               Medicaid, Prior    Form, Proton Pump Inhibitor
                                               Authorization      (PPIs)
                                               Form, Proton
                                               Pump Inhibitor
                                               (PPIs)

HHC908-19071907    XX/XX/XXXX                                     Proton Pump Inhibotors-PA           Proton Pump                                                                      DP Deliberative
                                                                  Algorithm                           Inhibotors-PA                                                                    Process
                                                                                                      Algorithm

HHC908-19101915    XX/XX/XXXX                  Handwritten        Attachments 3.1A Program                                                                                             DP Deliberative
                                               Note - Current     Description; & Attachment                                                                                            Process
                                               SPA With           4.19-B Page 22.
                                               Attachments

HHC908-19491949    XX/XX/XXXX                                     Transmittal And Notice Of           Transmittal And                                                                  DP Deliberative
                                                                  Approval Of State Plan Material,    Notice Of Approval                                                               Process
                                                                  Transmittal Number 02-006           Of State Plan
                                                                                                      Material,




February 9, 2005                                                                                                                                                                                     -67-
                                                          Case 1:01-cv-12257-PBS
                                                                               HHSDocument
                                                                                  PRIVILEGED 3512-6 Filed
                                                                                             DOCUMENTS LOG12/27/06 Page 69 of 70


Document Number Date            Stamp Number   Type              Description                         Author               Author Position   Addressee              Addressee Position        Copyee                       Privileged
                                                                                                                                                                                                                          Designation



                                                                                                     Transmittal
                                                                                                     Number 02-006

HHC908-19581963    XX/XX/XXXX                  Transmittal And   Attachments 3.1A Program                                                                                                                                 DP Deliberative
                                               Notice Of         Description 12.A, 12.A.2,                                                                                                                                Process
                                               Approval Of       12A.2.b, 12.A.4, & Attachment
                                               State Plan        4.19-B Page 22
                                               Material

HHC908-20022003    XX/XX/XXXX                  SPA 02-006        List Of Items To Be Submitted                                                                                                                            DP Deliberative
                                                                 To Seattle Regional Office For                                                                                                                           Process
                                                                 Review Of SPA 02-006

HHC908-20062006    XX/XX/XXXX                  OS Notification   SPA Approval re Idaho State         CMS                                                                                     Trimble, Terry, ARA DMSO     DP Deliberative
                                                                 Plan Amendment TN# 01-012                                                                                                                                Process

HHC909-00210021    XX/XX/xXXX                  List              Questions re: #ID 99-001 -                                                                                                                               DP Deliberative
                                                                 Handwritten Notes                                                                                                                                        Process

HHC909-00220022    XX/XX/XXXX                  Memo              Recommendation re Oregon            Ault, Richard, HHS   Medicaid State    Chier, State and                                 Chief, Medicaid Operations   DP Deliberative
                                                                 State Plan Amendment /Waiver                             Representative,   Contractors                                      Section                      Process
                                                                 Request No 89-6                                          SCOB              Operations Branch

HHC909-00230024    04/05/1989                  Memo              OR State Plan                       Chief, Medicaid                        Phillips, Helene       Policy Specialist, SCOB                                DP Deliberative
                                                                 Amendment/Waiver Request No.        Operations                                                                                                           Process
                                                                 89-6 Pharmacy Reimbursement         Section, SCOB

HHC909-00250025    04/05/1989                  Memo              Recommended Action for              Medicaid             Chief             Philips, Helene,       Policy Specialist, SCOB   Medicaid State               DP Deliberative
                                                                 Oregon State Plan                   Operations                             SCOB; ARA                                        Representative               Process
                                                                 Amendment/Waiver Request No.        Section, SCOB,                         Financial Operations
                                                                 89-6 re Pharmacy                    Division of
                                                                 Reimbursement                       Program
                                                                                                     Operations

HHC909-00260026    XX/XX/XXXX                  Memo              Recommendation for Action on        Medicaid State                         State and              Chief                     Chier, Medicaid Operations   DP Deliberative
                                                                 Oregon SPA / Waiver Request         Representative,                        Contractors                                      Section                      Process
                                                                 No. 89-5                            SCOB                                   Operations Branch

HHC909-00270027    04/05/1989                  Memo              Recommendation for Action re:       Medicaid             Chief             Philips, Helene,       Policy Specialist         Reed, R.                     DP Deliberative
                                                                 Oregon SPA / Waiver Request         Operations                             SCOB; ARA,                                                                    Process
                                                                 No. 89-5 re Dispensing Limitation   Section, SCOB,                         Financial Operations
                                                                 for Prescription Drugs              Division of
                                                                                                     Program
                                                                                                     Operations




February 9, 2005                                                                                                                                                                                                                        -68-
                                                      Case 1:01-cv-12257-PBS
                                                                           HHSDocument
                                                                              PRIVILEGED 3512-6 Filed
                                                                                         DOCUMENTS LOG12/27/06 Page 70 of 70


Document Number Date            Stamp Number   Type       Description                       Author                Author Position   Addressee             Addressee Position   Copyee                    Privileged
                                                                                                                                                                                                         Designation



HHC909-00280028    03/25/1991                  Memo       Justification for Action          Medicaid              Chief             Chief, Financial                           Medicaid State            DP Deliberative
                                                          Recommended re Washington         Operations                              Management                                 Representative; Haffie,   Process
                                                          SPA / Waiver Request No. 91-06    Branch, Division of                     Branch; TANAA,                             Dave
                                                          re Drug Rebate Program            Medicaid, DHHS                          DHHS

HHC909-00290029    03/25/1991                  Memo       Justification for Action          Medicaid              Chief             Chief, Financial                           Medicaid State            DP Deliberative
                                                          Recommended re Washington         Operations                              Management                                 Representative            Process
                                                          SPA / Waiver Request No. 91-06    Branch, Division of                     Branch; TANAA
                                                          re Drug Rebate Program            Medicaid

HHC909-00300030    03/25/1991                  Memo       Justification for Recommended     Medicaid State                          Medicaid Operations   Chief                                          DP Deliberative
                                                          Action on Virginia SPA / Waiver   Representative,                         Branch, Division of                                                  Process
                                                          Request No. 91-06                 DHHS                                    Medicaid, DHHS




February 9, 2005                                                                                                                                                                                                       -69-
